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                     Group Exhibit B
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                                                                        Page 5                                                                    Page 7
        1                     A P P E A R A N C E S                              1 State defendants.
        2   For the Plaintiffs Langley, et al.:
        3           Mr. Thomas G. Maag                                           2              THE VIDEOGRAPHER: Would the court reporter
                    MAAG LAW FIRM, LLC
                                                                                 3 please swear in the witness.
        4           22 W. Lorena Avenue
                    Wood River, IL 62095                                         4                 (Witness sworn in.)
        5           (618) 216-5291
                                                                                 5              MR. WELLS: I'll just make the note again,
                    tmaag@maaglaw.com
        6                                                                        6 that this is specifically in the Langley versus Kelly case,
        7   For the Defendants Raoul and Kelly:
        8           Mr. Christopher G. Wells
                                                                                 7 which is Case No. 3:23-cv-192-SPM, also in the Southern
                    Ms. Gretchen Helfrich                                        8 District of Illinois.
        9           OFFICE OF THE ATTORNEY GENERAL
                    100 W. Randolph Street                                       9              As I noted in the prior deposition, we're
       10           Chicago, IL 60601                                            10 taking this deposition in light of the Langley plaintiffs
                    (312) 814-3000
       11           christopher.wells@ilag.gov                                   11 having filed a motion for summary judgment on their two
       12                                                                        12 vagueness claims. The State defendants reserve their
       13   For Cole Shaner:
       14           Mr. Keith Hill (via Zoom)                                    13 rights to seek additional discovery and potentially to take
                    HEYL ROYSTER VOELKER & ALLEN
                                                                                 14 additional depositions, including a second deposition of
       15           103 W. Vandalia Street, Suite 100
                    Edwardsville, IL 62025-0467                                  15 this witness, related to other claims that have been
       16           (618) 656-4646
                    khill@heylroyster.com
                                                                                 16 asserted in Langley and Barnett and the consolidated
       17                                                                        17 actions there. So just make that note for the record.
       18   Also present via Zoom:      Mr. John Zimmerman and
                                        Ms. Abby Sgro,                           18             With that reservation of rights, we're going
       19                               in-house counsel for ISP                 19 to proceed with this deposition.
       20
       21   Ms. Jamie Jo Kinder, CCR, CSR                                        20                      *****
            Mr. Ken Carden, Videographer                                         21                     SCOTT PULASKI,
       22   LEXITAS LEGAL
            711 N. Eleventh Street                                               22 of lawful age, being produced, sworn and examined on
       23   St. Louis, MO 63101
                                                                                 23 behalf of the Defendants, deposes and says:
            (800) 280-3376
       24   https://lexitaslegal.com                                             24                     EXAMINATION
            stl.customerservice@lexitaslegal.com
       25
                                                                                 25 QUESTIONS BY MR. WELLS:

                                                                        Page 6                                                                    Page 8
       1          (Deposition commenced at 2:06 p.m.)                            1        Q     Have you ever been deposed before,
       2              IT IS HEREBY STIPULATED AND AGREED, by and                 2 Mr. Pulaski?
       3 between counsel for Plaintiffs and counsel for Defendants,              3        A     I have not.
       4 that the videotaped deposition of SCOTT PULASKI may be taken            4        Q     So I'm going to go through a couple of ground
       5 in shorthand by Jamie Jo Kinder, CCR, CSR, a notary public              5 rules.
       6 and shorthand reporter, and afterwards transcribed into                 6        A     Sure.
       7 typewriting; and the signature of the witness is expressly              7        Q     Just to help this go as smoothly as possible.
       8 waived.                                                                 8 You're under oath.
       9                  *****                                                  9        A     Uh-huh (yes).
       10           THE VIDEOGRAPHER: We are on the record.                      10         Q    Just as if we were in court. There's a court
       11 Today's date is October 3rd, 2023. The time now is 2:06.               11 reporter who's here taking down everything that everybody
       12 This is the video-recorded deposition of Scott Pulaski in              12 says as best she can. And in order to help her out, I'd
       13 the matter of Caleb Barnett, et al., v Kwame Raoul, et al.,            13 ask a couple of things. One, if you could wait for me to
       14 Case No. 3:23-cv-192-SPM in the United States District                 14 finish a question before you start to answer. It's very
       15 Court for the Southern District of Illinois.                           15 hard to do, and you will fail at it, but I'll try to remind
       16           This deposition is being held at 201 West                    16 you as we go along to -- to wait for me to finish. Okay?
       17 Pointe Drive. The reporter's name is Jamie Kinder. My                  17         A    Okay.
       18 name is Ken Carden. I'm the legal videographer.                        18         Q    And I will also do the same. I will try to
       19           Would the attorneys present please introduce                 19 wait for you to finish before interrupting you so that the
       20 themselves and the parties they represent.                             20 record can be clear. Is that fair?
       21           MR. WELLS: Sure. This is Christopher Wells                   21         A    Yes.
       22 on behalf of the State defendants.                                     22         Q    If I ask you a question and you answer, I'm
       23           MR. MAAG: Thomas Maag, M-A-A-G, on the                       23 going to assume you understood the question. If you don't
       24 Langley plaintiffs.                                                    24 understand my question, then you can ask me to clarify.
       25           MS. HELFRICH: Gretchen Helfrich on behalf of                 25         A    Okay.
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                                                                       Scott Pulaski
                                                                       Page 9                                                                 Page 11
       1        Q    Mr. Maag may object from time to time.                     1 thing?
       2 Generally speaking, if he objects, you still have to answer            2        A    I do.
       3 the question unless he specifically instructs you not to.              3        Q    You are not a plaintiff in the Langley case;
       4 There are a couple reasons why he might do that. If those              4 correct?
       5 come up, we'll deal with them. But generally speaking,                 5        A    Correct.
       6 even if he objects, you can still answer, if you                       6        Q    What is your relationship to the Langley
       7 understand. Fair enough?                                               7 lawsuit?
       8        A    Okay.                                                      8        A    As an affidavit filer. Sorry. I don't know
       9        Q    If you need a break at any time, let me know.              9 the term for that. But was asked to prepare an affidavit
       10 If you need a water, if you need to go to the restroom,               10 from Mr. Maag.
       11 it's not a problem. The only thing I'd ask is that if                 11        Q    When did he ask you to prepare that affidavit?
       12 there's a question pending, I'd ask you to finish answering           12        A    I do not remember the date for that.
       13 that question before we take a break.                                 13        Q    Does Mr. Maag represent you in this case?
       14        A    Certainly.                                                14        A    In the Langley --
       15        Q    And just to be clear in terms of timing, so we            15        Q    This case --
       16 started at 2:00 o'clock. I am hoping we can be out of here 16                   A    In the Langley case, no.
       17 by 6:00, but that is -- depends on how things go obviously. 17                  Q    Does he represent you in any other capacity?
       18 Right?                                                                18        A    I believe we're in the early stages of another
       19        A    Okay.                                                     19 case, yes.
       20        Q    Do you have any scheduled commitments that I              20        Q    What is that other case?
       21 should be aware of as we go through this?                             21        A    I do not recall the name of that case.
       22        A    Just at 8:00 p.m.                                         22        Q    So Mr. Maag is your attorney in another
       23        Q    Okay.                                                     23 lawsuit that you filed against officials in the State of
       24            MR. MAAG: If we're still here at 8:00 p.m.                 24 Illinois; is that right?
       25        Q    (By Mr. Wells) Yeah. Well, understood.                    25        A    Correct.

                                                                    Page 10                                                                   Page 12
       1 Mr. Pulaski, are you -- And I apologize for the probing                1        Q    When Mr. Maag asked you to write an affidavit,
       2 nature of this question, but are you on any medication                 2 what -- what specifically were you asked to write an
       3 today that would affect your ability to answer -- testify              3 affidavit about?
       4 truthfully and completely?                                             4        A    About the vagueness of the PICA and some of
       5        A    I am not.                                                  5 the lack of clarity of things in there.
       6        Q    Are you on any drugs or -- that would have a               6        Q    And is Mr. Maag representing you today in this
       7 similar effect and impact your ability?                                7 deposition?
       8        A    No.                                                        8        A    I don't understand. I'm sorry.
       9        Q    Just l ke practice, so you just got to wait.               9        Q    No, I understand.
       10            How about alcohol, are you on -- have you had              10        A    I'm new to depositions.
       11 any alcohol today?                                                    11        Q    Is he serving as your attorney for purposes of
       12        A   I have not.                                                12 this deposition today?
       13        Q    Okay. So as I mentioned, the reason we're                 13        A    Not to my knowledge.
       14 taking this deposition today is that the plaintiffs in the            14            MR. MAAG: As long as we're not touching on
       15 Langley case have filed a motion for summary judgment on              15 the other case.
       16 two claims in that case. The Langley plaintiffs lawsuit               16            MR. WELLS: Which -- Oh, the other case that
       17 challenges the constitutionality of Illinois Public Act               17 he's filed?
       18 102-1116. It's also known as the Protecting Illinois                  18            MR. MAAG: Yes.
       19 Communities Act. We can shorten that to PICA. I'm going               19            MR. WELLS: For which you are his attorney?
       20 to use PICA to refer to the statute that's being challenged           20            MR. MAAG: Correct.
       21 in the Langley case. Is that fair?                                    21        Q    (By Mr. Wells) Okay. So in the Langley case
       22        A   Yes.                                                       22 today, are you testifying as an expert witness?
       23        Q    And if I say PICA, you understand I'm talking             23        A    I've never been qualified as an expert
       24 about the Illinois statute that took effect on January 10,            24 witness, but I have long experience in the field of
       25 2023, and regulates assault weapons and -- and that sort of 25 firearms.


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                                                                       Scott Pulaski
                                                                       Page 13                                                                Page 15
       1        Q      So are you being put forward as an expert                 1        Q     The named plaintiff there, the named party, is
       2 witness in this case?                                                   2 the business Piasa Armory; correct?
       3        A      I would presume so.                                       3        A    Correct.
       4              MR. WELLS: Is he being put forward as an                   4        Q     And you, the individual, Scott Pulaski, are
       5 expert witness in this case under Rule 702?                             5 not a named plaintiff in that case; is that right?
       6              MR. MAAG: I'd have to reread the rule for the              6        A    To my knowledge.
       7 particularities. I think it's more of a fact witness,                   7             MR. MAAG: As far as I know, that's correct.
       8 but --                                                                  8        Q     (By Mr. Wells) And when you say Mr. Michel,
       9              MR. WELLS: Okay. So your understanding is                  9 Mr. Michel represents Piasa Armory; is that --
       10 that Mr. Pulaski is serving as a fact witness?                         10        A    All of -- I'm sorry. All of the plaintiffs.
       11             MR. MAAG: Yes.                                             11        Q    Right. But including Piasa Armory; is that
       12             MR. WELLS: Can we go off the record for just               12 right?
       13 one second? Sorry.                                                     13        A    Correct.
       14             THE VIDEOGRAPHER: This is the videographer.                14        Q    And he exclusively represents Piasa Armory.
       15 We're going off the record. Time now is 2:14.                          15 He does not represent Scott Pulaski because Scott Pulaski
       16           (Whereupon, a short break was taken.)                        16 is not in -- a plaintiff in that case; correct?
       17             THE VIDEOGRAPHER: This is the videographer.                17        A    Correct.
       18 We're back on the record. The time now is 2:16.                        18        Q    And you have indicated that Mr. Maag -- you
       19         Q    (By Mr. Wells) I just want to clarify. So are             19 agree to Mr. Maag being your counsel for purposes of this
       20 you a plaintiff, you personally, a plaintiff in any other              20 deposition today?
       21 case?                                                                  21        A    Yes.
       22         A    I am a plaintiff in the -- I'm sorry. I can't             22        Q    Can you tell me about how you went about
       23 recall the -- the named plaintiff, but we are -- Piasa                 23 preparing your January 23rd, 2023, affidavit, for the
       24 Armory is a plaintiff in one of these cases, which is my 24 Langley case?
       25 company.                                                               25        A    Yeah. This was with assistance from Mr. Maag.

                                                                       Page 14                                                                Page 16
       1        Q      (By Mr. Wells) Your company is a plaintiff?               1 Basically working together to provide and clarify
       2        A     Correct. I -- I am specifically not.                       2 information that would be of assistance to these cases.
       3 However, my company is.                                                 3        Q    How long have you known Mr. Maag?
       4        Q      You, as an individual, are not?                           4        A    Several years.
       5        A     Correct.                                                   5        Q    How do you know him?
       6              MR. MAAG: As far as I know, him as an                      6        A    Through our business.
       7 individual is not.                                                      7        Q    What's your business?
       8              MR. WELLS: Okay. And who -- Here's my issue                8        A    Piasa Armory.
       9 is, I -- to the extent he's a represented party in the                  9        Q    And how did you come to know Mr. Maag?
       10 other case, he needs to have his attorney from the other               10        A    Mr. Maag has been a customer of ours for
       11 case here. He said he's at the end --                                  11 several years.
       12             THE WITNESS: Chuck Michel is our other                     12        Q    And when you say customer of yours, what do
       13 attorney.                                                              13 you mean?
       14             MR. WELLS: My understanding coming to this                 14        A    Has bought and sold various items and services
       15 was that you would be representing him for purposes of this 15 from us.
       16 deposition; is that right?                                             16        Q    And are you aware that Mr. Maag has a -- has a
       17             MR. MAAG: Do you want me to represent you for              17 firearms business?
       18 purposes of this deposition?                                           18        A    I am.
       19             THE WITNESS: I am comfortable with that.                   19        Q    Does his firearms business ever buy firearms
       20             MR. MAAG: Then so be it.                                   20 from Piasa Armory?
       21             MS. HELFRICH: Okay.                                        21        A    I do not believe it has.
       22         Q    (By Mr. Wells) And again, to be clear, in the             22        Q    So when you say Mr. Maag is a customer,
       23 Piasa Armory case where -- not the one where Mr. Maag                  23 Mr. Maag, in his individual capacity, as a customer, is
       24 represents you, but the -- the challenge to PICA?                      24 that your understanding?
       25         A    Correct.                                                  25        A    Correct.


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                                                                       Scott Pulaski
                                                                       Page 17                                                                Page 19
       1       Q       When you prepared your January 23, '23 --                 1 that there may -- you estimate a 50 percent loss of
       2 January 23, 2023, affidavit in this case, did you consult               2 revenue. That's if PICA stays in effect; right?
       3 any written materials in preparing that affidavit?                      3        A   That is as it has been since January and --
       4       A       No, I did not.                                            4 January 10th and going forward, I would assume so.
       5       Q       What did you rely on?                                     5        Q   And so if -- Excuse me. If PICA is struck
       6       A       Knowledge and assistance from Mr. Maag.                   6 down, then you won't lose that estimated 50 percent of
       7       Q       How did you prepare your May 18, 2023,                    7 revenue; is that right?
       8 statement pursuant to 28 USC 1746 for the Langley case?                 8        A   The revenue has already been lost for the time
       9       A       In a similar manner.                                      9 that it's been active. However, we would assume to go back
       10       Q      Are you being -- Or were you compensated for              10 to that standard revenue we had been seeing before.
       11 preparing either of those affidavits?                                  11       Q    So is it fair to say whether or not PICA
       12       A      No.                                                       12 remains in effect will affect your business?
       13       Q      Are you being paid for your testimony today?              13       A    Absolutely.
       14       A      I am not.                                                 14       Q    What's the nature of your other lawsuit
       15       Q      In the lawsuit -- Let's see.                              15 against the -- against an Illinois gun regulation?
       16            In the lawsuit in which you are -- in which                 16       A    That was a challenge to the advertising rules
       17 Piasa Armory is a named plaintiff, why did -- what's your              17 that were passed.
       18 understanding as to why Piasa Armory brought that lawsuit?             18       Q    What do you mean by the advertising rules?
       19       A      To have the PICA ruled unconstitutional.                  19       A    Sorry. I don't recall the specifics of that
       20       Q      What claims did Piasa Armory bring in that                20 law. But basically, that you couldn't -- firearm
       21 lawsuit?                                                               21 businesses or the industry could not advertise to -- in a
       22       A      I did not write that or -- I'm not -- I don't             22 manner that enticed children to buy firearms, which is
       23 recall the specifics of that claim. But basically, that it             23 already illegal.
       24 was a Second Amendment violation and inconsistent with the 24                   Q    Are you a party in any other lawsuits?
       25 ruling -- excuse me -- the ruling from the Supreme Court.              25       A    No.

                                                                       Page 18                                                                Page 20
       1         Q       Did Piasa Armory, in that lawsuit, Federal              1        Q    Have you -- other than the two lawsuits --
       2 Firearms Licensee of Illinois versus Pritzker, No.                      2 Excuse me.
       3 23-cv-215-SPM, assert that PICA was unconstitutionally                  3            Other than the one lawsuit that we just
       4 vague?                                                                  4 described and the lawsuit involving Piasa Armory
       5         A      I -- I did not make that filing. I don't                 5 challenging PICA, have you been involved in any other
       6 recall if that was in that.                                             6 lawsuits in your life?
       7         Q       What financial impact has PICA had on your              7        A    Not to my knowledge.
       8 business at Piasa Armory?                                               8        Q    Have you testified as an expert in any other
       9         A      We estimate approximately 50 percent loss of             9 lawsuits?
       10 revenue.                                                               10       A    I have not. I have testified to the state at
       11          Q     You say estimate.                                       11 a committee hearing, but have not been asked to testify as
       12          A     Yes.                                                    12 an expert before.
       13          Q     But you don't know for certain, though; right?          13       Q    When did you testify to the state in a
       14          A     I do not.                                               14 committee hearing?
       15          Q     And what is the nature of Piasa Armory's                15       A    Before PICA was passed.
       16 business, generally?                                                   16       Q    What was the nature of your testimony?
       17          A     We sell firearms, provide training, gunsmith            17       A    It was explaining the nature of the FOID card,
       18 services and a shooting range.                                         18 what requirements individuals must go through to pass it,
       19          Q     So sell firearms, gunsmith, shooting range?             19 and the process of buying a firearm in Illinois.
       20          A     Yes, and also training. And, of course,                 20       Q    How did you come to give that testimony?
       21 accessories, too.                                                      21       A    I was asked by State Representative Elik.
       22          Q     And you -- You personally hope that PICA is             22       Q    Spell that, please.
       23 struck down as unconstitutional; right?                                23       A    E-L-I-K.
       24          A     Personally, yes.                                        24       Q    And the purpose of your testimony, as you
       25          Q     And in terms of Piasa Armory, you indicated             25 understood it, was to lobby against the passage of PICA?


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                                                                       Page 21                                                                 Page 23
       1       A     No. I was providing information on the                      1        A    Correct. Those rifle magazines are typically
       2 current gun laws in Illinois and answering questions of the             2 not described in PICA, however. Some handgun magazines
       3 committee.                                                              3 are.
       4       Q     But was your personal hope that PICA would not              4        Q    There's another vagueness claim in the Langley
       5 be passed?                                                              5 case related to the use of the term AR-type and AK-type.
       6       A     At the time, that was not a potential. That                 6 Are you familiar with that claim?
       7 was before PICA was even -- the process was started to pass             7        A    I am.
       8 PICA.                                                                   8        Q    What's your understanding, in your own words,
       9       Q     What -- What time period was that testimony?                9 of what that claim is?
       10        A   I believe it was in the fall before of -- of                10       A    That several of the items described as AR-15
       11 2022.                                                                  11 or similar bear only facial similarities to them. Similar
       12        Q   You understand that we're here talking about                12 with the AK descriptions. In fact, the SKS that's
       13 vagueness claims that have been brought by the Langley                 13 described in the AK is not even remotely the same firearm.
       14 plaintiffs?                                                            14       Q    When you say facial similarities, what do you
       15        A   Yes.                                                        15 mean?
       16        Q   What's your understanding of what those claims              16       A    Cosmetic only.
       17 are?                                                                   17       Q    What does cosmetic only mean?
       18        A   That the -- That PICA is describing things so               18       A    Similar color, similar overall shape, but
       19 broadly that it lacks clarity enough to allow enforcement              19 internally different, operationally different.
       20 by the state and by dealers and causes a lot of difficulty             20       Q    What does operationally different mean?
       21 in purchasing and acquiring goods and services.                        21       A    Manner of function of the firearm. And so if
       22        Q   Are you familiar with the claim in the Langley              22 the operational -- say, the gas system that causes function
       23 case that the difference between the magazine capacity                 23 to fire.
       24 limit as applicable to handguns versus long guns, are you              24       Q    What about cal ber?
       25 familiar with that claim?                                              25       A    Caliber can be interchanged on many of those

                                                                       Page 22                                                                 Page 24
       1         A   Yes.                                                        1 firearms. So last I recall was near four dozen, five dozen
       2         Q   And what's your understanding of that claim?                2 different calibers available for the AR-15. Both in
       3         A   That there's no way to tell if a magazine is                3 traditionally -- traditional rifle calibers and handgun
       4 for a handgun or a long gun. There's no exclusivity on                  4 calibers.
       5 many magazines.                                                         5        Q    What's your current address?
       6         Q   You say many magazines, but --                              6        A    For the business or my home?
       7         A   Many, many, many. Sorry.                                    7        Q    Your home.
       8         Q   But not all magazines; right?                               8        A
       9         A   Correct.                                                    9        Q    And what's your date of birth?
       10        Q      There are some magazines for which the                   10       A
       11 magazine will only work in a rifle; is that fair to say?               11       Q     And what's your occupation?
       12        A      It is.                                                   12       A     I am the owner of Piasa Armory.
       13        Q      And is it also fair to say that there's some             13       Q     How long have you been the owner of Piasa
       14 magazines for which the magazines will only function in a              14 Armory?
       15 handgun?                                                               15       A     Piasa Armory started business in 2012.
       16        A      It could be, yes.                                        16       Q     What did you do before you were the owner of
       17        Q      Could be, or do you know?                                17 Piasa Armory?
       18        A      As -- In my experience, it is. There is                  18       A     I owned another small gun business as well
       19 handgun-only magazines and rifle-only magazines just as 19 called Pulaski Firearm Services from 2009 to 2012.
       20 there are many that interchange between both.                          20       Q     What did you do prior to Pulaski Firearm
       21        Q      So it's fair to say that there are rifle                 21 Services?
       22 magazines -- exclusive rifle magazines and exclusive                   22       A     I was a security officer for a casino and in
       23 handgun magazines, and then there are some group of                    23 other private security realms. Did process service and
       24 magazines where they can be either for a rifle or a                    24 worked as a police cadet and police explorer.
       25 handgun?                                                               25       Q     As a police cadet, were you training to be a
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                                                                    Scott Pulaski
                                                                    Page 25                                                                   Page 27
       1 police officer?                                                      1        A     Argosy Alton Belle.
       2        A    I was.                                                   2        Q     Any others?
       3        Q    Why did you not become a police officer?                 3        A     No.
       4        A    At the time, it was not something I wanted to            4        Q     And did you carry a firearm in the course of
       5 pursue.                                                              5 your work at that casino?
       6        Q    Was it your choice to not continue?                      6        A     I did not.
       7        A    Yes.                                                     7        Q     So what type of firearm usage did you have in
       8        Q    Prior to 2009, where were you employed?                  8 that job?
       9        A    That was at security companies. I worked for             9        A     In that job, I had no firearm usage. In the
       10 Hamilton Security, Hurst Investigation Services, and also 10 work for Hurst Investigations, I was a process server and
       11 at Argosy Alton Belle Casino.                                       11 carried a firearm for that.
       12       Q     Can you briefly describe your education for             12        Q    What kind of firearm did you carry when you
       13 me?                                                                 13 were a process server?
       14       A     Sure. I completed high school, have an                  14        A    At the time, I carried a Springfield XD9.
       15 associate's degree in criminal justice.                             15        Q    What's the magazine capacity for a Springfield
       16       Q     Any other degrees?                                      16 XD9?
       17       A     No.                                                     17        A    Sixteen rounds.
       18       Q     And I don't mean this as an insult. This is             18        Q    And is that 16 in the magazine or 15 plus one
       19 just a legal term. But do you consider yourself a person            19 in the chamber?
       20 of ordinary intelligence?                                           20        A    Sixteen plus one.
       21       A     I do.                                                   21        Q    Seventeen?
       22       Q     Did you ever serve in the military?                     22        A    Correct.
       23       A     I did not.                                              23        Q    For the firearm as a whole?
       24       Q     Have you ever been convicted of a crime?                24        A    As a whole, yes. Sixteen in the magazine, one
       25       A     No, other than traffic violations.                      25 in the firearm.

                                                                    Page 26                                                                   Page 28
       1       Q     We've all been there.                                    1        Q    Have you ever published any articles, books or
       2            And as I understand it, you're not offering               2 other writings about firearms?
       3 testimony as an expert witness, per Mr. Maag?                        3        A    Not through official -- any official channels.
       4       A     That's my understanding.                                 4 Just occasional replies or blog posts or similar things.
       5       Q     Do you consider yourself a firearms expert?              5        Q    So you've written things on the internet about
       6       A     I do.                                                    6 firearms?
       7       Q     And what qualifications do you have to serve             7        A    I have.
       8 as a firearms expert?                                                8        Q    Where on the internet?
       9       A     Extensive experience in the field and a                  9        A    Sites like Reddit and Facebook. I've also
       10 general love for the knowledge of firearms.                         10 been interviewed many times by local media sources, like
       11       Q    Do you have any formal training in firearms?             11 the Telegraph in Alton, KMOV, and the RiverBender, which is
       12       A    I do not.                                                12 also an Alton publication.
       13       Q    Have you ever --                                         13       Q     What have you been interviewed about?
       14       A    Sorry. I am a certified firearms instructor              14       A    Firearms.
       15 for NRA, USCCA, and approved through the State of Illinois 15                Q     And you've given interviews about PICA?
       16 for concealed carry instruction. And I was a firearm                16       A    I have.
       17 patrol cardholder for my security work and a permanent              17       Q     You're not a trained historian?
       18 employee registration cardholder for that work as well.             18       A    I am not.
       19 During my time as casino employee, I worked in security             19       Q     You're not a trained firearms historian?
       20 there and also did training for that position as well.              20       A    I am not.
       21       Q    In the course of your employment prior to                21       Q     And you're not an attorney?
       22 owning your own businesses, so as a security person, did            22       A    Correct.
       23 you ever have to use a firearm in the course of your work?          23            (Deposition Exhibit No. 1 marked for
       24       A    I did not.                                               24 identification.)
       25       Q    What casino did you work at?                             25       Q     (By Mr. Wells) In preparing -- So I'm going to


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                                                                      Scott Pulaski
                                                                      Page 29                                                                Page 31
       1 go ahead and mark these. I'm going to hand you a copy of               1       A    Working with Mr. Maag directly on that.
       2 what's labeled Affidavit of Scott Pulaski, and it's dated              2       Q    Was there any type of peer-reviewed
       3 January 23rd, 2023. I'll mark it as Exhibit 1.                         3 methodology that you used?
       4        A    Thank you.                                                 4       A    There's not a wide variety of peer-reviewed
       5        Q     Do you recognize this document?                           5 opportunities in our industry.
       6        A    I do.                                                      6       Q    What methodology did you use in formulating
       7        Q     What is it?                                               7 your opinions in the May 18, 2023, affidavit?
       8        A    This is the affidavit that I filed with                    8       A    The same, working with Mr. Maag.
       9 Mr. Maag.                                                              9       Q    And do you know if that's the type of
       10        Q    And flipping to the last page, page six of                10 methodology typically relied upon by firearms experts?
       11 six, is that your signature?                                          11       A   I do not. I do -- I do understand that
       12        A    Yes, it is.                                               12 firearm experts rely on their experiences in the field and
       13        Q    And everything in here is your testimony?                 13 in publications and other informational sources they can
       14        A    Correct.                                                  14 find on any relevant firearms.
       15            (Deposition Exhibit No. 2 marked for                       15       Q    And you mentioned that -- You gestured to some
       16 identification.)                                                      16 of the books that I have here. So, for instance, I have
       17        Q    (By Mr. Wells) Okay. All right. I'll hand                 17 the Shooter's B ble, 114th Edition. Is this the type of
       18 you what I'm going to mark as Deposition Exhibit No. 2. Do 18 thing that a firearms expert would rely upon for
       19 you recognize this document?                                          19 information about firearms?
       20        A    I do.                                                     20       A   One of many sources, yes.
       21        Q    What is it?                                               21       Q    And did you rely on some version of the
       22        A    That is the statement filed with Mr. Maag.                22 Shooter's Bible in preparing the Exhibits 1 and 2?
       23        Q    And directing your attention to page seven of             23       A   Directly, no. However, through my experience
       24 this document. Is that your signature?                                24 of using the Shooter's Bible in the past, that knowledge
       25        A    It is.                                                    25 would have been gained from that book.

                                                                      Page 30                                                                Page 32
       1       Q     And everything in Deposition Exh bit 2 is your             1        Q   And the Shooter's Bible is something that you
       2 testimony; right?                                                      2 rely upon in your work at Piasa Armory?
       3       A     Yes.                                                       3        A   Correct. Through the course of business.
       4       Q     And in preparing Deposition Exh bits 1 and 2,              4        Q   Are you familiar with the Shooter's B ble
       5 so your January sworn statement and your May sworn                     5 Guide to AR-15s, 2nd Edition?
       6 statement, you testified earlier that you just relied on               6        A   I am.
       7 your knowledge of firearms; is that right?                             7        Q   Do you own this?
       8       A     Correct.                                                   8        A   I'm sure that I do. I have a very large book
       9       Q     Did you rely on anything else in preparing?                9 shelf.
       10       A    Knowledge of Mr. Maag as well. So we also use              10       Q    And is this Shooter's Bible Guide to AR-15s
       11 things like the books you have here on the table, Shooter's           11 something that you rely upon in the course of your business
       12 Guide, things like the Blue Book of Gun Values, and various 12 at Piasa Armory?
       13 internet sources and other similar publications.                      13       A    Occasionally, yes. Typically, that knowledge
       14       Q    So you collaborated to -- with Mr. Maag to                 14 is stuff that I've gained over the years of experience.
       15 identify certain resources, and you relied on those                   15       Q    All right. So I'm going to direct your
       16 resources?                                                            16 attention to Exhibit 1, your January 23, 2023, affidavit,
       17       A    Correct.                                                   17 paragraph three. You say, "I am personally familiar with
       18       Q    And are those the types of materials typically             18 firearms, both historical and modern, as well as firearms
       19 relied upon by firearms experts?                                      19 regulations both in Illinois and nationally on account that
       20       A    Yes.                                                       20 ATF, the federally agency that licenses my business, makes
       21       Q    How do you know?                                           21 me comply with all such laws and provides me a publication
       22       A    Through my experience in the field and through             22 listing the current ones."
       23 various other comments through other firearms experts.                23           That's your testimony?
       24       Q    What methodology did you use in formulating                24       A    Yes, sir.
       25 your opinions in the January 23rd, 2023, affidavit?                   25       Q    And you say ATF, the federally agency. I


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                                                                       Scott Pulaski
                                                                       Page 33                                                                    Page 35
        1 assume you meant federal agency?                                       1 to expel multiple projectiles with the exception of slugs,
        2       A      Yes, sir.                                                 2 where rifles are designed to fire a single projectile.
        3       Q      That's just a typo?                                       3       Q       Approximately how many firearms do you own?
        4       A      Yes.                                                      4       A       Approximately 100.
        5       Q      How did you develop your familiarity with                 5       Q       And in terms of pistols, what are the specific
        6 firearms?                                                              6 pistols you own?
        7       A      I started interest in firearms when I was 12              7       A       I have a list, but I did not bring that list
        8 through scouting and taking the merit badge programs that              8 with me. But I have --
        9 scouting offers. And then researching independently after              9       Q       Just generally summarize.
        10 that, finding every available knowledge source that I could           10       A      A variety of pistols from major manufacturers,
        11 access at the time and consuming as much of that knowledge 11 Glock, Smith & Wesson, Walther, for modern items. Antiques
        12 as possible.                                                          12 such as Lefaucheux Pinfire, black powder replicas, foot
        13         Q   What types of knowledge sources?                          13 lock and cap lock design, World War I and World War II
        14         A   Things like radio shows, books, publications              14 military pistols.
        15 like the Shooter's Bible. Things like the Blue Book of Gun            15       Q      What about rifles? What types of rifles do
        16 Values. Any other historical documentation that I could               16 you own?
        17 find or other books about the history of firearms.                    17       A      Everything -- Similar. So older cap lock
        18         Q   What firearms do you currently own?                       18 design, military -- former military rifles from the early
        19         A   Wide variety from antique to modern, pistols,             19 1900's up through modern -- modern supporting rifle style,
        20 rifles, shotguns, black powder, center fire, rim fire.                20 AR-15, AK-47.
        21         Q   And pistols is a category of firearm that you             21       Q      So you own AR-15 style rifles?
        22 understand what that means?                                           22       A      I do.
        23         A   Yes.                                                      23       Q      Do you own AK-47 style rifles?
        24         Q   Rifles is a category of firearms, you                     24       A      I do.
        25 understand what that means?                                           25       Q      And when I say AR-15 style rifle, you

                                                                       Page 34                                                                    Page 36
        1          A   Yes.                                                      1 understand what I mean?
        2          Q   Shotgun is a category of firearms, you                    2        A       I do.
        3 understand what that means?                                            3        Q       When I say AK-47 style rifle, you understand
        4          A   Yes.                                                      4 what I mean?
        5          Q   And you own firearms in each of those                     5        A       I do.
        6 categories?                                                            6        Q       Do you own any other AR-type rifles?
        7          A   I do.                                                     7        A       I own AR-type rifles as listed in PICA. But
        8          Q   What's the difference between a pistol and a              8 they would not be considered AR-type rifles by the
        9 rifle?                                                                 9 industry.
        10         A    A pistol is typically designed to be fired               10          Q     What are you including in that category?
        11 with one hand, even though modern handgun shooting                    11          A    The Bushmaster ACR is listed in the AR-15
        12 techniques use two hands. Rifles are typically designed to 12 style, but it's more similar to an AR-180 or AR-18 style
        13 be held to the shoulder and fired with two hands.                     13 rifle.
        14         Q    What's the difference between a pistol and a             14          Q     And why do you say it's -- the Bushmaster ACR
        15 shotgun?                                                              15 is more similar to an AR-180?
        16         A    A pistol, the same deal. It -- It's designed             16          A    It uses the operating system from an AR-18 or
        17 to be fired by one hand from the hand, not from the                   17 AR-180.
        18 shoulder. Where a shotgun's designed to be placed in the              18          Q     Do you have any AR-15 rifles that you would
        19 shoulder. Also, pistols expel a single projectile where               19 agree are AR-type rifles?
        20 shotguns typically expel multiple, with the exception of              20          A    I do.
        21 slugs, which are a single projectile.                                 21          Q     What are those?
        22         Q    What's the difference between a rifle and a              22          A    Piasa Armory is a manufacturer, so we have our
        23 shotgun?                                                              23 own branded AR-15 rifles. It's called the EBR-15, and I
        24         A    Shotguns typically have a smooth bore, with              24 have several of those items.
        25 the exception of slug barrels, which are rifle. Designed              25          Q     Do you have AK-47 style rifles that you would


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                                                                    Scott Pulaski
                                                                   Page 37                                                                 Page 39
        1 understand to be AK-type rifles?                                   1        A    I do. I'm a life member of the National Rifle
        2        A    I do. I have one.                                      2 Association.
        3        Q    What's that?                                           3        Q    Do you consider American Rifleman a good
        4        A    That is a Romanian WASR-10, which is listed            4 source of information about firearms?
        5 specifically in PICA.                                              5        A    I do.
        6        Q    Does some of your knowledge about firearms             6        Q    Are you familiar with AR-15.com?
        7 come from the internet?                                            7        A    I am.
        8        A    It does.                                               8        Q    Have you been to that site?
        9        Q    I'm going to ask you about some websites               9        A    Of course.
        10 and --                                                            10        Q    Have you ever posted on that site?
        11        A    Sure.                                                 11        A    I'm sure that I have.
        12        Q    -- and to see whether or not you rely on those        12        Q    Do you have a user name on that website?
        13 websites for your knowledge about firearms.                       13        A    I do.
        14            Are you familiar with Pew Pew Tactical?                14        Q    What is that?
        15        A    I am.                                                 15        A    To my knowledge, it is ScottP8113. It's been
        16        Q    Do you go to Pew Pew Tactical?                        16 a very long time since I've used that website as content
        17        A    Occasionally.                                         17 provider, so myself providing content.
        18        Q    Do you rely on any information from Pew Pew           18        Q    Say it one more time. ScottP?
        19 Tactical?                                                         19        A    ScottP8113.
        20        A    Not often.                                            20        Q    8113. Okay. So you said on AR-15.com, it's
        21        Q    Why not?                                              21 been a while since you've been a content provider. But you
        22        A    That's just not one of my common sources.             22 still go there to read it?
        23        Q    What are your common sources from the                 23        A    It's been a while since I've been able to do
        24 internet?                                                         24 that. Unfortunately, business responsibilities keep me
        25        A    I typically look at sources that are more in a        25 from browsing forums on a long -- for a long amount of

                                                                   Page 38                                                                 Page 40
        1 consumable format that I can use while driving back and            1 time. So I typically go for a specific bit of knowledge.
        2 forth to work or doing tasks around the shop, instead of           2        Q    Understood. And when you go for a specific
        3 sitting and directly reading these days. So things like            3 bit of knowledge, it's a good resource to find that?
        4 Gun Talk podcast, Gun Talk media.                                  4        A    It is.
        5       Q     What about guns.com, have you ever gone there?         5        Q    How about gun manufacturers' websites, is that
        6       A     I have.                                                6 a source that you rely upon in your business?
        7       Q     And do you rely on guns.com for information            7        A    It is.
        8 about firearms?                                                    8        Q    Do you ever look at product reviews from gun
        9       A     Occasionally. We typically use them more as a          9 manufacturers' websites?
        10 resource for sales than information these days.                   10       A    Typically, I prefer customer or consumer
        11       Q    How about AR Build Junkie, is that a website           11 reviews, be they in a forum or on sites such as YouTube,
        12 you're familiar with?                                             12 that we can find a more unbiased review -- review source.
        13       A    It is not.                                             13       Q     So, for instance, if there was a gun
        14       Q    When I say AR Build Junkie, do you have an             14 manufacturer's website, and there were user comments, you
        15 idea of what AR means?                                            15 wouldn't rely upon that as much as you would, say, comments
        16       A    I do.                                                  16 on AR-15.com; is that fair to say?
        17       Q    What is that?                                          17       A    Not necessarily. A -- Comments provided by a
        18       A    It would refer to an AR-15 style rifle and the         18 user rather than comments provided by the company that
        19 accessories and parts necessary to build one.                     19 indicates it's from a user.
        20       Q    Are you familiar with American Rifleman?               20       Q     Because the company might be biased?
        21       A    I am.                                                  21       A    Correct.
        22       Q    What is that?                                          22       Q     All right. Let's see.
        23       A    That's a publication by the National Rifle             23            Paragraph three again in Exhibit 1. You say,
        24 Association.                                                      24 "I am personally familiar with firearms, both historical
        25       Q    Do you read American Rifleman?                         25 and modern, as well as firearms regulations, both in


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                                                                      Scott Pulaski
                                                                      Page 41                                                                  Page 43
        1 Illinois and nationally, on account that ATF, the federal             1 public acts.
        2 agency that licenses my business, makes me comply with all            2        Q     I'm going to -- I'm not going to go too deep
        3 such laws and provides me a publication listing the current           3 into these, but I just want to make sure that we're talking
        4 ones."                                                                4 about the same rough thing.
        5            ATF licenses your business. How long have you              5             MR. WELLS: We're on four?
        6 been licensed by ATF at Piasa Armory?                                 6             (Deposition Exhibit No. 4 marked for
        7        A   Since 2012.                                                7 identification.)
        8        Q    And --                                                    8        Q     (By Mr. Wells) I'm going to hand you what's --
        9        A   Actually -- May I correct that? I believe                  9 what I'm marking as Deposition Exhibit 4. Are you familiar
        10 2013 is when we started with the license.                            10 with this document?
        11       Q    And you've maintained a federal firearms                  11        A     I am.
        12 license for Piasa Armory since that time?                            12        Q     What is it?
        13       A    Yes, sir.                                                 13        A     It's the Federal Firearms Regulations
        14       Q    And generally speaking, you've been complying             14 Reference Guide.
        15 with ATF regulations; is that fair to say?                           15        Q     Is this a document that you use in the course
        16       A    Yes.                                                      16 of your business at Piasa Armory?
        17       Q    How do you, as a business at Piasa Armory,                17        A     It is.
        18 ensure that you're in compliance with ATF regulations?               18        Q     Okay. In paragraph four of your January 23rd,
        19       A    I am, in addition to managing the day-to-day              19 2023, affidavit, which I've marked as Deposition Exhibit 1,
        20 operation, the compliance director for Piasa Armory also.            20 you say, "In addition to being a firearms dealer, Piasa
        21       Q    What does that involve?                                   21 Armory and myself teach Illinois State Police certified
        22       A    That involves reviewing regularly every                   22 concealed carry classes, both new and renewal."
        23 firearm record, every transaction record that goes through           23        A     Yes.
        24 our company, and providing regular training as the Firearm 24                  Q     And as a certified concealed carry instructor,
        25 Dealer Licensing Act requires.                                       25 you're familiar with the Firearm Concealed Carry Act in

                                                                      Page 42                                                                  Page 44
        1        Q    Do you review any publications from ATF?                  1 Illinois?
        2        A    I do. They provide a national firearms law                2       A     I am.
        3 update, which they just recently updated.                             3       Q     And you also have a concealed carry license
        4        Q    You mentioned here, "ATF provides me a                    4 yourself?
        5 publication listing the current ones."                                5       A     I do.
        6            What are you referring to there?                           6       Q     Do you carry a concealed firearm in Illinois?
        7        A    I do not recall the title of that, but it's a             7       A     I do.
        8 regularly updated publication that they provide.                      8       Q     What firearm do you carry?
        9        Q    Okay. I'm going to mark Exhibit 3.                        9       A     I typically carry either a Walther PPQ or a
        10           (Deposition Exhibit No. 3 marked for                       10 Glock 19 or 17.
        11 identification.)                                                     11       Q     What's the magazine capacity on a Walther PPQ?
        12       Q    (By Mr. Wells) I'm showing Mr. Pulaski what I             12       A     Either a 15 in the magazine or 19 in the
        13 have marked as Deposition Exhibit No. 3. It's a document             13 magazine.
        14 titled State Laws and Published Ordinances, Illinois. Is             14       Q     And now that PICA is in effect, if you're
        15 this a document that you've seen before?                             15 carrying your Walther PPQ, do you understand which magazine
        16       A    Yes.                                                      16 you should carry?
        17       Q    And what is it?                                           17       A     I do.
        18       A    This lists all of the relevant state laws                 18       Q     And which magazine is that?
        19 pertaining to firearms that we're required to follow by ATF 19                A     Fifteen round is required by PICA.
        20 and by the state law.                                                20       Q     With respect to your Glock 19 or 17, what are
        21       Q    And when you mentioned earlier that you review            21 the magazine capacities for the Glock 19? Let's start with
        22 information from the state and also from the federal                 22 that one.
        23 government, this is the type of thing you're referring to?           23       A     Standard capacity is 15 in the magazine;
        24       A    Yes, this and some of the things that are                 24 however, it can accept larger magazines, 17, or magazines
        25 provided on the Illinois General Assembly website and                25 with extensions up to 33 or 50.


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                                                                      Scott Pulaski
                                                                      Page 45                                                               Page 47
        1        Q   And when you carry your Glock 19 now, what                 1       A    Yes.
        2 size magazine do you carry?                                           2       Q    And that was just a typo?
        3        A   Fifteen now.                                               3       A    Correct.
        4        Q   And is that because of PICA?                               4       Q    You believe there are, quote, parameters,
        5        A   It is.                                                     5 close quote, for what most firearms experts would consider
        6        Q   So you understand that you can no longer carry             6 an AR-type; correct?
        7 the 17-round magazine for your Glock 19?                              7       A    Correct.
        8        A   I do.                                                      8       Q    In your mind, what are the parameters that
        9        Q   How about your Glock 17, what's the magazine               9 most firearms expert would consider to be an AR-type?
        10 capacity for that?                                                   10       A   An AR-type would be a firearm with typically a
        11       A    Seventeen is standard. Glock now makes                    11 16 or 20-inch barrel, adjustable or fixed stop, pistol
        12 15-round magazines that also fit that firearm.                       12 grip, detachable magazine, and using a -- a direct
        13       Q    Do you have any of those 15-round magazines?              13 impingement gas system, rotary-operated bolt.
        14       A    I do not.                                                 14       Q   Why did those design elements make something
        15       Q    Could you acquire them?                                   15 an AR-type?
        16       A    I could.                                                  16       A   Because that's what the designer of the AR
        17       Q    And you would know that in acquiring the                  17 used to create that firearm.
        18 15-round magazine, that would be something that would                18       Q   Who was the designer of the AR?
        19 comply with PICA; right?                                             19       A   Eugene Stoner.
        20       A    I do; however, I've chosen to not carry the 17            20       Q   Who was Eugene Stoner?
        21 and rather just carry the 19.                                        21       A   Eugene Stoner worked for ArmaLite and several
        22       Q    And do you own any 17-round magazines for the 22 other companies in the mid 1900s, 1950s, 1960s, to develop
        23 Glock 19?                                                            23 the AR-15 and several other designs.
        24       A    I do.                                                     24       Q   And you understand that when people use the
        25       Q    But now you just carry the 15-round magazines             25 term AR-type today, they are referencing firearms that are

                                                                      Page 46                                                               Page 48
        1 for the Glock 19; right?                                              1 connected to that AR-15 that Eugene Stoner denied --
        2        A   Correct.                                                   2 designed?
        3        Q   And you understand that as a concealed carry               3       A    Some people -- Some people reference that, and
        4 license holder, you're allowed to carry a concealed                   4 some tend to refer to any firearm that looks vaguely like
        5 handgun; correct?                                                     5 it as an AR-type rifle.
        6        A   Correct.                                                   6       Q    And in terms of how you went about identifying
        7        Q   You're not allowed to carry a concealed rifle;             7 those particular features that you would consider
        8 correct?                                                              8 associated with an AR-type firearm, how did you identify
        9        A   Correct.                                                   9 those particular features?
        10       Q    You're not allowed to carry a concealed                   10       A   Based on the designs that Stoner produced.
        11 shotgun; correct?                                                    11       Q   Would you consider an AR-10 an AR-type rifle?
        12       A    Correct.                                                  12       A   Similar, but different. It's -- Shares a lot
        13       Q    All right. I'm going to direct your attention             13 of the same characteristics. But the AR-10 was typically a
        14 to Exhibit 2. So this is your May 18, 2023, declaration,             14 machine gun designed for the military. There's been a
        15 paragraph 26.                                                        15 civilian variant of that that's been developed and used.
        16           You say, "L kewise, there are no objective                 16       Q   In your experience, as someone in the firearms
        17 standards to determine whether a given firearm is an                 17 industry, would you say that the AR-15 or the AR-10 is more
        18 AK-type, an AR-type or something else. In fact, even                 18 popular among consumers?
        19 elicit examples are oftentimes not within the parameters of 19                A   AR-15, with AR-10 being very close.
        20 what even most firearms experts would consider to be an              20       Q   What is an AR pistol?
        21 AK-type, l ke the SKS of an AR-type."                                21       A   An AR pistol would be an AR-15 that complies
        22           That was your testimony?                                   22 with the ATF's definitions of handgun.
        23       A    Yes.                                                      23       Q   Why does it have AR in the name?
        24       Q    And where it says, "An AK-type like the SKS of            24       A   Because the design is based from the AR-15,
        25 an AR-type," you meant "or"; right?                                  25 which is the ArmaLite rifle.


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                                                                      Scott Pulaski
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        1        Q    Have you ever seen AR, just those two letters,            1 our industry. Tends -- It tends that with more knowledge
        2 A-R, used to refer to a firearm?                                      2 in the industry, more jargon is used, as in many
        3        A    Yes.                                                      3 industries. So I work to eliminate jargon as much as
        4        Q    Did you understand what that meant?                       4 possible, but it doesn't always work.
        5        A    I do, through my experience, but I've seen                5          Q     Directing your attention to where it says
        6 many people be confused and refer to anything that is a               6 AR-15 build room. Directly under that, it says, "For $40,
        7 rifle that shares similar characteristics to be called an             7 you can have access to our AR build room."
        8 AR or even an AK.                                                     8              Do you see that?
        9        Q    Piasa Armory has a website; right?                        9          A    Yes.
        10       A    It does.                                                  10         Q     Did you write that sentence?
        11       Q     Who's respons ble for the content of that                11         A     I did.
        12 website?                                                             12         Q     And when you wrote that sentence, you had an
        13       A    I am.                                                     13 understanding of what AR meant?
        14       Q     Do you write it yourself?                                14         A     I did, and especially because AR-15 build room
        15       A    I do.                                                     15 is written two lines above it.
        16       Q     I'm marking Deposition Exhibit 5.                        16         Q     And from the context, you can tell that AR
        17           (Deposition Exhibit No. 5 marked for                       17 means AR-15; is that fair to say?
        18 identification.)                                                     18         A     Yes.
        19       Q     (By Mr. Wells) Do you recognize this document?           19         Q     You got to wait for me to finish.
        20       A    I do.                                                     20         A     Yes.
        21       Q     What is it?                                              21         Q     That was a yes.
        22       A    This is an example of gunsmith services that              22              And what does AR refer to there?
        23 we offer.                                                            23         A     In this case, it refers to AR-15.
        24       Q     Would you agree that this appears to be a                24         Q     What is your AR-15 -- I'm sorry. Let's strike
        25 printout from the Piasa Armory website?                              25 that.

                                                                      Page 50                                                                    Page 52
        1       A    It is.                                                     1              What is your AR build room?
        2       Q    And do you see at the bottom left hand it says             2       A      We don't have an AR build room. It's an AR-15
        3 the URL for Piasa Armory?                                             3 build room. As I mentioned, it was an example of jargon or
        4       A    Yes.                                                       4 poor proofreading.
        5       Q    And it's specifically the gunsmith page?                   5       Q       But you call it an AR build room. Was that
        6       A    Yes.                                                       6 just a shorthand?
        7       Q    Who's the audience for your website?                       7       A      Yes.
        8       A    Any -- Anyone. So young, old, novice,                      8       Q       Do customers use the AR build room?
        9 experienced, professional.                                            9       A      Not lately.
        10       Q    Is it fair to say that the audience for your              10       Q      Prior to January 10, 2023, did customers use
        11 website is potential customers for Piasa Armory?                     11 the AR build room?
        12       A   It is, but also not potential customers. Our               12       A      Yes.
        13 business operates as education also.                                 13       Q      What did they use the AR build room for?
        14       Q   And when you say education -- it operates as               14       A      Typically installing parts and accessories.
        15 education, what do you mean?                                         15 Or we would also offer to teach how to properly assemble an
        16       A   Educational I should say. So our goal, our                 16 AR-15 so it would operate safely.
        17 company motto is creating a culture of responsible firearm 17                 Q      Did customers ever use the AR build room to
        18 ownership, which is being willing to provide information to 18 assemble firearms other than an AR-15?
        19 anyone who asks, not just potential customers, helping to            19       A      Typically not, but I'm sure that it's happened
        20 teach safe handling, safe operation, and basic familiarity.          20 over the years.
        21       Q   When you write things on your website, do you              21       Q      Do you recall any specific occasions where
        22 use terminology -- on the Piasa Armory website, do you use           22 someone assembled something other than AR-15?
        23 terminology that you believe your customers will                     23       A      I'm sure that someone has assembled a Glock
        24 understand?                                                          24 pistol or other similar pistols.
        25       A   I work to -- Jargon is a difficult thing in                25       Q      Has a customer ever built an AR-7 in your AR


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        1 build room?                                                          1 of 2022, did you have an understanding as to what AR-type
        2        A    That would be rather difficult.                          2 firearms meant?
        3        Q    Is that a no?                                            3        A    As a member of the industry with experience, I
        4        A    That -- To my knowledge, no.                             4 do.
        5        Q    How about an AR-5? Has a customer ever used              5        Q    And this was a document that you reviewed that
        6 an AR -- your AR build room to construct an AR-5?                    6 came from ATF; is that right?
        7        A    Not to my knowledge.                                     7        A    Yes.
        8        Q    And the reason you offered, prior to                     8        Q    And when you're reviewing documents from ATF,
        9 January 10, 2023, an AR build room is because the AR-15 is           9 they regulate firearms; right?
        10 very common; right?                                                 10       A     They do.
        11       A    It is.                                                   11       Q     So they use firearms terminology that
        12       Q    All right. I'm going to show you -- set that             12 regulated entities will understand?
        13 one to the side.                                                    13       A     Traditionally.
        14           (Deposition Exhibit No. 6 marked for                      14       Q     In the spring of 2022, when you got Deposition
        15 identification.)                                                    15 Exhibit 6, did you reach out to ATF seeking clarification
        16       Q    (By Mr. Wells) I'm handing you what I'm                  16 as to what they meant about AR-type firearms?
        17 marking as Deposition Exhibit No. 6. Are you familiar with          17       A     I did not, as I understood what they meant by
        18 this document?                                                      18 AR-type firearms. Fires that use the fire control group of
        19       A    I am.                                                    19 an AR.
        20       Q    How are you familiar with it?                            20       Q     What is a fire control group?
        21       A    This was provided to all FFL's by the ATF.               21       A     Typically the trigger and hammer.
        22       Q    And you reviewed it in your capacity as an               22            (Deposition Exhibit No. 7 marked for
        23 owner of Piasa Armory; is that right?                               23 identification.)
        24       A    I did.                                                   24       Q     (By Mr. Wells) All right. I'm going to hand
        25       Q    And you reviewed it when ATF issued it?                  25 you another exhibit I'm marking as Deposition Exhibit

                                                                     Page 54                                                                Page 56
        1        A   Yes.                                                      1 No. 7.
        2        Q    And it says, "March 22nd, 2022, open letter to           2        A    Thank you.
        3 all federal firearms licensees."                                     3             MR. MAAG: Thank you.
        4            So you reviewed it approximately in March of              4        Q    (By Mr. Wells) Do you recognize what I've
        5 2022; is that fair to say?                                           5 marked as Deposition Exhibit No. 7?
        6        A   On or about that.                                         6        A    I do.
        7        Q    March, April?                                            7        Q    What is it?
        8        A   Yes.                                                      8        A    This is the federal definition of a frame or
        9        Q    Around the spring of 2022?                               9 receiver.
        10       A    Yes.                                                     10        Q    What is a frame or receiver in your own words?
        11       Q    I'm directing your attention to the second               11        A    That'd be the component of a firearm that
        12 paragraph. You see it says FRT?                                     12 contains the working parts of the firearm.
        13       A    Yes.                                                     13        Q    Directing your attention to paragraph two on
        14       Q    Do you have an understanding of what FRT means 14 Deposition Exhibit 7, the first page. Do you see it says,
        15 in that sentence?                                                   15 "The term receiver means the part of a rifle, shotgun or
        16       A    I do.                                                    16 projectile weapon other than a handgun or variance thereof
        17       Q    What is that?                                            17 that provides housing or a structure for the primary
        18       A    That is a forced reset trigger.                          18 component designed to block or seal the breach prior to
        19       Q    So in paragraph two of Deposition Exhibit 6,             19 initiation of the firing sequence, i.e., bolt, breach lock
        20 it says, "These particular FRTs," meaning forced reset              20 or equivalent, even if pins or other attachments are
        21 triggers, "are being marketed as replacement triggers for           21 required to connect to such component to the housing or
        22 AR-type firearms."                                                  22 structure?"
        23           Do you see that?                                          23        A    I do.
        24       A    I do.                                                    24            MR. MAAG: I'm going to interpose an
        25       Q    And when you read this document in the spring            25 objection. I think the U.S. Court of Appeals for the Fifth


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                                                                      Page 57                                                              Page 59
        1 Circuit has stayed the implementation of these rules.                 1            (Deposition Exhibit No. 8 marked for
        2             MR. WELLS: Are we in the Fifth Circuit?                   2 identification.)
        3             MR. MAAG: No, but I think it's a nationwide               3        Q    (By Mr. Wells) I'm handing you what I've
        4 injunction.                                                           4 marked as Deposition Exhibit 8, which I can represent to
        5             MR. WELLS: Is it? Okay. All right.                        5 you is an excerpt, so a collection of pages from Shooter's
        6             MR. MAAG: I mean, you can proceed. I just                 6 Bible Guide to AR-15, 2nd Edition.
        7 want --                                                               7        A    Okay.
        8             MR. WELLS: Right. Fair enough.                            8        Q    I'm directing your attention to the last page.
        9        Q     (By Mr. Wells) With respect to paragraph                 9            MR. MAAG: Printed in China.
        10 three, do you see where it says the terms variant and                10       Q    (By Mr. Wells) Are you familiar with Doug
        11 variance thereof?                                                    11 Howlett?
        12        A    I do.                                                    12       A    Not personally, but as a writer, yes.
        13        Q    And do you understand what's meant by variant? 13                 Q    So you're familiar with his writing?
        14        A    I do.                                                    14       A    Yes.
        15        Q    Do you see in paragraph three where it says,             15       Q    And it says here that he worked as an editor
        16 "For example, an AK-type firearm with a short stock, i.e.,           16 of American Hunter magazine. Are you familiar with that
        17 pistol grip, is a pistol variant of an AK-type rifle. An             17 magazine?
        18 AR-type firearm with a short stock, i.e., pistol grip, is a          18       A    I am.
        19 pistol variant of an AR-type rifle. And a revolving                  19       Q    And is it a good source of information about
        20 cylinder shotgun is a shotgun variant of a revolver."                20 firearms?
        21            Do you see that sentence?                                 21       A    I have not read American Hunter magazine as
        22        A    I do.                                                    22 referential material.
        23        Q    And do you understand the use of the phrase              23       Q    It says here Rob Manning is another one of the
        24 AR-type firearm in that?                                             24 authors, and he's the current editor, at least as of this
        25        A    Thanks to my experience in -- in the industry,           25 publication date, of Gun World magazine. Are you familiar

                                                                      Page 58                                                              Page 60
        1 yes, I do.                                                            1 with Gun World magazine?
        2        Q     And do you understand what AK-type firearm               2       A    I am.
        3 means in that?                                                        3       Q    Is that a good source of information about
        4        A    Again, thanks to my experience in the                     4 firearms?
        5 industry, I do.                                                       5       A    It can be.
        6        Q     And I can represent to you that 27 CFR Section           6       Q    I'm directing your attention to the second
        7 478.12, which is Deposition Exh bit 7, which we've been               7 paragraph on this page. It says, "In this complete book of
        8 looking at, it took effect in August -- August 24th of                8 AR style firearms, you can peruse the products of all
        9 2022. And at Piasa Armory, you would have complied with               9 manufacturers, learn about the evolution of the AR from its
        10 the regulation when it was in effect; correct?                       10 uses in the military in the 1960s as well as gain essential
        11        A    Correct.                                                 11 knowledge on the parts and functions of the rifle. Also
        12            MR. MAAG: Subject to my belief it has been                12 included are chapters on customizing and accessorizing ARs
        13 stayed by the Fifth Circuit.                                         13 and much more."
        14            MR. WELLS: That's why I used past tense.                  14           Do you have an understanding as to what AR
        15            MR. MAAG: Right.                                          15 means in this paragraph?
        16        Q    (By Mr. Wells) Have you filed any lawsuits               16       A    I do, as an expert in the industry. However,
        17 challenging the regulation in Deposition Exhibit 7?                  17 a layman may have difficulty without the reference to the
        18        A    Not at this time.                                        18 top of the page referring to AR-15 rifle.
        19        Q    And you mentioned earlier that you're familiar           19       Q    And we see here the evolution of the AR from
        20 with Shooter's Bible?                                                20 its uses in the military in the 1960s. Do you have an
        21        A    I am.                                                    21 understanding as to what that's referring to?
        22        Q    And I think you also mentioned that you're               22       A    The AR was part of the military design
        23 familiar with Shooter's Bible Guide to AR-15s --                     23 program. However, it was also a civilian rifle during that
        24        A    Yes.                                                     24 same time.
        25        Q    -- correct?                                              25       Q    And in that time period, is that when,


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        1 roughly, Eugene Stoner was involved with the design of the                1 undoubtedly the most comprehensive listing of current AR
        2 AR-15?                                                                    2 style rifle models available in print or on the web,
        3        A       Yes.                                                       3 though, it is by no means exhaustive."
        4        Q       And the AR-15 became the M-16; is that right?              4             Do you see that?
        5        A       It did. It also became a Colt firearm that                 5        A     I do.
        6 was sold to the civilian market.                                          6        Q     And do you understand what AR style rifle
        7        Q       What's the difference between the civilian                 7 models means in this sentence?
        8 Colt firearm that's an AR-15 and the military AR-15 that                  8        A     I do. Again, thanks to my industry knowledge
        9 was named the M-16?                                                       9 and the title of the book.
        10       A       The M-16 is a select-fire firearm machine gun,             10        Q     And directing your attention to the last
        11 so it's able to fire more than one projectile when pulling               11 sentence in this paragraph that starts with "and."
        12 the trigger.                                                             12             "And admittedly, with so many small gunmakers
        13       Q       Any other differences?                                     13 coming into the fold and just as quickly falling back out
        14       A       On the outside, no, but definitionally, that's             14 of it, capturing every manufacturer is a target even a
        15 what makes the difference.                                               15 custom built AR couldn't hit."
        16       Q       And any other differences relate to that                   16             Do you see that?
        17 effectuating that difference between select fire and                     17        A     I do.
        18 semi-automatic fire; is that right?                                      18        Q     Do you have an understanding of what custom
        19       A       Minor differences by the manufacturer, yes.                19 built AR means here?
        20 Things that would prevent somebody from easily converting a 20                     A     I do.
        21 civilian AR-15 into an M-16.                                             21        Q     What is that understanding?
        22       Q       But to the extent that there are differences               22        A     That would refer to somebody who builds a
        23 between a military M-16 and the AR-15, the --                            23 custom AR-15 or AR-10 typically in the industry.
        24       A       They --                                                    24        Q     In the first sentence that we looked at just a
        25       Q       Let me just finish.                                        25 second ago, the author stated, "It's by no means an

                                                                          Page 62                                                                 Page 64
        1                The differences would relate to, again, the                1 exhaustive list of AR rifle models."
        2 internal mechanisms that either facilitate, in the case of                2             Do you agree that it would be very difficult
        3 an M-16, automatic fire or aren't there in a semi-automatic               3 to make an exhaustive list of all AR style rifle models?
        4 civilian version; is that correct?                                        4        A     I do.
        5         A       Correct. And minor cosmetic details.                      5        Q     Do you agree that it would be possible to make
        6         Q       All right. So sticking with this exhibit,                 6 a large, but not necessarily complete, list of AR style
        7 I'll direct your attention to the table of contents. Do                   7 rifle models?
        8 you see where it says, Chapter 4, AR Rifle Models?                        8        A     I do. The state's done that with the PICA
        9         A       I do.                                                     9 listing of AR-15 and variants.
        10           Q     And do you have an understanding of what that            10        Q    And, in fact, this Shooter's Bible, Guide to
        11 means?                                                                   11 AR-15s, 2nd Edition, which I believe you said you have, the
        12           A     I do, as an industry member.                             12 authors here have compiled quite a list of AR-15 models;
        13           Q     And if you were to look at chapter four, what            13 right?
        14 would you expect to see there?                                           14        A    They have made a large list, right.
        15           A     I would assume I would see AR-15s, AR-10s,               15        Q    And if I asked you personally, based on your
        16 AR-18s, and other variants.                                              16 knowledge, to compile a list of 50 AR rifle models, you
        17           Q     Would you expect to see an AR-7?                         17 could do that; correct?
        18           A     Typically not. That doesn't fall on a similar            18        A    Probably.
        19 style to the AR-15.                                                      19        Q    Could you do more than 50?
        20           Q     What about an AR-5, would you expect to see an 20                  A    Probably.
        21 AR-5?                                                                    21        Q    I'm going to direct your attention to appendix
        22           A     Not necessarily.                                         22 one in this same exhibit. And I'm not going to ask you to
        23           Q     Directing your attention to page 51 at the               23 look at it in detail, but does it appear to be a list of AR
        24 bottom of this same exh bit, Exhibit 8. And the first                    24 manufacturers?
        25 sentence, I'm going to read it to you, "Following is                     25        A    It is. Not anywhere near complete.


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                                                                         Scott Pulaski
                                                                         Page 65                                                                  Page 67
        1       Q        And there are 141, based on my count, AR                  1             MR. WELLS: True.
        2 manufacturers identified here. You said not anywhere near                2             MR. MAAG: Thank you.
        3 complete. Why do you say that?                                           3             MR. WELLS: They used to write on sheepskin.
        4       A        Because of the nature of firearms                         4             MR. MAAG: Well, I never did.
        5 manufacturing and the nature of the AR-15 manufacturing.                 5             MR. WELLS: Me either.
        6             For example, ourselves, we don't physically                  6        Q     (By Mr. Wells) All right. I have marked for
        7 manufacture our own. We use a process called a variance to               7 identification purposes Deposition Exhibit 9, which I can
        8 produce our AR-15 lower, half of the receiver system for                 8 represent to you is a printout from the Illinois General
        9 the AR-15. So without intimate industry knowledge, no one                9 Assembly website of 720 ILCS 5/24-1.9.
        10 could compile such an exhaustive list.                                  10            Do you recognize that statute?
        11       Q       You said variance?                                        11        A    I do.
        12       A       Variance. Not variant. Not multiple variant,              12            MR. WELLS: Oh, I didn't hand it to you.
        13 but variance and approval through ATF for another company               13        Q    (By Mr. Wells) And do you recognize this to be
        14 to produce the firearm for us.                                          14 a section of PICA?
        15       Q       How many AR-15s does -- prior to -- So let's              15        A    I do.
        16 say 2022. How many AR-15s would Piasa Armory have produced 16                     Q    All right. I'm directing your attention to
        17 itself?                                                                 17 the second page. Under subpart J in the middle of the page
        18       A       We have only produced 150.                                18 and then small Roman numeral ii, two.
        19       Q       Do you know who the largest AR-15 manufacturer            19            MR. MAAG: We're on page two?
        20 is in the United States?                                                20            MR. WELLS: Yep.
        21       A       Not immediately, but with a short search, I'm             21        Q    (By Mr. Wells) Do you see where it says all
        22 sure I could find.                                                      22 AR-types?
        23       Q       Who do you -- What are the companies that you             23        A    I do.
        24 think might be in that category or close to the top?                    24        Q    Okay. So I want you to go from -- I want you
        25       A       Immediately I would say Palmetto State Armory.            25 to review all of the models that are listed under J, small

                                                                         Page 66                                                                  Page 68
        1         Q       Any others?                                              1 Roman two, which it goes from one to 43 on the next page --
        2         A       Aero Precision. A-E-R-O.                                 2        A    Uh-huh (yes).
        3         Q       Do you have any sense of how many AR-15s                 3        Q    -- and tell me which of the models that are on
        4 Palmetto State Armory produces in a given year?                          4 this list you do not believe are probably -- properly
        5         A       I do not.                                                5 characterized as an AR-type.
        6         Q       Is it more than 150?                                     6        A    The AR-10, again, is similar, but that would
        7         A       Absolutely.                                              7 be a -- a different type of system. It operates similarly
        8         Q       Do you think it's in the tens of thousands?              8 to an AR-15, but it's larger, different caliber. It has
        9         A       I would wager it's near six figures.                     9 its own platform basically. Parts -- Many parts are not
        10           Q     And out of the 141 manufacturers that are               10 interchangeable, although some are. Items like four, the
        11 listed here in this exhibit, based on your knowledge, how               11 ArmaLite .22 Carbine. Things like the Beretta AR-70,
        12 many are in that kind of above 10,000 category of AR-15s 12 Bushmaster ACR. The Chiappa firearms M4.
        13 produced each year?                                                     13            So the -- Let's see. So the -- the -- is
        14           A     I would presume probably 10 percent of the              14 that -- 36, Sig Sauer 516 and MCX rifles are similar, but
        15 overall list of manufacturers.                                          15 have a different operating system. And that would be it.
        16           Q     And would you agree that the number of                  16        Q    Okay. So out of the 43 models listed under
        17 manufacturers of AR-type rifles is a reflection of the                  17 section J(ii), you've identified six that you agree -- that
        18 popularity of AR-type rifles?                                           18 you think are not properly characterized as AR-types; is
        19           A     I would.                                                19 that right?
        20           Q     I'm going to hand you this section of PICA              20        A    Yes.
        21 where it's codified, meaning put in the law books.                      21        Q    So is it fair to say that the remaining 37
        22                (Deposition Exhibit No. 9 marked for                     22 types listed under J(ii), make and model of particular
        23 identification.)                                                        23 rifles, are fairly considered AR-types?
        24                MR. MAAG: They had law books hundreds of                 24        A    Yes. AR-15 types.
        25 years before the codification.                                          25        Q    All right. I'm going to direct you back to --


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                                                                     Page 69                                                                 Page 71
        1 We're going to go back and forth with this one a little              1        A    I do.
        2 bit, so keep it handy.                                               2        Q    Do you agree that that rifle has a flash
        3              I want you to go back to your May 19th                  3 suppressor?
        4 declaration, so that's Exhibit 2. And I'm going to direct            4        A    This one does.
        5 your attention to paragraph 21 where you say that,                   5        Q    Do you agree that the rifle depicted on
        6 "ArmaLite M-15 .22 LR carbine is designed to look like an            6 page 28 next to ArmaLite M-15 .22 LR carbine -- carbine has
        7 early prototype AR-15, circa about 1964, by is in" -- I              7 a barrel shroud?
        8 think you meant "but is in."                                         8        A    I would not call that a barrel shroud. I
        9        A     Correct.                                                9 would call it a hand guard. It's simply meant to protect
        10         Q    "A different caliber, has no gas system and            10 the barrel so the user doesn't burn themselves while
        11 completely different operating system and uses different            11 shooting, similar to many other semi-automatic and
        12 magazines."                                                         12 bolt-action rifles.
        13             That was your testimony; is that right?                 13        Q    And you're referring to the -- I guess you
        14         A    Correct.                                               14 can't really see the -- the color here. But to shield the
        15         Q    I'm going to hand you what I'm going to mark           15 second hand of the user from touching the barrel; is that
        16 as Deposition Exhibit 10.                                           16 right?
        17             (Deposition Exhibit No. 10 marked for                   17        A    Correct. Correct.
        18 identification.)                                                    18        Q    Because the barrel gets hot?
        19         Q    (By Mr. Wells) Have you seen this document?            19        A    It's the case with every firearm that's fired.
        20         A    I have.                                                20        Q    And are you familiar with -- in Deposition
        21         Q    What is it?                                            21 Exh bit 9, which is the provision of PICA, the definition
        22         A    This is the Assault Weapon Identification              22 of assault weapon that uses features?
        23 Guide, and it was put together by the state police.                 23        A    Yes.
        24         Q    I'm going to direct your attention to -- Well,         24        Q    Would you agree that the firearm we were just
        25 let me ask you this: This Assault Weapon Identification             25 looking at in Deposition Exhibit 10, the top of page 28,

                                                                     Page 70                                                                 Page 72
        1 Guide, is this something that you've looked at and -- for            1 the ArmaLite M-15 .22 LR carbine, it has features that are
        2 purposes of running Piasa Armory?                                    2 listed under Section 1.9 (a)1(A?)
        3       A      Yes.                                                    3       A     It does.
        4       Q      Directing your attention to page 28, top of             4       Q     You mentioned in your declaration from May 19,
        5 the page next to ArmaLite M-15 .22 LR carbine. Do you                5 2023, in paragraph 21, that the ArmaLite M-15 .22 LR
        6 recognize that photograph?                                           6 carbine uses different magazines. What do you mean?
        7       A      I do.                                                   7       A     The magazine for the M-15 .22 carbine is only
        8       Q      And what is that?                                       8 capable of accepting 22 long rifle ammunition, rather than
        9       A      That's an ArmaLite M-15 .22 LR carbine.                 9 a 223 or 556 ammunition that's common for the AR-15 rifle.
        10         Q    Why do you believe an ArmaLite M-15 .22 LR             10       Q    So the cal ber of ammunition for the M-15 .22
        11 carbine is not an AR-type?                                          11 LR is different than the caliber of ammunition used in most
        12         A    Shares cosmetic similarities, but in the same          12 AR-15 models?
        13 way that a Ruger 10/22, which is pictured also in this              13       A    Correct.
        14 document, is not the -- is -- is just dressed up                    14       Q    And in order for a magazine to be able to be
        15 differently than the tactical model that's pictured in this 15 interchangeable, you need to have the same caliber of
        16 document. So the internals are different.                           16 ammunition between the two firearms that you're planning to
        17         Q    Do you agree that the rifle depicted on page           17 use that magazine in; is that fair to say?
        18 28 of Deposition Exhibit 10 next to ArmaLite M-15 .22 LR            18       A    Not necessarily.
        19 carbine is a semi-automatic rifle?                                  19       Q    Why not?
        20         A    Yes.                                                   20       A    Modern AR-15s are capable of accepting dozens
        21         Q    Do you agree that that same rifle has a                21 of different calibers of ammunition. Some of those share
        22 detachable magazine?                                                22 the same magazines with 223. For example, 50 Beowulf for
        23         A    I do.                                                  23 58 SOCOM -- 458 SOCOM uses a standard 223 magazine.
        24         Q    Do you agree that that rifle has a pistol              24       Q    So there are multiple calibers that can fit
        25 grip?                                                               25 into one magazine; is that fair to say?


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                                                                        Scott Pulaski
                                                                        Page 73                                                                Page 75
        1        A    Correct.                                                    1        Q    Do you agree that the Beretta AR-70 has a
        2        Q    You do have to have at least one overlapping                2 pistol grip?
        3 caliber between two firearms to be able to use the same                 3        A    I do.
        4 magazine, though; right?                                                4        Q    Do you agree that the Beretta AR-70 is -- Is
        5        A    In general.                                                 5 there a semi-automatic version of the Beretta AR-70?
        6        Q    Is that a yes?                                              6        A    I am sure that there are some automatic
        7        A    Yes.                                                        7 conversions that have been done on that, but for general
        8        Q    All right. Let's go back to your declaration                8 consumption, it was not produced for the civilian market.
        9 paragraph, paragraph 22. This is the May 19 declaration,                9        Q    So it was not produced for the civilian market
        10 Exhibit 2.                                                             10 and was, in fact, an automatic firearm?
        11            In paragraph 22, you mentioned the Beretta                  11       A    Correct. Which would be banned by Illinois
        12 AR-70. You say, "The Beretta AR-70 has nothing in common 12 law and federal law.
        13 with the AR-15 except cal ber. And while the AR-15 is made             13       Q    And that automatic ban predates PICA; right?
        14 from machined aluminum, the AR-70 is made from largely                 14       A    Yes.
        15 stamped steel. No parts between the two interchange."                  15       Q    Would you agree that the AR-70 can accept a
        16            Is that your testimony?                                     16 detachable magazine?
        17       A     Correct.                                                   17       A    I do.
        18       Q      And when we were looking at Exh bit 9, the                18       Q    Does the AR-70 depicted at page 28 of
        19 PICA list and the PICA provisions, you mentioned that the              19 Exhibit 8 have a flash oppressor?
        20 ArmaLite -- I'm sorry -- that the AR-70 is one of -- I'm               20       A    It appears to.
        21 sorry. The Beretta AR-70 is one of the models listed under             21       Q    And that's one of the prohibitive
        22 Section J(ii) under AR-type that you don't think is                    22 characteristics under the PICA definition; is that right?
        23 properly characterized as an AR-type; is that right?                   23       A    It is.
        24       A     Correct.                                                   24       Q    Would you agree that, even if this rifle had
        25       Q      Is it fair to say that the original AR-70 was             25 not been listed under AR-type, it has multiple features

                                                                        Page 74                                                                Page 76
        1 a fully automatic rifle issued to the Italian military?                 1 listed in PICA under subsection 1.9 (a)(1)(A)?
        2        A      Yes.                                                      2        A    It does, in similar manner to other rifles.
        3        Q      Does the AR-70 use the same caliber of                    3        Q    And you also mentioned that most of the AR-70s
        4 ammunition as the AR-15 chambered in 5.56 NATO?                         4 produced were fully automatic firearms; right?
        5        A      Yes.                                                      5        A    Right.
        6        Q      The AR-70 was designed by Beretta, an Italian             6        Q    Directing your attention to paragraph 23 of
        7 company; right?                                                         7 your declaration. So we're going back to Exhibit 2. In
        8        A      To my knowledge, yes.                                     8 there, you wrote, "There is no such gun as the Rock River
        9        Q      To your knowledge?                                        9 Arms AR-47, but if that is intended to refer to the LAR-47,
        10        A     Yes.                                                      10 again, there are substantial differences, including
        11        Q     And the -- The Beretta AR-70 was not based on 11 caliber, magazine used and general appearance."
        12 Eugene Stoner's original AR-15 design by ArmaLite?                     12            That was your testimony?
        13        A     I couldn't speak to the design intent of the              13        A    Yes.
        14 manufacturers, but I would presume no.                                 14        Q    Would you agree that the LAR-47 is an AK-47
        15        Q     What is AR and AR-70 mean?                                15 type rifle?
        16        A     I do not recall that.                                     16        A    I would not.
        17        Q     Is the AR-70 still in production, to your                 17        Q    How would you characterize the LAR-47?
        18 knowledge?                                                             18        A    I would characterize it as a derivative of the
        19        A     Not for civilian consumption and not for                  19 AR-15, designed to take AR-47 style magazines.
        20 military consumption, to my knowledge.                                 20        Q    When you say it's a derivative of the AR-15,
        21        Q     All right. I'm going to direct your attention             21 what do you mean?
        22 back to the ISP guide. So that's Deposition Exhibit 10.                22        A    I mean that it was inspired by, takes design
        23 Bottom of page 28 where it says Beretta AR-70 with flash 23 elements from, but is not -- is not the same firearm.
        24 suppressor. Do you see that?                                           24        Q    Why not?
        25        A     Yes.                                                      25        A    It uses different magazines, uses different

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                                                                    Scott Pulaski
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        1 calibers, different receiver styles.                                1 by the shooter. A flash oppressor is designed to mitigate
        2        Q      You said that the LAR-47 takes the AR-15 and          2 flash seen by the shooter.
        3 changes the caliber, the magazine, and changes it in a way          3        Q   Do you agree that the LAR-47 has a barrel
        4 that's towards like AK-47 caliber?                                  4 shroud as depicted in Deposition Exh bit 11?
        5        A      Correct.                                              5        A   Again, I would consider that a hand guard
        6        Q      Do you think the LAR-47 could be characterized        6 meant to prevent the user from burning themselves while
        7 as an AK-type firearm?                                              7 shooting. A barrel shroud, other than PICA, to my
        8        A      I don't.                                              8 knowledge, doesn't have a solid definition.
        9        Q      Why not?                                              9        Q   Do you agree that the rifle depicted in
        10       A      Because it's not an AK-type firearm based on          10 Deposition Exhibit 11 has a telescoping or adjustable
        11 the Kalashnikov design.                                            11 stock?
        12       Q       Would you agree that the LAR-47 takes design         12       A    It appears to.
        13 elements from both the AK-47 and the AR-15?                        13       Q    Would you agree that the rifle depicted in
        14       A      I would.                                              14 Deposition Exhibit 11 would qualify as an assault weapon
        15       Q       So would you characterize the LAR-47 as a bit        15 under the features-based definition in PICA?
        16 of a hybrid between an AK-47 and the AR-15?                        16       A    Yes.
        17       A      That's reasonable, yes.                               17       Q    I'm going to direct your attention back to the
        18       Q       I'm going to direct your attention to an             18 ISP guide, so Deposition Exhibit 10. Directing your
        19 exhibit that I'm going to mark as Exhibit 11.                      19 attention to page 39, do you see where it says Anderson
        20              (Deposition Exh bit No. 11 marked for                 20 AM-15 BR?
        21 identification.)                                                   21       A    I do.
        22       Q       (By Mr. Wells) Do you recognize this document?       22       Q    And that's listed under other, quote, AR-type,
        23       A      I have not seen it before today, but I                23 close quote, rifles as defined by the Protecting Illinois
        24 recognize it as Rock River Arms' website.                          24 Communities Act. Do you see that?
        25       Q       So I can represent to you it's a screen shot         25       A    I do.

                                                                    Page 78                                                                  Page 80
        1 of Rock River Arms' website specifically relating to the            1       Q    Would you agree that the Anderson AM-15 BR is
        2 LAR-47?                                                             2 an AR-type rifle?
        3        A      Yes.                                                  3       A    Yes. AR-15 type rifle.
        4        Q      Do you see the URL listed up there that says          4       Q    Directing your attention to the next rifle
        5 RockRiverArms.com?                                                  5 underneath that, next to Ruger AR 556 MPR with M-Lok rail.
        6        A      I do.                                                 6 Do you recognize the firearm depicted immediately to the
        7        Q      Do you agree that the firearm depicted in             7 right of that language as a Ruger AR-50 -- 56 MPR?
        8 Deposition Exhibit 11 is an LAR-47?                                 8       A    I do.
        9        A      I would agree.                                        9       Q    Would you agree that that's an AR-type rifle?
        10          Q    Do you agree that this is a semi-automatic           10       A   That's an AR-15 type rifle, yes.
        11 rifle?                                                             11       Q   And in the Ruger name, Ruger AR-556, what do
        12          A    It appears to be, yes.                               12 you understand the 556 to refer to?
        13          Q    Do you agree that the rifle depicted in              13       A   The typical caliber that it is sold in. So
        14 Deposition Exhibit 11 has a detachable magazine?                   14 5.56 NATO.
        15          A    It does.                                             15       Q   And even though Ruger is calling it a Ruger
        16          Q    And do you agree that the rifle depicted in          16 AR-556, you still recognize it to be an AR-15 type rifle?
        17 Deposition Exhibit 11 has a pistol grip?                           17       A   I do.
        18          A    It does.                                             18       Q   Directing your attention to the next firearm
        19          Q    Do you agree that the rifle depicted in              19 depicted next to the language "Springfield Armory SAINT
        20 Deposition Exhibit 11 has a flash suppressor?                      20 Victor." Do you see that?
        21          A    It appears to have a compensator, not a flash 21              A   I do.
        22 suppressor.                                                        22       Q   Do you agree that that's an AR-type rifle?
        23          Q    What's the difference between a compensator          23       A   AR-15 type, yes.
        24 and a flash suppressor?                                            24       Q   Directing your attention to the next firearm
        25          A    A compensator's made to mitigate recoil felt         25 depicted on page 39 next to Radical Firearms, RF-15 SOCOM.


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                                                                     Scott Pulaski
                                                                     Page 81                                                                     Page 83
        1 Do you recognize that rifle?                                         1               Do you understand what's meant here by ARs?
        2        A    I do.                                                    2       A       I do. AR-15s.
        3        Q    Do you recognize it as a Radical Firearms                3       Q        Do you agree with what this -- these couple of
        4 RF-15 SOCOM?                                                         4 sentences say?
        5        A    Radical Firearms is a wide product variety,              5       A       Yes.
        6 product offering in many variants, but it looks like one of          6       Q        And how do you understand what's being
        7 their firearm styles, yes.                                           7 described here?
        8        Q    Would you agree that the firearm depicted at             8       A       This -- That there are many variants of the
        9 the bottom of page 39 next to Radical Firearms is an AR-15?          9 AR-15 that are produced under different names by different
        10       A     It appears to be, yes.                                  10 manufacturers, but are substantially similar.
        11       Q     Would you at call it an AR-type rifle?                  11       Q       And did it always -- Has it always been the
        12       A     I would call it an AR-15 type rifle, yes.               12 case that there are a lot of AR-15 manufacturers?
        13       Q     I want you to look through pages 40 through             13       A       From my time in firearms, yes. However, I
        14 42. And after you've had a chance to look at those, I want          14 was -- My time in firearms began after the sunset of the
        15 you to tell me whether the rifles depicted on those pages           15 Clinton assault weapons ban.
        16 are all AR-15 type rifles.                                          16       Q       So there was a period of time when most gun
        17       A     They appear to be.                                      17 shops would carry two or three AR-type rifles; is that
        18       Q     So you would agree with me that the rifles              18 right?
        19 depicted on pages 39 to 42 of Deposition Exh bit 10, the            19       A       Correct. Twenty-plus years ago.
        20 Illinois State Police Assault Weapons Identification Guide,         20       Q       How many different types of AR-rifles do you
        21 all of those rifles depicted are AR-15 type rifles;                 21 carry at Piasa Armory?
        22 correct?                                                            22       A       As many as are manufactured and supplied by
        23       A     Yes.                                                    23 our distributors.
        24       Q     And all of those rifles are AR-type rifles;             24       Q       Do you have any idea of the number of
        25 right?                                                              25 manufacturers of AR-15s that you offer at Piasa?

                                                                     Page 82                                                                     Page 84
        1        A    Of the Stoner design, yes.                               1        A       I would assume in the neighborhood of 50.
        2        Q     All right. One more on ARs and then --                  2        Q       Okay. Why don't we take a short break.
        3        A    Okay.                                                    3        A       Sure.
        4        Q     We're not done yet.                                     4               THE VIDEOGRAPHER: This is the videographer.
        5        A    Sure.                                                    5 We are going off the record. The time now is 3:42.
        6        Q     If you need a break, too, by the way, just let          6           (Whereupon, a short break was taken.)
        7 me know.                                                             7               THE VIDEOGRAPHER: This is the videographer.
        8             (Deposition Exhibit No. 12 marked for                    8 We are back on the record. The time now is 3:49.
        9 identification.)                                                     9        Q       (By Mr. Wells) Mr. Pulaski, I'd l ke to direct
        10        Q    (By Mr. Wells) I'm going to show you what I'm           10 your attention back to your May 18th declaration,
        11 marking as Deposition Exhibit 12.                                   11 paragraph 26. In paragraph --
        12            MR. MAAG: Thank you.                                     12               MR. MAAG: Which paragraph?
        13        Q    (By Mr. Wells) You mentioned earlier that you           13               MR. WELLS: Twenty-six.
        14 have been to Pew Pew Tactical's website; is that right?             14          Q     (By Mr. Wells) In paragraph 26, you wrote,
        15        A    Yes.                                                    15 "L kewise, there are no objective standards to determine
        16        Q    I can represent to you that these are screen            16 whether a given firearm is an AK-type, an AR-type or
        17 shots from Pew Pew Tactical's website. Let me direct your 17 something else. In fact, even the listed examples are
        18 attention to the second page. Do you see where it says,             18 oftentimes not within the parameters of what even most
        19 "The Modern AR-15?"                                                 19 firearms experts would consider to be an AK-type like the
        20        A    I do.                                                   20 SKS or an AR-type."
        21        Q    Do you see underneath that it says, "It used            21               I switched that "of" to an "or" because it was
        22 to be really easy. Head down to your local gun shop and             22 a typo; right?
        23 choose from the two or three ARs they have on the shelf,            23          A     Correct.
        24 but those days are long gone. Now you're bombarded with 24                      Q     You do believe there are parameters for what
        25 too many choices."                                                  25 most firearms experts would consider an AK-type; correct?

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                                                                     Scott Pulaski
                                                                     Page 85                                                             Page 87
        1       A     I do.                                                    1 design select fire shoulder-fired weapon that under federal
        2       Q     In your mind, what are the parameters that               2 law would be a machine gun.
        3 most firearms experts would consider to be an AK-type?               3            So the original AK-47 would be a machine gun
        4       A     Those would be of the design of the original             4 under federal law because it's fully automatic?
        5 AK-47 designed by Kalashnikov. So basically, a civilian              5        A   And select fire, yes.
        6 semi-automatic variant of the military fully automatic               6        Q    You agree there is such a thing as the AK
        7 AK-47.                                                               7 series of rifles; correct?
        8       Q     What does AK stand for?                                  8        A   There is an entire collection in family of
        9       A     Automatic Kalashnikov.                                   9 firearms based on the AK-47 design.
        10        Q   What language is that?                                   10       Q       Would you agree that the AK-47 is one of the
        11        A   Russian.                                                 11 most famous weapons in the world?
        12        Q   What does the Avtomat mean?                              12       A       It is.
        13        A   Automatic.                                               13       Q       And there have been many, tens of millions, of
        14        Q   And what does Kalashnikov mean?                          14 AK-47s produced?
        15        A   Rifle designed by Kalashnikov, basically.                15       A       Produced, yes. But as far as imported into
        16        Q   And who is Kalashnikov?                                  16 this country, not nearly that many.
        17        A   Kalashnikov was a Russian military tanker,               17       Q       So I'm going to read you a statement, and I
        18 while injured, designed the AK-47 in competition with the 18 want you to let me know if you agree with it.
        19 SKS designer.                                                       19           "After more than seven decades since its
        20        Q   Who was the SKS designer?                                20 creation, the AK-47 model and its variants remain one of
        21        A   Simonov.                                                 21 the most popular and widely used firearms in the world."
        22        Q   Where was Simonov from?                                  22           Do you agree with that?
        23        A   Also from Russia.                                        23       A       Yes.
        24        Q   You said that Kalashnikov and Simonov were in            24       Q       You mentioned earlier, I believe, you own an
        25 competition from -- with one another. What do you mean by           25 AK-47?

                                                                     Page 86                                                             Page 88
        1 that?                                                                1       A    I own a Romanian WASR-10.
        2        A    They were designing rifles at the same time,             2       Q    But you consider the Romanian WASR-10 to be an
        3 or similar time, attempting to have their designs adopted            3 AK-47?
        4 by the Russian military as a whole.                                  4       A    To somebody who doesn't have experience with
        5        Q    What does the AK -- What does the 47 refer to            5 firearms, they would say it was an AK variant. However,
        6 in AK-47?                                                            6 it's an AKM, which is similar to the AR-15 versus the M-16.
        7        A    The year that the design was adopted.                    7 It's cosmetically similar, but different.
        8        Q    I'm directing your attention to paragraph 13             8       Q    What does AKM stand for?
        9 of your May declaration. In paragraph 13, you wrote, "As             9       A    I do not recall the M at this time.
        10 to the named firearms in the Illinois ban, as I previously          10       Q   What do the AK in AKM stand for?
        11 stated, I'm familiar with both the AK or Soviet Avtomat."           11       A   Typically, it stands for Avtomat Kalashnikov.
        12            MR. MAAG: Avtomat.                                       12       Q   Same thing as -- Same meaning as an AK-47; is
        13        Q    (By Mr. Wells) You meant Avtomat there; is              13 that right?
        14 that right?                                                         14       A   Correct.
        15            MR. MAAG: Well, Avtomat is how it's                      15       Q   What is an AK-74?
        16 pronounced.                                                         16       A   AK-74 is a modern redesign of the AK-47, which
        17        Q    (By Mr. Wells) But it's spelled A-V-T-O.                17 is part of the AK family. It uses different ammunition.
        18        A   In the English translation.                              18       Q   You say different ammunition. What do you
        19        Q    Is that right?                                          19 mean?
        20        A   Yes.                                                     20       A   The standard AK-47 uses 762 by 39. The AK-74
        21        Q    Or Soviet Avto Kalashnikov?                             21 uses 545 by 39. It's a Soviet attempt to have a similar
        22            MR. MAAG: Kalashnikov.                                   22 military round to the United States.
        23        Q    (By Mr. Wells) You meant to write Kalashnikov?          23       Q   In the name AK-74, what does the AK?
        24        A   Missing the S in there. Yes.                             24       A   Avtomat Kalashnikov.
        25        Q    Series of rifles, which is a 1947 Soviet                25       Q   What does 74 mean in AK 74?


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                                                                         Scott Pulaski
                                                                         Page 89                                                                 Page 91
        1         A     That would be the year that it was adopted for             1        A   I don't recall. Specifically, the SKS and --
        2 wide use in the military.                                                2 but the AK variant was not a focus necessarily as much as
        3         Q     And was Kalashn kov the same person who                    3 the SKS was.
        4 designed the AK-47 also the person who designed the AK-74?               4        Q   What has changed between when you prepared
        5         A     I don't recall, but I presume that it was.                 5 your two sworn statements and today where now you're adding
        6         Q     What is an AK-56?                                          6 additional firearms that you didn't identify in your
        7         A     I don't recall.                                            7 declaration that you don't believe are properly
        8         Q     Do you know what a type 56 rifle is?                       8 characterized as AK-types?
        9         A     I'd say a Chinese variant of the Kalashnikov               9        A   The AK-types are not -- I'm thinking of how to
        10 design.                                                                 10 phrase this properly. Sorry.
        11        Q      When you say variant, what do you mean?                   11           Again, it's similar to AR -- AR-15s and
        12        A      The Chinese are famous for copying designs of             12 M-16's, the AK-types, the -- the original manufactured
        13 Russian firearms, vehicles, any other equipment, and making 13 design for Kalashnikov, the military variant, is what's
        14 them for their military with changes that are suitable for              14 typically referred to as the AK or the AK-47, but those
        15 their military.                                                         15 variants are similar. But civilian market variants, the
        16        Q      I'm going to direct your attention back to                16 AR-15 versus the M-16.
        17 Section 1.9 --                                                          17       Q    So are the ones that you identified, like the
        18        A      Okay.                                                     18 MAK90, are those -- is that available in the civilian
        19        Q      -- of PICA provisions. So Deposition                      19 market in the United States?
        20 Exhibit 9. We're going to go to page two, capital J,                    20       A   Not in this state anymore. The AK-90 was
        21 little I.                                                               21 available minorly, but not widely in just one of the many
        22        A      Uh-huh (yes).                                             22 variants was out there.
        23         Q     Where it says, "All AK types." Do you see                 23       Q    What does MAK stand for and MAK90?
        24 that?                                                                   24       A   I don't recall.
        25         A     Yes.                                                      25       Q    Does the AK stand for Avtomat Kalashnikov?

                                                                         Page 90                                                                 Page 92
        1        Q      And then under the little I, there is Roman                1       A    One could presume that.
        2 numerals one through six. Do you see that?                               2       Q    And you said it wasn't a big presence here in
        3        A      Yes.                                                       3 the United States or something like that. What did you
        4        Q      And under Roman numeral one, there are several             4 mean?
        5 numbers and letters listed. I want you to look at Roman --               5       A    Typically, items like the WASR-10, which were
        6 capital Roman numeral one through six, and tell me which of              6 brought over in kit form and produced by a major
        7 the firearms listed here you don't think -- or you -- Let                7 manufacturer, were the prevalent variant of the AK-47, copy
        8 me strike that and start over.                                           8 of the AK-47.
        9              I want you to look at J little I Roman                      9       Q    So the WASR-10, you would agree, is a copy of
        10 numerals one through six and tell me which of the firearms              10 the AK-47?
        11 listed here you believe are not properly characterized as               11       A   It's a civilian legal copy, yes.
        12 AK-types.                                                               12       Q   And just so I understand, the distinction
        13        A     Anything that is not a traditional AK-47,                  13 you're making is that the AK-47 is an automatic weapon
        14 AK-74 or the other Russian military variant would not be an             14 and --
        15 AK-type. It would be an AKM variant, typically, for the                 15       A   Correct.
        16 civilian market.                                                        16       Q   Is that correct?
        17        Q     So give me the specific model numbers here                 17       A   Correct.
        18 that are listed that you think are not properly                         18       Q   And some of these are semi-automatic weapons?
        19 characterized as A -- AK-types.                                         19       A   Anything but the AK-47 and AK-74 in the
        20        A     Sure. So things like the MAK-90, the MISR,                 20 civilian market are civilian weapons.
        21 NHM90, NHM91, SA-93, the Vector, VEPR, WASR-10, the Maadi, 21                    Q   Do you think that a -- l ke a Palmetto State
        22 and Norinco items, and the SKS.                                         22 Armory AK-47 variant that's semi-automatic is properly
        23        Q     So of these models, how many of these did you              23 characterized as an AK-47?
        24 identify in your declaration of -- the two declarations                 24       A   It's not a machine gun as the original AK-47
        25 that you prepared in this case?                                         25 was. So it's a derivative, yes, but it's not a variant.


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                                                                     Scott Pulaski
                                                                     Page 93                                                                 Page 95
        1       Q    So you would only use the term AK-47 to apply             1 and several parts kits were imported and converted to
        2 to fully automatic firearms?                                         2 civilian use to not -- no longer be automatic and legal
        3       A    In definitional terms, yes. But in jargon,                3 with federal law.
        4 not necessarily.                                                     4       Q    Can civilians outside of Illinois and
        5       Q    So out there in the world, if you have                    5 elsewhere in the United States acquire Maadi AK-47s in
        6 customers who come into Piasa Armory and they say I want an          6 semi-automatic form?
        7 AK-47, do you -- do you show them semi-automatic AK-47s?             7       A    I believe they can.
        8       A    We show them some variant of the AK that's                8       Q    What is a Norinco 56S?
        9 civilian legal, like the WASR-10, or direct them to                  9       A    A Norinco is a Chinese manufacturer that made
        10 Palmetto State Armory for their PAS AK-47.                          10 copies of the AK-47. The Norinco models that came to the
        11       Q   So a customer who would use AK-47 in that                 11 United States were semi-automatic.
        12 context who would refer to a semi-automatic, you would              12       Q    And you say came to the United States, are
        13 understand what they meant?                                         13 they still coming to the United States?
        14       A   I would, yes.                                             14       A    No.
        15       Q   The NHM-90, why is that -- why do you consider            15       Q    When did that stop?
        16 that to be something other than an AK-type firearm?                 16       A    To my knowledge, that was in the '90s, during
        17       A   Because it's not an AK-47.                                17 the changes to federal import laws.
        18       Q   Why not?                                                  18       Q    So of today, you're not aware of any Norinco
        19       A   That's not a -- not a Russian military issued             19 56Ss being legally imported into the United States?
        20 AK-model 47.                                                        20       A    To my knowledge, no.
        21       Q   What is it?                                               21       Q    And would that also apply to the 56S2?
        22       A   That's -- I -- I'm sorry. I don't recall what             22       A    Any Norinco product, to my knowledge.
        23 that specific one is manufactured -- who it's manufactured 23                Q    And it would also apply to the 84S?
        24 by. But it's just one of the other many civilian legal              24       A    Correct.
        25 varieties, copies of the AK-47.                                     25       Q    And the 86S from Norinco?

                                                                     Page 94                                                                 Page 96
        1        Q   So you would agree that NHM-90 is a civilian              1       A    Correct.
        2 legal variant of the AK-47?                                          2       Q    Why do you think the SKS is not properly
        3        A   A copy, yes. Not a -- Not a variant                       3 characterized as an AK-type?
        4 necessarily, but a derivative of.                                    4       A    Because it's an SKS and not an AK.
        5        Q   Would you also agree that the MAK-90 is a                 5       Q    What's different about the two firearms?
        6 civilian legal variant of the AK-47?                                 6       A    The entire operating system is different. The
        7        A   Possibly.                                                 7 AK uses a single piston. The SKS uses multiple. SKS uses
        8        Q   Is that a yes?                                            8 internal magazines, where the AK-47 uses detachable
        9        A   Yes.                                                      9 magazines.
        10       Q    Is the SA-85 a civilian legal variant of the             10       Q    Does the SKS use the same caliber of
        11 AK-47?                                                              11 ammunition as the AK-47?
        12       A    It could be.                                             12       A    It does.
        13       Q    Is that a yes?                                           13       Q    And does the SKS, was it created in the same
        14       A    Yes.                                                     14 country as the AK-47?
        15       Q    Is the SA-93 a civilian legal variant of the             15       A    Yes.
        16 AK-47?                                                              16       Q    And what country was that?
        17       A    A copy, yes.                                             17       A    Russia or the Soviet Union.
        18       Q    The VEPR. Is the VEPR a civilian legal                   18       Q    All right. I'm going to direct your attention
        19 variant of the AK-47?                                               19 back to the ISP guide. Directing your attention to
        20       A    A similar, yes.                                          20 Deposition Exhibit 10, pages 25 to 26.
        21       Q    And we mentioned the WASR-10. You agree that 21                       Do you see at the top of page 25, it says,
        22 that is a civilian legal variant of the AK-47?                      22 "Other AK-type rifles as designed -- as defined by the
        23       A    Correct.                                                 23 Protecting Illinois Communities Act."
        24       Q    How about the Maadi AK-47, what is that?                 24           Do you see that?
        25       A    The Maadi is an Egyptian copy of the AK-47,              25       A    Yes.


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                                                                         Scott Pulaski
                                                                         Page 97                                                                   Page 99
        1           Q    And the top of the page there, page 25, it                1        A    I would consider these to be copies of the
        2 says, "Palmetto State Armory -- Armory, PS AK-47 GF3."                   2 AK-type firearms with -- some with modernized features and
        3               Do you see that?                                           3 not holding true to the original design of the AK-47.
        4           A   Yes.                                                       4        Q    You would at least agree that all the firearms
        5           Q    You mentioned earlier that if a customer came             5 depicted on pages 25 to 26 of Deposition Exhibit 10 are
        6 in asking for an AK-47, you might direct them to Palmetto                6 copies of the AK in some degree?
        7 State Armory; is that right?                                             7        A    Some variance or derivative of.
        8           A   Correct.                                                   8        Q    That's a yes?
        9           Q    And is this one of the types of AK models that            9        A    Yes.
        10 you would direct them to?                                               10       Q     You can set that to the side for a second.
        11          A    Yes.                                                      11            (Deposition Exh bit No. 13 marked for
        12          Q    And is that because the PS AK-47 GF3 is a                 12 identification.)
        13 semi-automatic civilian version of the AK-47?                           13       Q     (By Mr. Wells) I'm handing you what's been
        14          A    That's a civilian copy of it, yes.                        14 marked as Deposition Exhibit 13, which I can represent to
        15          Q    And looking at the PS AK-47 GF3 at the top of             15 you is a printout of information from Palmetto State
        16 page 25, as far as you can tell, it's a semi-automatic                  16 Armory's website, and specifically, the web page relating
        17 rifle?                                                                  17 to the PS AK 47 G5 Forge classic rifle. Do you see that?
        18          A    It appears to be.                                         18       A    I do.
        19          Q    And it has a detachable magazine?                         19       Q     Do you recognize the firearm depicted on
        20          A    It does.                                                  20 page one of Deposition Exhibit 13?
        21          Q    Does it also have a pistol grip?                          21       A    This particular one, no, but the overall
        22          A    It does.                                                  22 design of Palmetto State Armory's AK pattern, AK style
        23          Q    Does it have a flash suppressor?                          23 derivative rifles, yes.
        24          A    It does not.                                              24       Q     Are you familiar with something called an AKP
        25          Q    Does it have an adjustable stock?                         25 from Palmetto State Armory?

                                                                         Page 98                                                                  Page 100
        1       A       This does not appear to be.                                1        A    I believe that refers to their AK-47 variant
        2       Q       But you would agree that the PS AK-47 GF3 is               2 pistols.
        3 properly called an AK-type firearm?                                      3        Q    What is an AK-47 variant pistol?
        4       A       I would call it a copy of the AK firearm.                  4        A    Those are firearms that were designed as a
        5       Q       Direct your attention to the next firearm down             5 handgun without a stock or with shorter barrels.
        6 the page, so the second from the top. The Century Arms VS                6        Q    What makes the AKP from Palmetto State Armory
        7 KA. Do you agree that that's an AK-type firearm?                         7 an AK-47 variant pistol?
        8       A       It's a -- again, a civilian copy of the AK.                8        A    The fact that it has no stock, was designed as
        9       Q       As far as you can tell, is it a semi-automatic             9 a handgun from the start, was not built from a rifle or a
        10 rifle?                                                                  10 full-size firearm, and has that shorter barrel on it.
        11          A   It appears to be.                                          11        Q    And those are the reasons why it would be
        12          Q   Does it have a detachable magazine?                        12 classified as a pistol; right?
        13          A   It does.                                                   13        A    Correct.
        14          Q   Does it have a pistol grip?                                14        Q    What are the reasons why the AKP from Palmetto
        15          A   It does.                                                   15 State Armory would be characterized as an AK?
        16          Q   Moving down to the Kalashnikov USAKR 103. Do               16        A    Because it's the -- shares all of the same
        17 you see that?                                                           17 characteristics as their PS AK-47 rifle, other than legal
        18          A   I do.                                                      18 requirements.
        19          Q   Would you disagree that the Kalashnikov USAKR              19        Q    So other characteristics would include things
        20 103 is an AK-type firearm?                                              20 like the same caliber as AK-47?
        21          A   It's a copy of them, yes.                                  21        A    Correct.
        22          Q   All right. I'd like you look at pages 25 and               22        Q    What else?
        23 26. And I would l ke you to tell me if there are any                    23        A    Same operating system, same magazines, similar
        24 firearms depicted here that you would not consider an                   24 pistol grips, trigger, and hammer -- fire control groups.
        25 AK-type firearm?                                                        25        Q    All right. Let's go back -- I diverted us,


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                                                                        Scott Pulaski
                                                                       Page 101                                                                 Page 103
        1 but back to Exh bit 13. I'm going to direct your attention              1            MR. MAAG: Of?
        2 to page three. The text in the middle of the page, the                  2            MR. WELLS: The same exhibit, Deposition
        3 kind of last text before --                                             3 Exh bit 13.
        4       A     Yes.                                                        4       Q     (By Mr. Wells) So do you understand what you
        5       Q      -- it stops.                                               5 see here to be comments from visitors to the website
        6             Do you see where it says, "As we are                        6 commenting on the Palmetto State Armory or PSA AK-47 GF 5?
        7 transitioning to Soviet arms, your receivers may be stamped             7       A     Yes.
        8 with our new AK Soviet arms logo on firearms manufactured               8       Q     Under another PSA winner, do you see where it
        9 after March 8th, 2023. This will not affect the quality or              9 says, "My first AK, and it is a beauty?" Do you see that?
        10 function of the firearm as they are the same AK receivers              10       A    I do.
        11 used for our AKs."                                                     11       Q    And do you understand what AK means in that
        12            You understand what Palmetto State Armory is                12 sentence?
        13 saying here when it says AKs; right?                                   13       A    As a member of the industry, yes. I can also
        14       A     I do. That's their model name.                             14 see from this that person's very new to the industry and
        15       Q     And their model name refers to civilian                    15 firearms as a whole it appears.
        16 variants of the AK-47?                                                 16       Q    Do -- do you believe -- In your experience at
        17       A     Civilian copies, yes.                                      17 Piasa Armory, do customers use the phrase AK as a reference
        18       Q     I keep saying variants, you keep saying                    18 to civilian versions of the AK-47?
        19 copies. Why -- why are you correcting --                               19       A    In general, our customer base tends to shorten
        20       A     A variant would be something like the AK-74 or             20 terms. So somebody may refer to an AK but mean an AK-47
        21 something that would be a light machine gun variant of the 21 copy or an AK-74 copy or a 12-gauge copy of the AK,
        22 traditional AK-47s. Something like a longer barrel where               22 referring to the Saiga shotguns or any other similar
        23 it would take a drum or a belt magazine or belt feeding                23 shotguns of that same cosmetically similar design.
        24 device, something that might be a precision rifle variant              24       Q    All right. Let's see. You mentioned that you
        25 of it. In the same way that a Toyota Camry has a variety               25 sometimes go to AR-15.com; is that right?

                                                                       Page 102                                                                 Page 104
        1 of model options, those are variants of that same base                  1        A     I do.
        2 model.                                                                  2        Q      And you sometimes review the -- what people
        3        Q     So, in your mind, copy is actually closer to               3 have posted there; is that right?
        4 the original?                                                           4        A     I do.
        5        A     Not necessarily. Copies can be -- They may                 5             (Deposition Exh bit No. 14 marked for
        6 make changes that are functionally or cosmetically                      6 identification.)
        7 different to modernize. Or like -- I believe this one was               7        Q      (By Mr. Wells) I'm marking Deposition
        8 trying to be as close to a classic AK-style, the wood                   8 Exhibit 14. Do you recognize this?
        9 furniture that's on the gun, that kind of darker color                  9        A     I recognize this as AR-15.com, yes.
        10 that's out there. So it's just trying to be a copy of the              10        Q     So these are screen shots from AR-15.com. You
        11 original but still be within the rules, regulations,                   11 can see the URLs at the top. And on the first page of
        12 civilian legal, but not necessarily a variant of the same              12 Deposition Exhibit 14, do you recognize this as the -- the
        13 gun.                                                                   13 main page of AR-15.com?
        14        Q     The look and feel of the original AK-47; is               14        A     It appears to be.
        15 that fair?                                                             15        Q     And do you see where it says discussion forums
        16        A     Match the style, yes.                                     16 and there's a drop down menu?
        17        Q     And capability; right? Aside from the                     17        A     I do.
        18 automatic capability and the, you know, select fire                    18        Q     And one of the discussion forums listed is
        19 capability, other than that, roughly the same?                         19 AK-47. Do you see that?
        20        A     Functionally in single fire, one shot at a                20        A     I do.
        21 time, semi-automatic mode, yes, they'd be very similar,                21        Q     And in your experience going to AR-15.com, do
        22 yes. And I believe that last paragraph on page three                   22 folks come to AR-15.com to participate in the discussion
        23 refers to a branding change, not a manufacturer change. 23 forums to talk about AK-47s?
        24        Q     All right. Let's just look at the same                    24        A     I would presume that they do. I tend to focus
        25 exhibit, page seven.                                                   25 more on the AR-15 side of the AR-15.com forums.

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                                                                         Scott Pulaski
                                                                        Page 105                                                                 Page 107
        1          Q   So if you were looking to answer a specific                 1 interchangeability. Direct your attention to your May 19
        2 question, as you said you sometimes do with AR-15.com,                   2 declaration, paragraph eight. This is Deposition
        3 about AKs and you came to this website, and you went to the              3 Exhibit 2.
        4 AK-47 forums, you would click on that discussion forum                   4             In paragraph eight, you wrote "That is it." I
        5 where it says AK-47; is that fair to say?                                5 assume you meant "that it is"; right?
        6          A   If I was looking for information on copies of               6        A     Yes.
        7 the AK, yes.                                                             7        Q     "So that it is objectively imposs ble to
        8          Q   So I'd like to direct your attention to the                 8 determine whether a given magazine, feed strip, or other
        9 last page of the exhibit.                                                9 ammunition feeding device is for a rifle, shotgun, handgun
        10         A    Okay.                                                      10 or something else simply by looking at the device."
        11         Q    And looking at the URL at the top, can you                 11            Is that your testimony?
        12 tell that this is from AR-15.com?                                       12       A     Correct.
        13         A    Yes.                                                       13       Q     Your concern is that if I handed you a
        14         Q    And it's specifically the AK-47 page from                  14 magazine by itself, and you had no other information to go
        15 AR-15.com?                                                              15 on other than looking at the magazine, you could not say
        16         A    Yes.                                                       16 whether the magazine was for a handgun or a rifle; is that
        17         Q    And here it says new AK products. Do you see               17 right?
        18 that?                                                                   18       A     It depends on the magazine, but possibly, yes.
        19         A    I do.                                                      19       Q     And that's the concern you're identifying in
        20         Q    You understand what that means; right?                     20 paragraph eight?
        21         A    I do, yes.                                                 21       A     Correct.
        22         Q    And AK discussions is the next topic. Do you               22       Q     If you were handed a magazine with no other
        23 see that?                                                               23 information, by looking at the magazine, are there things
        24         A    Yes.                                                       24 that you could tell about that particular magazine?
        25         Q    You understand what that means?                            25       A     I could assume that the caliber and make a

                                                                        Page 106                                                                 Page 108
        1          A   That appears to be discussions about anything               1 presumption of what model it was originally intended for.
        2 relevant to AK platform, copies, variants.                               2 However, many firearms share the same magazines both in
        3          Q   And -- and following that row over, do you see              3 pistol and rifle variants.
        4 it says topics 5,600 and -- I'm sorry, 56,970. Do you see                4       Q     So you would be able to look at a magazine
        5 that?                                                                    5 and -- and tell the caliber?
        6          A   I do.                                                       6       A     Potentially. But there are many calibers that
        7          Q   So would you agree that, at least as of the                 7 are very similar, and it's not a -- a guarantee for many --
        8 time of this screen shot, there were apparently 56,970                   8 a specific firearm or magazine.
        9 topics under the AK discussions label?                                   9       Q     Is it fair to say that you would be able to
        10         A   I would.                                                    10 look at a magazine that was just handed to you with no
        11         Q   Do you see where it says, replies right under               11 other information and have a rough sense of what cal ber
        12 topics?                                                                 12 would be used in that magazine?
        13         A   I do.                                                       13       A    Potentially, but again, it depends on the
        14         Q   And it says 632,806?                                        14 particular magazine.
        15         A   Yes.                                                        15       Q     Do you agree that not all magazines can be
        16         Q   So is -- Based on that, there appeared to have              16 used in all firearms?
        17 been 632,806 comments grouped under AK discussions; is that 17                   A    Yes.
        18 fair?                                                                   18       Q     For example, you can't use a Beretta M-92
        19         A   Yes.                                                        19 9-millimeter magazine in a 5.56 NATO caliber AR-15;
        20         Q   So based on that, do you think the average                  20 correct?
        21 person coming to AR-15.com to go to a discussion forum on               21       A    In an AR-15 chambered for 5.56, no. But you
        22 the AK would understand that AK discussions is a reference              22 can use a Beretta .92 magazine in an AR-15 that is
        23 to AK-47 type firearms?                                                 23 chambered for 9-millimeter.
        24         A   That would be reasonable, yes.                              24       Q     Right. But you'd have to know what cal ber of
        25         Q   Okay. Let's see. Let's talk about                           25 ammunition you're going to use in that AR-15; right?


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                                                                        Scott Pulaski
                                                                       Page 109                                                                Page 111
        1        A   You would.                                                   1        A   Correct.
        2        Q   If you had a 5.56 NATO AR-15 and you attempted               2        Q   So in that example, neither one of those
        3 to use 9-millimeter ammunition in it, what would happen?                3 firearms, if you had a Beretta M-92 9-millimeter, you
        4        A   Well, the firearm may not function, and if it                4 couldn't use it in those firearms you just -- you just
        5 did, it could cause damage or injury.                                   5 descr bed, you couldn't use that magazine?
        6        Q   What kind of damage or injury?                               6        A   Correct.
        7        A   The -- Well, when a -- when a bullet is shot,                7        Q   Do you agree that there's some calibers that
        8 it produces explosive gas, flame that -- and pressure. And              8 are more commonly used in rifles than in handguns?
        9 if that were to not be contained in the chamber of the                  9        A   Yes. However, that doesn't necessarily mean
        10 firearm, which wouldn't be possible with 9-millimeter going            10 that a caliber is exclusively for a handgun or a rifle.
        11 into a 223 or 556 firearm, then that would go into the path            11 For example, a 9-millimeter is a very common caliber in
        12 of least resistance.                                                   12 rifles and in handguns. .22 caliber, similar.
        13       Q    For two firearms to be able to use the same                 13       Q   6.5 Grendel, is that more common as a rifle or
        14 magazine, the firearms at least have to use the same                   14 handgun ammunition?
        15 caliber of ammunition; is that fair to say?                            15       A   We've seen both as -- from our customer base.
        16       A   No.                                                          16 A bolt pistol handgun variant AR-15, copy AR-15s, and rifle
        17       Q    Is it fair to say that the two firearms, if                 17 copy AR-15s.
        18 they're going to use the same magazine, have to share at               18       Q   Which would you say is more prevalent, rifles
        19 least one common caliber of ammunition that they use?                  19 that use 6.5 Grendel or handguns that use 6.5 Grendel?
        20       A   Not necessarily. Example again is the 556,                   20       A   In this particular area, handguns, just based
        21 223 and the 50 Beowulf, 458 SOCOM, 223, a 30-round magazine 21 on our geography and lack of available areas to use those
        22 only accommodates nine to 10 rounds of 50 Beowulf or 58                22 firearms.
        23 SOCOM.                                                                 23       Q   What about a 338 Lapua? Are you familiar with
        24       Q    So you're talking about the magazine. I'm                   24 any handgun that uses 338 Lapua ammunition?
        25 asking about the firearm.                                              25       A   I believe that a company has produced

                                                                       Page 110                                                                Page 112
        1        A   Okay.                                                        1 something that would be considered a handgun without a
        2        Q   So in order for one firearm chambered in a                   2 stock with a shorter barrel and only pistol grip.
        3 specific cal ber to have a magazine that can be used in                 3        Q   What kind of Walther again?
        4 another firearm chambered in a cal ber, there has to be at              4        A   It is a PPQ Q5 match.
        5 least one common caliber between those two firearms;                    5        Q   In your experience, is Walther a good firearm?
        6 correct? For the magazine to function?                                  6        A   A reputable brand and quality manufacturer,
        7        A   Well, if both fire -- I'm sorry. I guess I'm                 7 yes.
        8 not understanding clarity-wise. But if you have an AR-15                8        Q   And you, as a firearms expert or someone who
        9 that is chambered in 223 and an AR-15 that we chambered in              9 just knows a lot about firearms, in terms of picking a
        10 50 Beowulf or 58 SOCOM, those don't share the same caliber, 10 firearm that you're going to carry around with you to
        11 of course, but they do share the same magazine.                        11 defend yourself, you're going to choose carefully; right?
        12           And cosmetically, the magazine is no different               12       A     Yes.
        13 between the same firearms. You could use all of the                    13       Q     So the fact that you chose a Walther is an
        14 ammunition -- load that magazine with 223 or 556, fire it              14 affirmation in your mind that Walther is a quality brand;
        15 in that firearm that was chambered for 223 or 556. Use the             15 right?
        16 same exact magazine, load it with 50 Beowulf, 458 SOCOM,               16       A     In my mind, yes.
        17 the appropriate caliber for that second firearm, and then              17       Q     I'm going to hand you --
        18 fire with that same magazine with that lower capacity.                 18       A     Sixteen.
        19       Q    The weapons that you just described, are all                19       Q     -- what I'm going to mark as Deposition
        20 of those weapons assault weapons under PICA?                           20 Exhibit 16.
        21       A    Potentially, but not necessarily.                           21           (Deposition Exhibit No. 16 marked for
        22       Q    And you're talking about calibers and                       22 identification.)
        23 ammunition that can be used in magazines that will fit in              23       Q     (By Mr. Wells) Looking at Deposition
        24 rifles that can take large cal ber ammunition, like the                24 Exhibit 16, do you see the URL there at the top?
        25 Beowulf, for instance; right?                                          25       A     I do.


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                                                                       Scott Pulaski
                                                                      Page 113                                                               Page 115
        1       Q    Do you see that the URL says                                1        Q    What is the magazine capacity for the PDP full
        2 Waltherarms.com/PDP?                                                   2 size?
        3       A    I do.                                                       3        A    Eighteen rounds.
        4       Q    And I can represent to you that this is screen              4        Q    And the magazine there for the PDP of -- PDP
        5 shots from the Walther Arms page specifically about the                5 full size of 18 rounds, that's above the 15-round threshold
        6 PDP?                                                                   6 for PICA; right?
        7       A    Yes.                                                        7        A    It is.
        8       Q    And are you familiar with the PDP by Walther?               8        Q    So that magazine is not one that you could
        9       A    I am.                                                       9 sell consistent with PICA?
        10       Q    What is it?                                                10        A    Correct.
        11       A   It is a modern semi-automatic handgun, polymer              11        Q    But if a customer at Piasa Armory wanted a PDP
        12 based, striker fired with detachable magazines.                       12 full size, you could direct them to the 10-round item;
        13       Q    Do you see on the front of Exhibit 16 Walther              13 right?
        14 PDP was apparently awarded the guns and ammo 2021 handgun 14                    A    We could.
        15 of the year?                                                          15        Q    And the 10-round magazine would comply with
        16       A   Yes.                                                        16 PICA?
        17       Q    Do you think that was a well-deserved award?               17        A    It would.
        18       A   I -- Based on Walther's history and quality, I              18        Q    Just looking at the last page of this exhibit.
        19 would, yes.                                                           19 Walther sells 10-round magazines for the PDP; right?
        20       Q    All right. Let me direct your attention to                 20        A    For the full side and the compact, yes.
        21 the back of that page. So it's a double-sided copy.                   21        Q    All right.
        22       A   Yeah.                                                       22            (Deposition Exhibit No. 17 marked for
        23       Q    Do you see that there are three handguns                   23 identification.)
        24 depicted here --                                                      24        Q    (By Mr. Wells) This is No. 17. We talked
        25       A   I do.                                                       25 about the Shooter's Bible earlier. Do you recall that?

                                                                      Page 114                                                               Page 116
        1        Q   -- on page two of this exhibit? The handgun                 1        A    I do.
        2 depicted on the left, it's called a PDP compact. Do you                2        Q     So I am marking as Deposition Exhibit 17 --
        3 see that?                                                              3             MR. MAAG: Oh, I see how it is.
        4        A   I do.                                                       4        Q     (By Mr. Wells) I'm marking as Deposition
        5        Q    And under magazine capacity, what -- what's --             5 Exhibit 17 an excerpt of the Shooter's Bible 114th Edition.
        6 what's listed?                                                         6 I have a complete copy of it, but I'm -- I've just given
        7        A   It lists 15 rounds.                                         7 you excerpts, which are copied pages from this complete
        8        Q    What does that mean?                                       8 version.
        9        A   That means that the magazine that's included                9        A    Yes.
        10 with that firearm, that particular item number, is a                  10        Q    And you mentioned earlier that you keep copies
        11 15-round.                                                             11 of the Shooter's Bible for reference at Piasa Armory; is
        12       Q    And looking down further, do you see at the                12 that right?
        13 bottom it says 10-round item number? The same column.                 13        A    Typically, yes.
        14       A    I do.                                                      14        Q    So this 114th Edition, according to the
        15       Q    What do you understand 10-round item number to             15 copyright, is from 2022. And I'm going to direct your
        16 mean?                                                                 16 attention to page 153, directing your attention to the
        17       A    That to be 10-round magazine capacity variant.             17 bottom of the page, Heckler & Koch.
        18       Q    So looking at the Walther website, is it fair              18            Do you see three rifles laid out there that
        19 to say that a person interested in purchasing a PDP compact           19 are Heckler & Koch rifles?
        20 could purchase either a PDP compact with a factory magazine 20                  A    I do.
        21 of 15 rounds or a factory magazine of 10 rounds?                      21        Q    Are you familiar with the Heckler & Koch
        22       A    Yes.                                                       22 MR762A1?
        23       Q    And directing your attention to the next                   23        A    I am.
        24 firearm in the middle, PDP full size. Do you see that?                24        Q    And the Heckler & Koch MR762A1 is a rifle;
        25       A    I do.                                                      25 correct?

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                                                                        Scott Pulaski
                                                                       Page 117                                                                  Page 119
        1        A   It is.                                                       1       Q    When you're buying a magazine for a specific
        2        Q   And a rifle is a long gun?                                   2 handgun, it is possible to know how many rounds of
        3        A   It's typically referred to as, yes.                          3 ammunition of a particular caliber that magazine will hold?
        4        Q   And do you see on page 153 here, under                       4       A    It's possible to know how -- how many it was
        5 magazine, it says, detachable box, 10 rounds, 20 rounds, do             5 designed to hold, but designed does not always line up with
        6 you see that?                                                           6 how many it will actually hold. Magazines that begin to
        7        A   Yes.                                                         7 wear or were not designed properly can sometimes hold more
        8        Q   So I want you to imagine you had a customer                  8 or sometimes hold less, or errors in manufacturing can make
        9 who owned a version of this rifle, so the Heckler & Koch                9 them hold more or less.
        10 MR762A1, that they purchased before January 10th of 2023, 10                    Q   But generally speaking, what the manufacturer
        11 so before PICA took effect.                                            11 represents about the capacity of the magazine is what the
        12       A    Okay.                                                       12 magazine capacity is?
        13       Q    And this customer needs a replacement magazine              13       A   Magazines from reputable manufacturers, yes.
        14 for that rifle, for the MR762A1. Between the 10-round                  14       Q   And when you're buying a magazine for a
        15 magazine and the 20-round magazine, which of those                     15 specific handgun, it is possible to buy a magazine of 15
        16 magazines can you sell to that customer?                               16 rounds or less as long as the handgun manufacturer offers
        17       A    We would be required to only sell the 10-round              17 such a magazine for that handgun; correct?
        18 magazine.                                                              18       A   If the customer would like to purchase a
        19       Q    All right. I'm going to direct your attention               19 factory brand magazine, yes. But again, not every company
        20 to -- and -- I'm sorry. Before I leave that page,                      20 produces factory magazines of 15 or -- of 15 rounds for
        21 page 153, do you see on the -- the right-hand side how it              21 guns that are not designed for 15-round magazines.
        22 has rifles there?                                                      22       Q   And when you're buying a magazine for a
        23       A    I do.                                                       23 specific rifle, it is possible to know how many rounds of
        24       Q    And is it fair to say that the Shooter's Bible              24 ammunition of a particular cal ber that magazine will hold?
        25 groups firearms into categories like rifle, handgun and                25       A   Based on what the manufacturer of the magazine

                                                                       Page 118                                                                  Page 120
        1 shotgun?                                                                1 says. But again, other magazines can hold other calibers.
        2       A    Yes.                                                         2        Q   So there may be some variation, but generally
        3       Q    And that's because those are -- rifle, handgun               3 speaking, what the manufacturer represents about the
        4 and shotgun are pretty common types of firearms?                        4 magazine capacity for a particular rifle is going to be the
        5       A    Those are industry terms for the -- the                      5 magazine capacity?
        6 variety of things that are offered from various                         6        A   It depends on the rifle and the manufacturer.
        7 manufacturers, yes.                                                     7        Q   If it's a reputable manufacturer?
        8       Q    I'm going to direct your attention to page 363               8        A   It can be, but magazines like AR-15 magazines
        9 of this exhibit. I'm directing your attention to the upper              9 can be produced by reputable manufacturers but hold 30 of
        10 left-hand corner of the SP5. Do you see that?                          10 one round and five or 10 of another round.
        11       A   I do.                                                        11       Q    And in the examples you just gave of a
        12       Q   Do you see for the SP5, next to capacity, it                 12 magazine that can hold 30 of one round and five or 10 of
        13 says 10, 15, 30 rounds? Do you see that?                               13 another round, the five or 10 of another round would be a
        14       A   I do.                                                        14 much larger caliber; right?
        15       Q   Do you agree that the Heckler & Koch SP5 is a                15       A    Typically.
        16 handgun?                                                               16       Q    So when someone buys an AR-15, let's say it
        17       A   This variant of the SP5 is, yes.                             17 has a 15-round -- or let's say it has a 10-round magazine.
        18       Q   So I want you to imagine, again, a customer                  18 All right? So an AR-15, 10-round magazine, it may be a
        19 who owns a Heckler & Koch SP5 that they acquired prior to              19 10-round magazine for 5.56 NATO; is that right?
        20 January 10, 2023, when PICA took effect. They need to                  20       A    Correct.
        21 replace the magazine for the Heckler & Koch SP5. Which                 21       Q    But that same magazine for a larger caliber
        22 capacity magazine can you legally see to that customer?                22 may hold fewer than 10 rounds; correct?
        23       A   They would typically purchase that with a                    23       A    Correct.
        24 30-round magazine. We would be limited to selling them the 24                   Q    If -- If that same magazine is designed for an
        25 10 or 15-round magazine.                                               25 AR-15 that's chambered in 5.56 NATO, and the magazine


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        1 capacity is 10 rounds, can the magazine accept more than 10           1        A    Yes.
        2 rounds of a different cal ber of ammunition?                          2        Q    In preparing those declarations, did you get
        3       A      It depends on the overall size of the                    3 any information from Mr. Maag that you included in those
        4 magazine. For example, Magpul is the industry -- industry             4 declarations?
        5 standard for AR-15 magazines has a magazine that is                   5        A    Yes.
        6 designed for 10 rounds only, but shares the same form                 6        Q    What information specifically?
        7 factor as the 30-round magazine.                                      7        A    I didn't keep a list of specific information,
        8       Q      When you say form factor, what do you mean?              8 but this was a discussion back and forth through the
        9       A      The outside appearance.                                  9 entire -- through the entirety of both of these
        10         Q    And what is different about the inside of that          10 declarations.
        11 magazine?                                                            11       Q     And is information from an attorney in a
        12         A   The inside has either a block or is built with           12 lawsuit the type of information that firearms experts
        13 denial spaces to prevent that large capacity.                        13 typically rely on?
        14         Q    Why -- Do you have an understanding as to why           14       A     That depends on the attorney. This particular
        15 Magpul did that?                                                     15 attorney happens to also be a firearms expert with much
        16         A   They sold a lot to customers in California and           16 deeper encyclopedic-level knowledge than I have. He's
        17 other states with 10-round magazine capacity limits who              17 guided me toward a lot -- a lot more places to broaden my
        18 wanted to use other equipment standard to the AR-15                  18 knowledge.
        19 industry, things like magazine pouches and magazine                  19       Q     We ta ked earlier about AR-type rifles. Does
        20 couplers, but still retain that form factor of a 30-round            20 AR -- if -- If you use the term "AR-type," would that
        21 magazine.                                                            21 sometimes fairly include both the AR-15 and the AR-10?
        22         Q    So it's your understanding that Magpul                  22       A     In a layman's term, yes, but -- So somebody
        23 recognized that there was a 10-round magazine limit                  23 with lack of knowledge of the industry, lack of firearms
        24 applicable in California, and they designed the inside of            24 knowledge. Just in the same way that anyone says car, they
        25 the magazine that could be used for a 30-round AR-15 such            25 look at any car and say that's a car. But somebody that

                                                                     Page 122                                                                 Page 124
        1 that that magazine could only accept 10 rounds; is that               1 has more knowledge says, yes, that's a Toyota or a Honda.
        2 right?                                                                2 Similar ways -- analogous to differences between the AR-10
        3       A      Correct. They also sell limiting items. So               3 and the AR-15.
        4 something you could take the magazine apart, insert into              4             MR. WELLS: So subject to my reservation
        5 the magazine to prevent additional rounds from going into             5 rights earlier on about the scope of this deposition, my
        6 it.                                                                   6 motion for summary judgment, and reserving the right to
        7       Q      And if someone needed to replace AR-15                   7 potentially seek a second deposition, to the extent
        8 magazines in Illinois, could the manufacturer do the same             8 necessary, related to the other claims that aren't covered
        9 thing in Illinois for a 10-round limit?                               9 by the summary judgment motion, I don't have any further
        10         A   Potentially, but that would be up to the                 10 questions for you at this time.
        11 manufacturer and business decisions.                                 11            THE WITNESS: Okay.
        12         Q    And if a manufacturer did offer such a                  12            MR. MAAG: Like the last time, it would be
        13 magazine, you would be able to sell it under PICA; right?            13 quicker if we changed sides.
        14         A   We would.                                                14            MR. WELLS: Sure.
        15             MR. WELLS: Can we take a quick break real                15            MR. MAAG: We can go off while we're changing
        16 quick?                                                               16 sides.
        17             THE VIDEOGRAPHER: This is the videographer.              17            THE VIDEOGRAPHER: This is the videographer.
        18 We're going off the record. The time now is 4:56.                    18 We're going off the record. The time now is 5:05.
        19          (Whereupon, a short break was taken.)                       19           (Whereupon, a short break was taken.)
        20             THE VIDEOGRAPHER: This is the videographer.              20            THE VIDEOGRAPHER: This is the videographer.
        21 We're back on the record. The time now is 5:03.                      21 We're back on the record. The time now is 5:07.
        22         Q    (By Mr. Wells) Mr. Pulaski, we previously               22                   EXAMINATION
        23 looked at the two sworn written statements that you                  23 QUESTIONS BY MR. MAAG:
        24 prepared in this case as Deposition Exhibits 1 and 2. Do             24       Q     I'm handing you a magazine. Are there any
        25 you remember that?                                                   25 markings on that?


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        1              MR. WELLS: Tom, I'm just going to note,                 1        Q    All right. Are you able to discern whether
        2 again, my objection that I had before which is --                    2 that's a rifle, pistol or shotgun magazine?
        3              MR. MAAG: Same objection that you put on the            3        A    I can presume that it is not a shotgun
        4 record before, you can have a standing objection.                    4 magazine. However, there are shotgun rounds that could fit
        5              MR. WELLS: Right, but it's another -- it's              5 in this magazine.
        6 another witness, so I just want to be clear. These are               6        Q    Are you able to discern whether that's a rifle
        7 items that prior to today I personally had not seen. They            7 or pistol magazine?
        8 were not produced to us. I under -- understand your                  8        A    No.
        9 position on that, but I just want to note my objection to            9        Q    Set that aside and go to what you have
        10 the use of these particular items in this deposition as             10 identified as an M-14 magazine. You -- Are there any
        11 well.                                                               11 markings on that?
        12             MR. MAAG: All right. And for the record, I              12        A   No.
        13 didn't see all of your documents prior to today either, but         13        Q   You simply recognize that magazine?
        14 you're -- you're on the record.                                     14        A   I do.
        15             MR. WELLS: Right. And you didn't serve any              15        Q   All right. Is there any functional difference
        16 written discovery requests on us; right?                            16 for that -- for a rifle versus a pistol?
        17         Q    (By Mr. Maag) All right. You ready?                    17        A   No. They're all a box with a spring inside.
        18         A    Go ahead.                                              18        Q   Okay. I'll hand you another magazine. Do you
        19         Q    Generally, what is that that I've handed you? 19 recognize that magazine?
        20         A    That's a magazine that is made in Brazil, and 20      A It looks like something that was designed to
        21 it says 15 on the back of it.                                       21 fit an AR-10 or similar model.
        22         Q    All right. Is there any serial number or               22        Q   All right. Are there any markings on it?
        23 model marking on that?                                              23        A   There are not.
        24         A    There is not.                                          24        Q   All right. If I were to represent to you that
        25         Q    Do you recognize that, what that fits?                 25 that is a French Model 1949 magazine, would that help you

                                                                    Page 126                                                                  Page 128
        1        A     It would fit, based on a notch in the back of           1 in any way, shape or form?
        2 it, an older Beretta style pistol or rifle that takes older          2        A    Yes.
        3 style Beretta magazines.                                             3        Q    All right. Are you able to discern from your
        4        Q     Okay. Is that a rifle magazine? Pistol                  4 observations whether that's a rifle or pistol magazine?
        5 magazine? Or are you able to discern the difference?                 5        A    If I were to know that this was a French M-49
        6        A     Because it can fit both, I can't discern                6 magazine, I would know that it was for the M-49. However,
        7 whether it's one or the other.                                       7 those can be converted into pistols as well.
        8        Q     Okay. I'm handing you another magazine. Are             8        Q    I'm handing you a magazine. Do you recognize
        9 there any markings on that?                                          9 that magazine?
        10         A    I see none.                                            10        A    I do.
        11         Q    Do you recognize that magazine?                        11        Q    What is that?
        12         A    This looks like a magazine from a Mini-14              12        A    This is for an M-1 carbine.
        13 or -- I'm sorry, a M-14 or similar variant.                         13        Q    All right. And do you know about how many
        14         Q    I'm handing you a third magazine. Do you               14 rounds -- assuming that's a standard magazine for an M-1
        15 recognize that magazine?                                            15 carbine of that size, how many rounds that should hold?
        16         A    That one is definitely a magazine of M-14 or           16        A    It appears it should be 15.
        17 similar, M1A.                                                       17        Q    All right. And the M-1 carbine, is that a
        18         Q    All right. The first -- Or the second                  18 rifle, pistol or shotgun?
        19 magazine that you previously thought might have been an 19                    A    It is either a rifle or a pistol.
        20 M-14 variant, do you still think that's an M-14 variant?            20 Traditionally, for the military, it was a rifle. However,
        21         A    No.                                                    21 they were modified to become pistols and are currently
        22         Q    All right. Let's go back to the second                 22 produced as pistols also.
        23 magazine. Are you able to discern what that magazine is             23        Q    And who currently produces them as pistols?
        24 actually for now?                                                   24        A    Inland Manufacturing.
        25         A    No.                                                    25        Q    All right. Did anyone else previously


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        1 manufacture them as pistols?                                             1        A   I can.
        2       A       I'm sure that they have.                                   2        Q   Does it fit?
        3       Q       Okay. So that magazine could fit either a                  3        A   It does. It doesn't lock because there's --
        4 rifle or a pistol?                                                       4 the parts aren't there.
        5       A       Yes.                                                       5        Q   Right. It's nonfunctional because it's
        6       Q       All right. Could you legally sell that in                  6 disassembled and missing most of the parts; correct?
        7 Illinois?                                                                7        A   Right.
        8       A       If it were for a pistol, yes. If it were for               8        Q   All right. Is there -- Assuming that that
        9 a rifle, no.                                                             9 pistol was complete, does that appear that that magazine
        10       Q      If a customer came in and said I have an M-1               10 would function in that frame?
        11 carbine, can you order me a 15-round magazine for it, do                11       A    Yes.
        12 you have enough information to determine whether or not you 12                   Q    All right. And that frame is normally in a
        13 could legally sell that magazine?                                       13 pistol configuration?
        14       A      No.                                                        14       A    We've seen and sold them in both
        15       Q      If they told you that it was for a pistol,                 15 configurations, pistol and rifle.
        16 could you legally order and sell that magazine?                         16       Q    All right. What am I handing you now?
        17       A      If it was for a 15 -- If it was 15 rounds for              17       A    This is a pistol stock.
        18 a pistol, yes.                                                          18       Q    And if you could attach that. Assuming that
        19       Q      What if that person owned both an M-1 carbine              19 that was complete with a barrel, that same frame would now
        20 pistol and an M-1 rifle?                                                20 be what?
        21       A      I would have no way of discerning that from                21       A    It would be considered a short-barreled rifle.
        22 interaction at the counter.                                             22       Q    It'd be a rifle?
        23       Q      All right.                                                 23       A    Yes.
        24       A      But it would presume that they would not be                24       Q    All right. With the same magazine?
        25 allowed to use that in their rifle if they bought a                     25       A    With the same magazine.

                                                                        Page 130                                                              Page 132
        1 15-round magazine.                                                       1        Q   So mechanically, there is no difference
        2        Q       All right.                                                2 between that magazine as a rifle magazine and that magazine
        3        A       Thank you.                                                3 as a pistol magazine; correct?
        4        Q       Are there any markings on that magazine?                  4        A   Correct.
        5        A       It says "checkmate" on the bottom.                        5        Q   All right. I'm handing you another magazine.
        6        Q       All right. Do you recognize that magazine?                6 Are there any markings on that?
        7        A       I recognize it, and it says 45 ACP on the                 7        A   There are some numbers on the back of it.
        8 side. I recognize the basic design.                                      8        Q   What are the numbers?
        9        Q       What is the basic design?                                 9        A   It's A15981.
        10          A     That is for pistols that are of the 1911 style 10                 Q   All right. Do you recognize that magazine?
        11 or a variety of conversions that were rifle variants.                   11       A   It appears to be a 308 or 76239 variant of a
        12          Q     All right. What is the 1911 style?                       12 AK potentially. No, I take that back. No, I do not
        13          A     1911 is the U.S. military pistol adopted in              13 recognize this magazine. It's missing a part of the front.
        14 1911. It was standard until the late '70s, early '80s.                  14       Q   All right. Well, it's actually complete,
        15          Q     Okay. Are there rifles that use that                     15 but --
        16 magazine?                                                               16       A   Sorry. Complete for -- for the magazine, but
        17          A     Yes.                                                     17 not complete for what I thought it was.
        18          Q     Are there pistols that use that magazine?                18       Q   All right. Are you able to discern whether
        19          A     Yes.                                                     19 that is a rifle or a pistol or a shotgun magazine?
        20          Q     I'm handing you -- Well, what am I handing               20       A   No.
        21 you?                                                                    21       Q   All right. Let's see. Handing you another
        22          A     This is a frame for a 1911.                              22 magazine. Are there any markings on that?
        23          Q     Is that magazine compatible with that?                   23       A   There is Walther markings on it.
        24          A     It is.                                                   24       Q   What does it say specifically, if you can read
        25          Q     Can you insert it?                                       25 it?


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        1        A    It says Walther P-1 9-millimeter.                        1 compatible magazine.
        2        Q     Okay. Is that a rifle or a pistol magazine?             2        Q    All right. And I'm handing you a frame. What
        3        A    Unknown, but --                                          3 is that frame of, generally?
        4        Q     Were there both rifle and pistol variants of            4        A    This is a Glock.
        5 the Walther P-1?                                                     5        Q    All right. Do those magazines generally fit
        6        A    Yes.                                                     6 in that pistol frame?
        7        Q     In fact, did Ronald Reagan have a Walther P-1           7        A    Of this design, yes.
        8 carbine?                                                             8        Q    All right. And that would be a pistol frame
        9             MR. WELLS: Objection. Lack of personal                   9 then?
        10 knowledge.                                                          10        A     Typically, but can also be a rifle.
        11            MR. MAAG: It's on display at his presidential            11        Q     All right. I'm handing you a shoulder stock.
        12 museum.                                                             12 Does that attach to that pistol frame?
        13            MR. WELLS: That's my objection.                          13        A     Yes, it does.
        14        Q    (By Mr. Maag) You can answer.                           14        Q     Go ahead and attach it. Would then that make
        15        A    I have no personal knowledge of it.                     15 that a rifle?
        16        Q    All right. Then that's fine. What's that                16        A     If it were complete, yes.
        17 magazine?                                                           17        Q     With the same magazine?
        18        A    That looks like an older European magazine. 18                    A     Correct.
        19        Q    Are there any markings on it?                           19        Q     Is it fair to say there's no discernible
        20        A    There are none.                                         20 difference -- no discern ble difference that you can
        21        Q    Maybe on the base?                                      21 articulate or you can identify between a rifle magazine and
        22        A    It looks like a couple numbers. 66-4 or 4-99. 22 a pistol magazine?
        23        Q    Are you able to discern whether that's a rifle          23            MR. WELLS: Objection to form.
        24 or a pistol magazine?                                               24        Q     (By Mr. Maag) You can answer.
        25        A    No.                                                     25        A     Between these magazines, no.

                                                                    Page 134                                                                Page 136
        1        Q    All right. Handing you another magazine. Are             1       Q     The magazines that I have handed to you for
        2 there any markings on that?                                          2 examination, other than one -- other than the Glock and
        3        A    There are.                                               3 Magpul branded magazine for Glocks, are they the -- do they
        4        Q    What are the markings?                                   4 appear to be for the same firearms?
        5        A    It says M-88, M-100, 308 cal, 243 cal.                   5       A     Yes. These two particular magazines.
        6        Q    Are there any other markings on it?                      6       Q     Okay. The Glock and the Magpul are?
        7        A    It says Colyer clip on the side.                         7       A     Yes.
        8        Q    All right. Are you able to discern whether               8       Q     The other magazines, any of them, are they the
        9 that's a rifle, pistol or shotgun magazine?                          9 same as any of the other magazines that I have handed you?
        10       A     No.                                                     10       A    They don't appear to be.
        11       Q     And I'll hand you another magazine. Are there           11       Q    All right. So it's a wide variety of
        12 any markings on that?                                               12 magazines?
        13       A     This one is marked FN Manufactured, Inc,                13       A    Yes.
        14 Columbia, South Carolina, and a manufacturer code.                  14       Q    Okay. Do you recognize that?
        15       Q     All right. Are you able to discern whether              15       A    This appears to be the bolt and carrier from a
        16 that's a rifle, pistol or shotgun magazine?                         16 Saiga shotgun or similar variant or copy.
        17       A     No.                                                     17       Q    All right. Is that an AK-47 type?
        18       Q     Is it possible that that magazine will fit              18       A    It's a copy of the AK-47 of a 12-gauge variant
        19 both rifles, pistols or shotguns?                                   19 of the AK-47.
        20       A     Yes.                                                    20       Q    All right. And can you describe that for the
        21       Q     What type of magazine did I hand you there?             21 record? What does it look like?
        22       A     This is a Glock magazine.                               22       A    It is a rotating bolt inside of a large
        23       Q     All right. And is it similar to this other              23 metallic housing with a handle on the side and a piston on
        24 magazine that I gave you?                                           24 the front.
        25       A     Yes. This other one is a Magpul brand, Glock 25                  Q    All right. Is that what an AK-47 rifle or


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        1 pistol bolt and gas piston would look like other than the           1        Q     Okay. And the -- Does part of that stock on
        2 sizes?                                                              2 the front of it, if it was fully assembled, would that
        3             MR. WELLS: Objection to form.                           3 cover the barrel?
        4        Q     (By Mr. Maag) You can answer.                          4        A     It would.
        5        A    It's made -- It's modified to accept the                5        Q     And would that allow the non-firing hand to
        6 proper ammunition.                                                  6 prevent the firer from burning themselves while holding the
        7        Q     I understand there's dimensional differences,          7 firearm with the non-firing hand?
        8 but I mean, the general description.                                8        A     It would.
        9        A    Yes.                                                    9        Q     And is the M1 carbine a semi-automatic
        10        Q    All right. Is that the same -- Are you                 10 firearm?
        11 familiar with the gas and bolt system of the M1 Garand? 11                   A     Yes.
        12        A    Yes.                                                   12        Q     Does it accept a detachable magazine?
        13        Q    Is that the same general gas and bolt system           13        A     It does.
        14 of the M1 Garand?                                                  14        Q     Therefore, is it fair to say in its original
        15        A    Yes. The Garand uses a rotating bolt and a 15 configuration, the M1 carbine is prohibited under PICA?
        16 long piston.                                                       16             MR. WELLS: Objection. Calls for a legal
        17        Q    Is it fair to say that other than dimensional          17 conclusion.
        18 differences, there is no difference between the gas and            18        Q     (By Mr. Maag) You can answer.
        19 bolt system of a Garand and an AK-47 type firearm?                 19        A     Based on my experience and reading PICA, it
        20            MR. WELLS: Objection to form.                           20 does.
        21        Q    (By Ms. Helfrich) You can answer.                      21        Q     Is the M1 carbine in any way, shape or form an
        22        A    Very similar.                                          22 AR-type or AK-type firearm?
        23        Q    You were asked to read part of PICA. Do you            23        A     It is not.
        24 remember that?                                                     24        Q     If AK-47s or AR-15 type firearms were
        25        A    I do.                                                  25 converted to bolt action or pump action, under PICA could

                                                                   Page 138                                                                   Page 140
        1        Q    I believe it's Exhibit 9 that was given to              1 they be sold in Illinois?
        2 you?                                                                2            MR. WELLS: Objection. Calls for a legal
        3        A    Yes.                                                    3 conclusion.
        4        Q    And there was a features definition that I              4       Q     (By Mr. Maag) You can answer.
        5 think you were asked to read at one point; correct?                 5       A     Because of the definitions of PICA and machine
        6        A    Yes.                                                    6 gun parts -- Or pardon me. Definition of PICA and assault
        7        Q    Did that include a semi-automatic firearm that          7 weapon parts, that lower receiver on an AR-15 is considered
        8 could accept a detachable magazine and had a pistol grip?           8 an assault weapon or an assault weapon part.
        9        A    Yes.                                                    9       Q     Who says?
        10       Q     Are you familiar with that -- what I have              10       A    PICA.
        11 handed you?                                                        11       Q     And has the state police posted commentary to
        12       A     I am.                                                  12 that effect on their website?
        13       Q     What is that, generally?                               13       A    I believe in the questions and answers page
        14       A     In general, it's an M1 carbine rifle stock.            14 they got that.
        15       Q     Does it appear to be a standard M1 carbine             15       Q     So it is fair to say that a bolt-action rifle,
        16 rifle stock?                                                       16 based on the commentary of the state police on their
        17       A     It does.                                               17 website, that look too much like an AR-15 would be
        18       Q     The grip on that, what would you call that             18 prohibited under PICA?
        19 type of grip?                                                      19       A    Yes.
        20       A     The industry refers to it as a pistol grip.            20       Q     The same question --
        21       Q     Is that the same type of grip as on an AK-47           21            MR. WELLS: Where is that coming from?
        22 or an AR-15?                                                       22            MR. MAAG: Off your client's website.
        23       A     It's a similar shape and style.                        23            MR. WELLS: And do you have a copy of what
        24       Q     But it doesn't protrude below, does it?                24 you're talking about?
        25       A     Below the bottom of the stock, no.                     25            MR. MAAG: It's on your client's website.


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                                                                    Scott Pulaski
                                                                   Page 141                                                                   Page 143
        1             MR. WELLS: Have you produced a copy of --               1         A   Yes.
        2             MR. MAAG: Of your client's website? No, it's            2         Q    Does that look like an AK-type firearm?
        3 on your website.                                                    3         A   It does not based on the overall shape of it,
        4        Q     (By Mr. Maag) Same question for the AK-47.             4 no.
        5        A     It would be the same answer as an AR-15.               5         Q    If someone were to show that to you -- Strike
        6             MR. MAAG: I didn't write your client's                  6 that.
        7 website.                                                            7             If someone were to say you can't have an
        8             MR. WELLS: It's kind of hard to know what               8 AK-type firearm in Illinois, and you were asked about the
        9 you're talking about when I don't have something to look            9 Norinco 86S, visually would you think that that is an
        10 at, Tom. That's my objection.                                      10 AK-type firearm?
        11            MR. MAAG: Okay. Well, maybe your client will 11                   A    Only if I had intimate knowledge of the
        12 take it down after you talk to them.                               12 AK-style firearms.
        13        Q    (By Ms. Helfrich) You have Exhibit No. 17 in           13        Q    And on page 24 of Document 10, at the bottom
        14 front of you?                                                      14 there's reference to SKS with detachable magazine. Are
        15        A    I do.                                                  15 there any parts commonalities that you're aware of between
        16        Q    That's the Shooter's Bible cover page?                 16 the SKS, either with or without a detachable magazine, and
        17        A    Yes.                                                   17 anything that is arguably an AK variant or copy?
        18        Q    Are those firearms legal to sell in the State          18        A    The only part that would be potentially
        19 of Illinois?                                                       19 interchangeable would be a sling in a magazine, depending
        20        A    Not all of them.                                       20 on the detachable magazine conversion kit used.
        21        Q    Why not?                                               21        Q    If someone were to tell you that you could not
        22        A    The pistol pictured at the bottom has a                22 sell or possess an AK-type firearm in the State of Illinois
        23 threaded barrel and was banned by PICA.                            23 and then you were shown an SKS, would that trigger you in
        24        Q    Are you familiar with the Beretta AR-100?              24 your mind that you could not have that SKS?
        25        A    Yes.                                                   25        A    That would -- Well, no. The short answer, no.

                                                                   Page 142                                                                   Page 144
        1        Q    Is that an AR-type firearm?                             1         Q    On page 28 of Exhibit 10.
        2        A    Let me find the page, please.                           2             MR. WELLS: Sorry. I'm just trying to help.
        3        Q    Not asking if it's listed.                              3             MR. MAAG: That's okay. I'll wait for you.
        4        A    I'm sorry. No, it's not. It just shares a               4             MR. WELLS: Actually, you know, what, they are
        5 basic shape.                                                        5 right here. I'm sorry. Here we go.
        6        Q    Are you familiar with the Mauser c96 broom              6         Q    (By Mr. Maag) Page 28. You were asked about
        7 handle with fixed 20-round magazine?                                7 the ArmaLite M15 .22 LR carbine?
        8        A    I am.                                                   8         A    Yes.
        9        Q    What vintage is that?                                   9         Q    Does that even have a gas system?
        10       A     Pre 1900s.                                             10        A     No.
        11       Q     That's literally designed and made in the              11        Q     The gas system on a standard AR-15 is designed
        12 1800s?                                                             12 by Gene Stoner when he was at ArmaLite back in the '50s,
        13       A     Yes.                                                   13 does that have a gas system?
        14       Q     And is that listed on Exh bit No. 10, page 12,         14        A     The ArmaLite AR-15, yes.
        15 as being illegal in Illinois under PICA?                           15        Q     All right. We ta ked about the Beretta AR-70,
        16       A     Yes.                                                   16 the Bushmaster ACR. Is that in any way, shape or form an
        17       Q     You were asked about the Norinco 86S. Are you 17 AR variant?
        18 familiar with that particular firearm?                             18        A     No.
        19       A     Not having handled it a lot, but with the              19        Q     Why not?
        20 basic idea of it, yes.                                             20        A     It was designed from the ground up apart from
        21       Q     And Exhibit No. 10, page 23, there's a                 21 an AR-15.
        22 photograph of it?                                                  22        Q     All right. Is the gas system the same?
        23       A     Yes.                                                   23        A     No. It uses a piston instead of direct gas.
        24       Q     And is that what you recognize as a Norinco            24        Q     Is the stock the same?
        25 86S?                                                               25        A     No.


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                                                                       Scott Pulaski
                                                                      Page 145                                                               Page 147
        1         Q     The AR-15, does it have a detachable pistol              1       Q     Is the H&K 94 a rifle version of the SP5?
        2 grip?                                                                  2       A    It is.
        3         A     The AR-15 does.                                          3       Q     Do they use the same magazine?
        4         Q     Does the Bushmaster ACR have a detachable                4       A    They do.
        5 pistol grip?                                                           5       Q     Is it legal if you own both a rifle and a
        6         A     It does not.                                             6 pistol version of those firearms to purchase or possess a
        7         Q     Page 30, the Chiappa Firearm M4 rifles. Kind             7 15-round magazine?
        8 of looks like a US M4 carbine?                                         8       A    You would have to have the pistol variant.
        9         A     Yes.                                                     9 You would have to own the pistol variant to be legal.
        10        Q     Does it have a gas system?                               10       Q    All right. And then could you, as a dealer,
        11        A     It doesn't appear to.                                    11 sell the 15-round magazine to somebody that said I want a
        12        Q     Is it in any way, shape or form an AR-type               12 magazine for my H&K 94?
        13 firearm as you understand it?                                         13       A    No.
        14        A     Since they are type of a firearm with gas                14       Q    Now, the ban prohibits possession of and
        15 systems, no.                                                          15 transfer of the magazine; correct?
        16        Q     Page 32, the Heckler & Koch MR 556. Does that            16       A    Yes.
        17 have any direct gas impingement system like an AR-15?                 17       Q    It doesn't prohibit inserting a magazine into
        18        A     It uses a piston.                                        18 a given firearm, does it?
        19        Q     We ta ked about that already. We talked about            19       A    Presumably, no.
        20 that. The Ruger AR 556, does that have a gas impingement 20                    Q    So how would the owner of an H&K 94 and an SP5
        21 or gas piston?                                                        21 know that they were legal buying a 15-round magazine?
        22        A     AR 556 has a impingement gas.                            22       A    They would not.
        23        Q     Does Ruger make a gas piston version?                    23       Q    On page 48 of Document 10, it's got the
        24        A     I do. It's called the SR 556.                            24 Kel-Tec SUB2000. Do versions of that accept Glock
        25        Q     All right. So the Ruger SR 556 would be                  25 magazines?

                                                                      Page 146                                                               Page 148
        1 different than an AR-15 as designed by Gene Stoner because             1       A    Yes.
        2 it has a gas system and not a gas impingement system?                  2       Q    Do versions of that accept CZ 75 magazines?
        3       A     Yes.                                                       3       A    Yes, they do.
        4             MR. WELLS: What page are you on, Tom?                      4       Q    Is there a wide variety of otherwise, quote
        5             MR. MAAG: I'm not even looking at anything.                5 unquote, pistol magazines that the Kel-Tec SUB2000 will
        6 I'm just --                                                            6 accept?
        7             MR. WELLS: Riffing.                                        7            MR. WELLS: Object to form. Vague.
        8       Q       (By Mr. Maag) I'm trying to skip over stuff              8       Q    (By Mr. Maag) You can answer.
        9 you have already ta ked about because I don't want to be               9       A    The SUB2000 accepts at least six different
        10 here any more than you do. The Beretta cX 4 on page 43.               10 magazines.
        11        A     Yes.                                                     11       Q    Do you know which six offhand?
        12        Q     Does that take the same magazine as the                  12       A    Glock, Smith & Wesson, CZ, Kenik, Beretta, and
        13 Beretta .92 pistol?                                                   13 Springfield Armory and others, I believe.
        14        A     Yes.                                                     14       Q    All right. Are you familiar with the
        15        Q     Is that a rifle?                                         15 Smith & Wesson military and police pistol?
        16        A     It is.                                                   16       A    Yes.
        17        Q     You were asked about -- Let me follow it here.           17       Q    Are you aware of the carbine that
        18 In page -- In Document 17, page 363, about the Heckler &              18 Smith & Wesson came out with relatively recently, I guess
        19 Koch SP5 pistol.                                                      19 this year, that accepts military and police magazines?
        20        A     Yes.                                                     20       A    Yes, they are folding carbine.
        21        Q     In Document No. 10, page 47, it makes                    21       Q    Very good. That's an article in the American
        22 reference to the H&K 94?                                              22 Rifleman on it sometime this year. Are there rifle and
        23        A     Yes.                                                     23 pistol versions of the Uzi?
        24        Q     Are you familiar with those firearms?                    24       A    Yes.
        25        A     I am.                                                    25       Q    Are the magazines the same?


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                                                                           Scott Pulaski
                                                                          Page 149                                                                 Page 151
        1        A      They are.                                                    1 determine simply by looking at a standard Ruger Mini-14 or
        2        Q      Are there rifle and pistol versions of the                   2 a standard US M1 carbine whether that gun is legal under
        3 Ruger 10/22?                                                               3 PICA?
        4        A      There are.                                                   4             MR. WELLS: Objection. Form. Calls for a
        5        Q      Are the magazines the same?                                  5 legal conclusion.
        6        A      They are.                                                    6        A    It would be very difficult.
        7        Q      If someone were to just randomly hand you a                  7        Q     (By Mr. Maag) All right. What have I handed
        8 13-round magazine in a given caliber, pick the caliber, it                 8 you?
        9 really doesn't matter, and asked you whether or not that                   9        A    These are lower and upper receivers for
        10 magazine was legal in the State of Illinois, without                      10 different versions, copies of the AR-15 or AR 10.
        11 knowing more, could you answer that question under PICA? 11                         Q    All right. The one closest to you on your
        12          A    No.                                                         12 left, what is the manufacturer and model of that?
        13          Q    Why not?                                                    13        A    This is an Aero Precision M4 E1.
        14          A    Because pistol -- a pistol or rifle magazine                14        Q    Anywhere on that does it say AR in any way,
        15 could fit either potentially.                                             15 shape or form?
        16          Q    So it potentially could be legal if it was a                16        A    No.
        17 pistol magazine?                                                          17        Q    All right. Is that -- And feel free to look
        18          A    Yes.                                                        18 at the Exhibit 9, if you need to, to refresh your
        19          Q    Could potentially be illegal if it was a rifle              19 recollection. Is that fire -- Is that receiver listed on
        20 magazine?                                                                 20 the PICA banned list?
        21          A    Yes.                                                        21        A    The M4 E1 is not listed.
        22          Q    And there's no way discern the two?                         22        Q    Simply by looking at Exh bit No. 9, the PICA
        23          A    Not without having the individual firearms in               23 statute, is there any way for a person to discern whether
        24 front of you.                                                             24 that lower receiver is legal or illegal in Illinois?
        25          Q    And even if you have the individual firearms,               25        A    Because it is substantially similar, they

                                                                          Page 150                                                                 Page 152
        1 there could be rifle and pistol variants in both of those?                 1 could presume that it is a banned item.
        2        A      Correct.                                                     2        Q    But that would require them to know what an
        3        Q      Are you familiar with the Sturm, Ruger &                     3 AR-15 lower looked like?
        4 Company Mini-14 tactical rifle M-14-20CF?                                  4        A    Yes.
        5        A      Yes.                                                         5        Q    And if they didn't know what an AR-15 lower
        6        Q      Does Ruger make a version of the Mini-14                     6 looked l ke, would they be able to discern that?
        7 that -- Well, okay. Can you descr be the tactical rifle to                 7        A    Not without guidance potentially.
        8 me?                                                                        8        Q    And that receiver, in fact, is different than
        9        A      The tactical version has different color                     9 a standard AR-15 lower, is it not?
        10 furniture, different features on it that would be                         10        A    It is.
        11 considered banned by PICA, such as adjustable stocks or 11                          Q    How is it different?
        12 sometimes pistol grips.                                                   12        A    Things like the magazine well are opened up
        13          Q    Does Ruger also make a plain version in a                   13 larger. There's a trigger guard that is in place where a
        14 traditional wooden stock?                                                 14 standard AR-15 receiver uses an inserted pin and piece.
        15          A   They do.                                                     15 There's also additional holes drilled and pins used or
        16          Q    Would that be classified as a copy duplicate                16 screws used instead of pins in a few places.
        17 variant or altered facsimile of a Ruger Mini-14 tactical                  17        Q    Okay. So there are identifiable differences
        18 rifle?                                                                    18 between that receiver and an AR-15 receiver?
        19          A   It could be.                                                 19        A    Yes.
        20          Q    Thus, PICA could very well prohibit a standard              20        Q    All right. And set that one down. The one
        21 Ruger Mini-14?                                                            21 right above that, is that an AR-15 receiver?
        22          A   Yes.                                                         22        A    No.
        23              MR. WELLS: Object to form. Calls for a legal                 23        Q    Is that an AR-10 receiver?
        24 conclusion.                                                               24        A    It is not.
        25          Q    (By Mr. Maag) Is there any way for a person to              25        Q    Are you able to discern what that is?


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                                                                       Scott Pulaski
                                                                      Page 153                                                              Page 155
        1          A   It is a copy of an AR-15 receiver that would              1 John Carpenter from Escape from New York and took the
        2 accept only, it looks like, Glock magazines.                           2 handgrips off of it, would that then potentially be a legal
        3          Q   All right. And do you want to try it with a               3 firearm in the State of Illinois, aside from the fact
        4 Glock magazine or are you fairly certain it accepts Glock              4 whether or not it's covered by name as a copy or duplicate?
        5 magazines?                                                             5            MR. MAAG: Objection to form. Compound.
        6          A   I would presume on the shape and style of it              6 Legal conclusion.
        7 that it would, but I can.                                              7       Q    (By Mr. Maag) You can answer.
        8          Q   Okay. Simply by looking at that lower                     8       A    If it had -- If it was not meeting the
        9 receiver, is there any way, shape or form for a person of              9 features definitional ban, then potentially.
        10 ordinary intelligence to determine whether or not based on 10                  Q    Okay. Can you look at the next receiver in
        11 the statute in PICA whether that is a banned item?                    11 front of you? The next lower receiver. Does that say
        12             MR. WELLS: Objection to form. Calls for a                 12 AR-15, AR-10 or anything remotely similar to that on there?
        13 legal conclusion.                                                     13       A    It does not.
        14         Q    (By Mr. Maag) You can answer.                            14       Q    All right. And is that listed by make and
        15         A    This would be presuming that somebody had                15 model in the PICA banned list?
        16 familiarity with PICA and with the differences between 16                      A    No.
        17 AR-15s and 9 millimeter copies of AR-15s.                             17       Q    And what is the brand name on that?
        18         Q    So how would they determine that that would              18       A    Benbow City Sports.
        19 be -- would or would not be an AR-15 under PICA?                      19       Q    And what's the model?
        20         A    I don't know that they could easily.                     20       A    Model EE.
        21         Q    Can you think of any way you would do so,                21       Q    All right. And you have got an upper receiver
        22 simply --                                                             22 in front of you?
        23         A    No. I would say that it would be something               23       A    I do.
        24 that could be made into a rifle with banned features.                 24       Q    Does that fit that model EE?
        25         Q    All right. Aside from the fact you could                 25       A    It appears to.

                                                                      Page 154                                                              Page 156
        1 conceivably assemble it and do it right with banned                    1        Q    All right. Can you try it? Are you satisfied
        2 features, could you assemble it to a rifle without banned              2 that they match?
        3 features?                                                              3        A    Yes.
        4          A   Potentially, yes.                                         4        Q    All right. Can you try attaching the upper
        5          Q   Okay. Either of the next lowers, it doesn't               5 receiver on the Palmetto State Armory lower? And if you
        6 really matter which one. What is that one?                             6 need to remove those plastic ties, feel free. Is that a
        7          A   This is a Palmetto G3 E10.                                7 match?
        8          Q   Is that -- Does that say on there AR, AR-15,              8        A    It is not.
        9 AR-10, or anything like that?                                          9        Q    And why is that not a match?
        10         A   No.                                                       10       A     Because it's large gap in the back. While
        11         Q   Is that an AR-15?                                         11 they may potentially fit together, they wouldn't
        12         A   It is not.                                                12 necessarily safely function.
        13         Q   Is that by name banned under PICA?                        13       Q     All right. Is it fair to say one is not a
        14         A   I don't believe so. I would have to refer to              14 copy or a duplicate of the other, the lowers?
        15 the list.                                                             15       A     Yes.
        16         Q   All right. You don't recall seeing it on the              16       Q     And are you familiar with the original AR-10?
        17 list?                                                                 17       A     Fairly.
        18         A   I don't recall seeing the Palmetto G3 E10 on              18       Q     Was it semi-automatic, select fire or
        19 the list.                                                             19 otherwise?
        20         Q   Could that be assembled, assuming that it was             20       A     Select fire, if I recall.
        21 not banned by named item, into a legal firearm under PICA? 21                  Q     And where was it made?
        22         A   It could be assembled into a bolt-action                  22       A     It was in the U.S.
        23 firearm or a single-shot-only firearm.                                23       Q     Okay. Are you able to -- Are those receivers,
        24         Q   All right. If it didn't have pistol grips, a              24 any of those receivers in front of you, compatible with
        25 flash suppressor, sliding stock, and you took a queue from            25 that original AR-10?

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                                                                         Scott Pulaski
                                                                        Page 157                                                                Page 159
        1          A   Not without confirming that it would fit. I                 1         Q   When customers come to you to purchase a
        2 wouldn't be able to tell just from these parts. You can                  2 magazine, do they typically know what firearm they are
        3 see the original AR-10 parts together as well.                           3 purchasing the magazine for?
        4              MR. MAAG: Nothing further.                                  4         A   No.
        5              MR. WELLS: Switch, and I'll ask a few more.                 5         Q   They don't know at all?
        6                      EXAMINATION                                         6         A   We oftentimes I need a magazine as the only
        7 QUESTIONS BY MR. WELLS:                                                  7 statement from the customer. We ask them more clarifying
        8          Q    Mr. Pulaski, are any of these items that                   8 questions, and their answers are usually for a certain
        9 Mr. Maag showed you laid out here on the table, are any of               9 caliber. We have to work with them to find out what type
        10 them yours?                                                             10 of gun that is for.
        11         A    No.                                                        11        Q   But you engage in a follow-up conversation
        12         Q    Are any of them property of Piasa Armory?                  12 with your customers; is that right?
        13         A    No.                                                        13        A   Yes.
        14         Q    You were asked about a Beretta styled                      14        Q   And based on that conversation, you can direct
        15 magazine. Do you see it in here?                                        15 them to a particular product?
        16             MR. MAAG: It's in your hand.                                16        A   Yes.
        17         Q    (By Mr. Wells) Sorry. Got it. And you were                 17        Q   And is that how things happen in the real
        18 able to tell just by looking at that magazine that it's                 18 world at Piasa Armory? People come in and see something
        19 Beretta?                                                                19 and then you have conversations about them and then you
        20         A    Of that style, but it's not a Beretta branded              20 direct them to a particular product that they are looking
        21 magazine.                                                               21 for?
        22         Q    But it works in a Beretta pistol?                          22        A   Typically.
        23         A    I don't believe that it would.                             23        Q   Do you own an M1 carbine?
        24         Q    Why not?                                                   24        A   I do.
        25         A    That's a different brand.                                  25        Q   Is it a rifle or pistol?

                                                                        Page 158                                                                Page 160
        1          Q   What brand is it?                                           1         A   Mine is a rifle.
        2          A   I believe it's Taurus.                                      2         Q   If you were to replace the magazine for that
        3          Q   And you're able to tell that just from looking              3 M1 carbine, what round capacity would you purchase?
        4 at it?                                                                   4         A   Because it's a rifle, I would be required to
        5          A   Not from over there. No. I can't tell which                 5 do a 10-round magazine.
        6 brand that is. But Taurus and Beretta make similar                       6         Q   I think you were handed a 1911 frame. Do you
        7 magazines, but they don't necessarily fit each other.                    7 recall that?
        8          Q   So a Taurus magazine wouldn't necessarily work              8         A   Yes.
        9 in a Beretta?                                                            9         Q   And Mr. Maag had you attach the stock to the
        10         A    Potentially, but it may not lock into the                  10 1911. Do you recall that?
        11 firearm.                                                                11        A    Yes.
        12         Q    And you see it has a 15 marking on that?                   12        Q    And at that point you called it a rifle; is
        13         A    It does.                                                   13 that right?
        14         Q    What does that mean?                                       14        A    Yes.
        15         A    In the industry it typically means the                     15        Q    Why did you call it a rifle?
        16 capacity.                                                               16        A    Because that is how the ATF defines it. So
        17         Q    So you can tell by looking at this magazine                17 rifle or short-barreled rifle, presuming that's a complete
        18 what the capacity is for that firearm based on that                     18 firearm.
        19 marking?                                                                19        Q    You were asked various questions about the
        20         A    In my experience, typically.                               20 receivers that are in front of you.
        21         Q    You were asked questions about if someone just             21        A    Yes.
        22 handed you a magazine, you wouldn't necessarily be able to 22                     Q    And by looking at the shape of the receiver,
        23 tell whether it was for a rifle or pistol. Do you recall                23 for something you were able to determine what type of
        24 that?                                                                   24 caliber that the receiver would be suited for; is that
        25         A    Yes.                                                       25 right?


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                                                                    Scott Pulaski
                                                                  Page 161                                                                Page 163
        1        A   Potentially.                                            1 through 2022, that's 5,000?
        2        Q   Is that a yes?                                          2       A    Approximately.
        3        A   There's a variety of calibers that each                 3       Q     You were asked about the Norinco 86S. Do you
        4 receiver is suited for.                                            4 recall that?
        5        Q   So, for instance, you were asked about, I               5       A    Yes.
        6 believe, a lower receiver that would accept Glock                  6       Q     And the Norinco 86S looks like an AK?
        7 magazines; is that right?                                          7       A    The receiver looks like an AK, but the rest of
        8        A   Yes.                                                    8 the firearm looks nothing like an AK.
        9        Q   And you were able to identify just by looking           9       Q     You were asked about a receiver that had an M4
        10 at the receiver that it was likely to use Glock magazines;        10 marking on it. Do you remember that?
        11 is that right?                                                    11       A    Yes.
        12       A    Yes.                                                   12       Q    There's something called an M4 carbine; right?
        13       Q    With no other information other than just              13       A    There is.
        14 looking at the receiver itself?                                   14       Q    And an M4 carbine is a carbine that's derived
        15       A    Based on the shape of the magazine well and 15 from the M-16; right?
        16 the angle that it's in.                                           16       A    Yes.
        17       Q    You were asked about the M1 Garand and a gas 17                 Q    And the M-16 is derived from the AR-15?
        18 and bolt system that it used?                                     18       A    Yes.
        19       A    Yes.                                                   19       Q    So the M4 carbine -- In some instances, an M4
        20       Q    The M1 Garand predates the AK-47 by a long             20 carbine can be an AR-15 style rifle; right?
        21 time; right?                                                      21       A    M4 carbine is specifically marked on the
        22       A    Yes.                                                   22 firearm. Colt, for example, uses that as a brand name or a
        23       Q    You mentioned the Beretta AR-100. Do you               23 frontline name and their receivers are marked M4 carbine.
        24 remember that?                                                    24       Q    And that's an AR-15 style rifle?
        25       A    I do.                                                  25       A    It's a variant of the AR-15.

                                                                  Page 162                                                                Page 164
        1        Q   And you would agree that the AR-100 shares a            1       Q     You were asked about the H&K MR 566. Do you
        2 basic shape with AR-15 style rifles?                               2 recall that?
        3        A   Basic outline.                                          3       A    Yes.
        4        Q   So, yes, a basic outline?                               4       Q     And the 556 there refers to 556 caliber
        5        A   Yes.                                                    5 ammunition?
        6        Q   You were asked about a broom handle --                  6       A    Typically.
        7        A   Uh-huh (yes).                                           7       Q     And that 556 caliber ammunition is a common
        8        Q   -- pistol, do you recall that?                          8 type of ammunition for an AR-15?
        9        A   I do.                                                   9       A    It is.
        10       Q    Do you own a broom handle pistol?                      10       Q    I think you were also asked about the Kel-Tec
        11       A    I do.                                                  11 SUB2000 Gen2. Do you recall that?
        12       Q    Prior to PICA taking effect, did you sell              12       A    I didn't. It's a generation, but yes.
        13 broom handle pistols at Piasa Armory?                             13       Q    And is the Kel-Tec SUB2000 a pistol caliber
        14       A    Occasionally, yes. I bought mine from our              14 carbine?
        15 company.                                                          15       A    It is a -- the Kel-Tec refers to it as
        16       Q    How many have you sold?                                16 typically, yes.
        17       A    I believe we have had about six come through 17                 Q    What is a pistol caliber carbine?
        18 over the years.                                                   18       A    Usually pistol caliber carbines are rifle
        19       Q    And that's since 2012 you sold six of that?            19 length firearms, so 16-inch barrel or greater, that uses a
        20       A    Yes.                                                   20 traditionally pistol caliber round.
        21       Q    How many AR-15s have you sold since 2012?              21       Q    The Beretta CX4 Storm, is that also a pistol
        22       A    Many more than six.                                    22 caliber carbine?
        23       Q    How many? Just give me your best estimate.             23       A    It is.
        24       A    Approximately 400 to 500 a year.                       24       Q    I think you were handed a receiver as well and
        25       Q    So since 2012, 500 times 10, just going                25 you were asked about whether the receiver could be combined


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                                                                         Scott Pulaski
                                                                        Page 165                                                                 Page 167
        1 with different parts to make it into an assault weapon as                1        A      Yes.
        2 defined under PICA. Do you recall that?                                  2        Q      You mentioned when you combined a lower
        3         A    Yes.                                                        3 receiver and an upper receiver, one of which was from
        4         Q    The receiver itself, in order for someone to                4 Palmetto, do you recall that?
        5 combine it with other parts to bring it within the                       5        A      Yes.
        6 definition of PICA, that person would have to know about                 6        Q      And they didn't exactly line up; is that
        7 the particular parts that they are assembling; right?                    7 right?
        8         A    The receiver itself is a banned part, because               8        A      Yes.
        9 it's a part that be used to assemble an assault weapon.                  9        Q      And if a person were to combine those, the
        10         Q    Maybe I'm misremembering what you were talking 10 lower receiver and the upper receiver, you said it wouldn't
        11 about earlier, but you were specifically testifying about a             11 safely function; is that right?
        12 receiver that could be used for a pistol that would not be              12         A    Correct.
        13 covered by PICA. Do you recall that?                                    13         Q    What did you mean?
        14         A    Right.                                                     14         A    The firearm may not function properly. It
        15         Q    And that same receiver could also be used and              15 may -- Because there's an opening in the back, they could
        16 combined with other parts to become a receiver for a rifle              16 have a pinch or safety point that they could get an
        17 with certain features that would bring it into PICA; right?             17 extremity into.
        18         A    Potentially.                                               18             MR. WELLS: Subject to my prior objections, I
        19         Q    So a person designing that, they would have to             19 don't have anything further at this time.
        20 know how to put the different parts together; right?                    20             MR. MAAG: You have the option to read this
        21         A    They would.                                                21 transcript looking for typographical errors. You cannot
        22         Q    And they would have to specifically choose                 22 change an answer, except for correcting a typographical
        23 particular parts to combine with that receiver?                         23 error. You don't have to read it. You can waive
        24         A    Yes.                                                       24 signature. But it's up to you. I have no preference.
        25         Q    And in the course of doing that, they would                25             THE WITNESS: What's the standard for such?

                                                                        Page 166                                                                 Page 168
        1 make choices about whether to combine specific parts to                  1              MR. MAAG: It's whatever the witness wants to
        2 reach a certain desired firearm at the end of the day;                   2 do.
        3 right?                                                                   3              THE WITNESS: I trust the court reporter.
        4       A      Yes.                                                        4              MR. MAAG: So you waive?
        5       Q      You were showed a couple of receivers and you               5              THE WITNESS: I'll waive.
        6 described them as standard AR-15 lowers. Do you recall                   6              MR. MAAG: Okay. Thank you.
        7 that?                                                                    7              THE VIDEOGRAPHER: This ends the
        8         A    I don't recall that.                                        8 video-recorded deposition of Scott Pulaski. We are going
        9         Q    I believe Mr. Maag may have used the phrase                 9 off the record. The time now is 6:04.
        10 standard AR-15 lowers. Are you familiar with that                       10
        11 terminology?                                                            11           SIGNATURE WAIVED, BY AGREEMENT OF COUNSEL
        12         A   I am.                                                       12 AND WITNESS.
        13         Q   What is a standard AR-15 lower?                             13
        14         A   A standard AR-15 lower looks similar to this                14         (Deposition was adjourned at 6:05 p.m.)
        15 on the outside, but is different on the internal dimensions 15
        16 and magazine.                                                           16
        17         Q   Okay. Is there a standard AR-15 lower in                    17
        18 front of you on the table?                                              18
        19         A   No.                                                         19
        20         Q   But when Mr. Maag was using the term standard               20
        21 AR-15 lower, you understood what he meant?                              21
        22         A   I did.                                                      22
        23         Q   And the "this" that you were just pointing to,              23
        24 when you said it looks like this, that was the lower                    24
        25 receiver that uses Glock magazines; is that right?                      25


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                                                                    Scott Pulaski
                                                                   Page 169
         1                    CERTIFICATE OF REPORTER

         2

         3             I, Jamie Jo Kinder, CCR No. 842, CSR No.

         4   084.003306, do hereby certify that the witness whose

         5   testimony appears in the foregoing deposition was duly

         6   sworn by me; that the testimony of said witness was taken

         7   by me to the best of my ability and thereafter reduced to

         8   typewriting under my direction; that I am neither counsel

         9   for, related to, nor employed by any of the parties to the

        10   action in which this deposition was taken, and further that

        11   I am not a relative or employee of any attorney or counsel

        12   employed by the parties thereto, nor financially or

        13   otherwise interested in the outcome of the action.

        14

        15                              __________________________

        16                              Certified Shorthand Reporter

        17

        18

        19

        20

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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                                                                  Scott Pulaski




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                          Exhibit B-1
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   /   Case 3:23-cv-00192-SPM Document 6-1 Filed 01/24/23 Page 1 of 6 Page ID #142



                                          IN THE CIRCUIT COURT
                                       CRAWFORD COUNTY, ILLINOIS
                                                                                                    I
                                                                                                    ~   DEPOSITION
                                                                                                          E. :HIBIT


       JEREMY W. LANGLEY,                                      )
       TIMOTHY B. JONES and                                    )
       MATTHEW WILSON,                                         )
                                                               )
       "·                                                      )
                                                               )
                                                                       Case No.

       BRENDAN KELLY, in his official                          )
       capacity as Director of the Illinois                    )
       State Police, and COLE PRICE SHANER,                    )
       in his official capacity as States Attorney of          )
       Crawford County, Illinois,                              )
                                                               )
                Defendants.                                    )


                                       AFFIDAVIT OF SCOTT PULASKI

                Comes now Scott Pulask.i , being first sworn, and under penalties o f perjury, statt:s as

       follows:


            1. My name is Scott Pulaski. I am an owner of Piasa Armory, location in Alton, Ulinois.

            2. Piasa Annory is a Type 07 FFL which is a firearm manufacturing and dealing license

               issued by the federal government. In addition, Piasa Armory holds a Class JI Special

               Occupational Taxpayer endorsement, entitling it to manufacture most firearms regulated

               under the federal National Fireaims Act. In addition, Piasa Am1ory is registered with the

               Illinois State police as a fuearrns dealer.

            3. I am personally familiar with firearms, both historical and modem. as well as firearn1s

               regulations, both in Illinois and nationally, on account lhat ATF, the federally agenc) that

               licenses my business, makes me comply with all such laws, and provides me a

               publication listing the current ones.
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 76 of 256 Page ID #3996
    Case 3:23-cv-00192-SPM Document 6-1 Filed 01/24/23 Page 2 of 6 Page ID #143 •




       4. In addition to being a fireanns dealer, Piasa Armory and myself teach Illinois State Police

          certified concealed carry classes, both new and renewal.

       5. I am also familiar with what is popular for sale and purchase with Illinois residents and

          citizens.

       6. I am aware that this case was filed to challenge purported Public Act 102-1116,

          commonly called an gun and magazine ban.

       7. I am aware that the Public Act purports to ban general possession and most transfers of

          magazines that hold over 10 rounds, for rifles and shotguns, and over 15 rounds for

          pistols.

       8. That there is no realistic way to determine that a given firearm magazines is for a pistol,

          or for a rifle, as many rifles and pistols use the exact same magazine. For instance, many

          Kel-Tec 9mm rifles use Glock or Beretta magazines, which are often used in Glock and

          Beretta pistols, respectively. Likewise, many pistols use magazines originally used in

          rifles. In fact, even as a "firearms expert", I cannot discern a "rifle magazine" from a

          "pistol magazine" simply by looking at it.

       9. In addition, the Public Act purports to require owners to register their subject firearms.

          Almost no states have fireann registration, it previously existed only briefly in Illinois,

          about 50 years ago, and was repealed because nobody complied with it. In the pre-20th

          Century era, I am unaware of any regulation on fireanns analogous to registration.

       10. In addition, the Public Act purports to ban revolving shotguns. These have existed since

           at least 1855, when Colt manufactured such items before the Civil War. Taurus sells

           such a firearm, which is commonly sold throughout the United States.
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   .,   Case 3:23-cv-00192-SPM        Document 6-1 Filed 01/24/23 Page 3 of 6 Page ID #144




          11. In addition, the ban outlaws shotguns with either pistol grips or detachable magazines.

              These shotguns are very popular and commonly owned, both for sporting and defense

              pwposes.

          12. In addition, the ban outlaws pistols with threaded barrels, magazines outside of the grip,

              large pistols, and the like. Again, these pistols are commonly owned and popular for

              sports and defense. In fact, pistols like these are used in the Olympic target shooting

             competition.

          13. In addition, the ban outlaws common semi automatic rifles, like the AR-15, the

             Springfield MIA, and actually even the standard SKS and Ml Garand.

          14. Both the standard Soviet SKS, as well as Chinese, Yugoslavian and Romanian SKS rifles

             can be, and many have been, converted to detachable magazine, and have a barrel shroud

             that can be held by the non firing hand.

          15. Likewise, the Ml Garand can be, and has been, converted to detachable magazine

             configuration, with John Garand himself making such conversions to accept BAR

             magazines, and the Italian companies Beretta and Breda both making them into

             detachable magazine BM59 rifles. The MI also has a wood barrel shroud.

          16. In fact, nearly any semi automatic, bolt action, or lever action rifle can be converted into

             a detachable magazine semi automatic. In fact, John Browning's first machinegun, was a

             conversion of a Winchester Model 1892 lever action rifle into a machinegun.

          17. The ban also includes the Colt ARIS, and various other listed firearms, by make and

             model, along with "copycats". Other than by make and model marking, it is impossible

             for anyone to discern, objectively, whether a firearm is such a copycat, and no guidance

             is provided as to how much difference is required. For instance, the Colt AR15 used a
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    Case 3:23-cv-00192-SPM Document 6-1 Filed 01/24/23 Page 4 of 6 Page ID #145 •



          different size threaded front take down pin hole than most similar firearms. Some have

          solid trigger groups, some do not. Some have threaded pin holes, some use coil pins.

          Some accept drop in trigger groups, some do not. There are at least two sizes of trigger

          parts that might arguably fit into such rifles. Ml Carbine trigger groups are mechanically

          similar to Colt ARIS groups. The copycat ban is so vague that not even experts can

          discern what is a copycat.

       18. The simple fact of the matter is, the very semi automatic firearms listed in the ban, are the

          either the most popular firearms in the United States, with literally tens of millions sold in

          the past few years, or simply, such as is the case with the Beretta 93 listed, not even a

          semi-automatic, rather, it is a machinegun version of the common Beretta 92 pistol.

          Likewise, while cosmetically similar semi auto only models were made, with different

          model numbers, the ARIO, as originally manufactured, is also a machinegun, as is and

          was the Beretta AR70, the Steyr AUG and the FN FAL The entire ban is arbitrary and

          obviously written by people with no knowledge of firearms.

       19. In addition, as to the ban on over 10 or over 15 round magazines, both are simply not in

          compliance with what is actually popular and on the market. Since the Glock 17 of 1980,

          over 15 round magazines for pistols are common and the most popular. Those with less

          than 15 rounds are generally historical and obsolete, with most, like the Walther P38,

          actually out of production.

       20. As to rifle magazines, since 1941, when the U.S. Military adopted the Ml Carbine, fist 15

          round, and later in 1944, 30 round magazines were standard. In 1957, with the adoption

          of the M14, in the U.S., and the FN FAL in most western nations, 20 round magazines

           were standard for those rifles, as well as their U.S. commercially sold versions. The Ml6
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                was designed in the late 1950s with a 20 round magazine, and sold commercially, in semi

                auto, in 1964 with a 20 round standard magazine. By the 1970s, 30 round magazines had

                become standard. Today, 28 to 35 round magazine are standard for self defense and

                target shooting rifles, for most semi automatic rifles sold in the U.S. today, nationwide, as

                well as the State of Illinois.

        26.     As to the .50 BMG, it is also a commonly owned fireann and ammunition. It is

        commonly used for long range target shooting, with the ammunition being sold on the market

        since at least the 1920s, and firearms commonly available since at least the 1980s. Many long

        range records are held by .50 BMG sporting rifles.

        27.     Rifles, with bore diameters of well over .50 inches have been commonly owned since

        will before the American Revolution. In fact, the standard British Brown Bess bore diameter

        during the American Revolution was .75 inches, of half again larger than the .50 BMG. .69

        caliber firearms were commonly held and used after the Revolution by Americans, with .577

        rifles standard from 185 5 to about 1872.

        28.    That the ban has made it impossible for me, and other licensed dealers, to sell or transfer

        to Illinois residents, what has been the most popular firearms and magazines in Illinois and the

        U.S. previously.

        29.    In fact, due to various vague terms in the ban, many wholesalers are refusing to even ship

        replacement parts to Illinois addresses.

        30.    In this ban is allowed to stand, the average Illinoisan will be limited to firearms designed

        in the 1890s and earlier, instead of modem firearms.

        Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the

        undersigned certifies that the statements set forth in this instrument are true and correct, except
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    Case 3:23-cv-00192-SPM Document 6-1 Filed 01/24/23 Page 6 of 6 Page ID #147 •



    as to matters therein stated to be on information and belief and as to such matters the

    undersigned certifies as aforesaid that he verily believ

    Dated: OJ/J1j73
              j
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                          Exhibit B-2
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    Case 3:23-cv-00209-SPM Document 111-12 Filed 05/19/23 Page 1 of 7 Page ID #3470

                                                                        ~   DEPOSITION
                                                                        1 E IBIT
                         IN THE UNITED STATES DISTRICT COURT   !    ~
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS ~1_ _ _,_ _.,,,

         CALEB BARNETT, et al.,                  )
                                                 )
               Plaintiffs,                       )
                                                 )
         vs.                                     )    Case No. 3:23-cv-209-SPM
                                                 )
         KWAME RAOUL, et al.,                    )
                                                 )
               Defendants.                       )


         DANE HARREL, et al.,                   )
                                                )
               Plaintiffs,                      )
                                                )
         vs.                                    )     Case No. 3:23-cv-141-SPM
                                                )
         KWAME RAOUL, et al.,                   )
                                                )
               Defendants.                      )
                                               -----------------
         JEREMYW. LANGLEY, et al.,              )
                                                )
               Plaintiffs,                      )
                                                )
        vs.                                     )     Case No. 3:23-cv-192-SPM
                                                )
        BRENDAN KELLY, et al.,                  )
                                                )
               Defendants.                      )



                                                                    EXHIBIT
                                                                I ,__
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                             STATEMENT PURSUATNT TO 28 USC 1746

       1. My name is Scott Pulaski, I am over 21 years of age, under no legal disabilities, and

          make this sworn statement either under personal knowledge, or for historical matters,

          based upon my knowledge, training and education on the subject, including books relied

          on by others in the field that are accepted as authoritative.

       2. I am an owner of a firearms store, licensed by both the State of Illinois, and the BATF,

          with a Type 07 Federal Firearms License and a Class II SOT, allowing me to deal in and

          manufacture firearms, including those regulated under the National Firearms Act. I have

          been in this business many years, and operate what is likely the largest such store in

          Madison County.

       3. I have studied firearms most of my life.

       4. I have also collected, shot and studied firearms for years before owning a firearms dealer.

       5. I have taught many firearms related classes, including teaching firearm self defense and

          concealed carry.

       6. I am familiar with firearms generally, as well as the following models and kinds of

          firearms, as well as the magazines or other ammunition feeding devices they use:

                  A. Beretta M 9 Pistol, and

                  B. Beretta CX4 Storm rifle, and

                  C. Remington Model 870, including the DM variant and the Tacl4 variant, and

                  D. The SovietAK47,

                  E. The SKS rifle, including those with detachable magazines,

                  F. The Walther K43, also known as the 043,

                  G. The U.S. military issue M16 series,



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                   H. The Colt AR 15 series

                   I.   The Check vz52 and vx58,

                   J. The m I Garand,

                   K. The Beretta BM59,

                   L. The Browning Model 1919 series, including semiautomatic copies,

                   M. The Japanese Type 3 machinegun

                   N. Ml and M2 carbine.

                   0. theAR7

                   P. the ARI 7 and

                   Q. theAR24

        7. I am also familiar with a brand of Vodka sold under the AK47 name, usually in a glass

           container more of less in the shape of an AK4 7 rifle.

        8. That is it objectively impossible to determine whether a given magazine, feed strip, or

           other ammunition feeding device is for a rifle, shotgun, handgun or something else,

           simply by looking at the device.

        9. For instance, the magazine for a Beretta M9 pistol is identical and interchangeable with

           that of the Beretta CX4 rifle. Likewise, many rifles use Glock pistol magazines,

           including the Kel-Tec, and Ruger sells rifles that use the same magazines as Glock pistol

           and Ruger pistols. A magazine that fits an ARI 5 or AK.47 rifle will also fit a pistol of

           similar design, as well as firearms not classified as rifle, shotgun or pistol, such as the

           federal AOW category or other category.

        I 0. The Remington 870 DM shotgun uses the same magazine as the non-shoulder fired

           Remington 870 Tac 14 DM.



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       11. U.S. M 1 carbine magazines will fit rifle, pistol and other versions of said carbine

           interchangeably.

       12. Other models of fireanns I can think of off hand, which use magazines that can be and

           commonly are used in both rifles and pistols, as well as "other" firearms, are AK.47 type

           magazines, AR 15 type magazines, Luger magazines, 1911 magazines, Smith and Wesson

           59 magazines, Ruger I 0-22 magazines, Soviet PPS43 type magazines, Uzi type

           magazines, and Thompson model 1928 type magazines.

        13. As to the named firearms in the Illinois ban, as I previously stated, I am familiar with

           both the AK, or Soviet Avotmat Kalahnikov series of rifles, which is a 1947 Soviet

           designed select fire shoulder fired weapon, that under federal law would be a

           machinegun. According to official Soviet propaganda, the firearm was designed by a

           wounded former Soviet army tank mechanic named Mikhail T. Kalashnikov. The

           firearm, and its actual derivatives, use an Ml Garand style gas and bolt system, a

           Remington Model 8 safety/selector, and are made from either machined or stamped steel

           components,

        14. The SKS was designed by Sergey Gavrilovich Simonov, a Soviet weapons designer, and

           unlike the AK47 based designs, was actually designed in 1944, and first used in prototype

           form in the Ukraine by Belorussian troops in the Soviet Army also in 1944. The SKS

           operating system has nothing in common with the AK47, and instead, although some

           claim it to be a scaled down PTRS 14.5mm anti tank rifle, in fact it is a near complete

           copy of the Walther 043, aka K43 rifle of World War II, except the SKS usually comes

            with a fixed magazine, and in a 7.63x39mm Soviet Short chambering, as opposed to the

            7.92x57mm Mauser chambering, and detachable magazine of the 043. An fixed



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            magazine SKS can be made into a detachable magazine SKS by simply taking out the

            trigger group and magazine, and replacing only the trigger group.

         15. The 043 itself, is a product improved Tokarev gas system, lifted from the SVT series of

            rifles used by the Soviet Union, in 7.62x54R caliber.

        16. The SKS is not, under any circumstances, a copy, close, derivative or based on an AK of

            any kind.

        17. Neither is the Check vz58 or the German StG44 rifles, which also use completely

            different operating systems than the AK4 7, and were designed independently of the

            AK.47.

        18. Based strictly on the terms of the statute, I am unable to discern what is meant by "all AK

            types". For instance, would this include a .22 rifle made to look like an AK47? If an

            SKS is treated as an AK type, despite obviously not being one, I am unsure whether an

            M 1 Garand, or a Ruger Mini 30, would also be so classified, as they use the same bolt

            and operating system style, despite being completely different firearms

        19. As back the ban, it also generally prohibits inter a/ia "all AR Type", and states this

            includes the AR15, the Armalite M15 .22LR Carbine, the BerettaAR70 and the Rock

            River Arms AR47.

        20. An AR 15 is a patented model number of a rifle only made by Colt, that uses a direct

            impingement gas system, copied out of a Swedish AG42 rifle, also used by the French

            Ml 949 series of rifle, including the M49/56, except that the ARl 5 uses a rotary bolt. The

            ARI 5 also uses magazines designed for it, sometimes called STAN AG magazines, that

            have become industry standard in the caliber.




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       21. The Annalite MIS .22LR Carbine is designed to LOOK LIKE, an early prototype ARIS,

          circa about 1964, by is in a different caliber, has no gas system, and completely different

          operating system, and uses different magazines.

       22. The Beretta AR70 has nothing in common with the ARI 5, except caliber, and while the

          ARIS is made from machined aluminum, theAR70 is made from largely stamped steel.

          No parts between the two interchange.

       23 . There is no such gun as the Rock River Arms AR47, but if that is intended to refer to the

          LAR-47, again, there are substantial differences, including caliber, magazine used and the

          general appearance.

       24. In sum, there is no objective way that a person can determine whether or not a given

          magazine is a "handgun" magazine or a "rifle" magazine under the Act, as they are

          identical.

       25. There is no objective way that a person can determine that any ammunition feeding

          device is for a rifle, shotgun, pistol or other firearm, without knowing its design history,

          possibly going back well over a century, and without knowing about every single firearm

          ever made that might use that assumption feeding device.

       26. Likewise, there are no objective standards to determine whether a given firearm is an AK

           type, an AR type, or something else. In fact, even the listed examples are often times not

           within the parameters of what even most firearms experts would consider to be an AK

           type, like the SKS, of an AR type.

       27. That I have read the Plaintiff's Motion for Partial Summary Judgment as to Counts IV

           and VI, and to the best of my knowledge, the facts set forth in this sworn statement, and




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               in that motion, are true and correct. The photographs depicted show what they are

               labeled as correctly, and the descriptions contained in the motion are accurate.

           28. If I were to testify in open court, I would testify consistently with this affidavit.

           29. I declare under penalty of perjury under the laws of the United States of America that the

              foregoing is true and correct.



        Dated: o)/11'/J.'3

                                                               Scott Pulaski




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                               State Laws and Published Ordinances - Illinois
             Current through P.A. 102-557 and 102-662of the 2021 Session of the 102nd General Assembly.




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Office of the Attorney General                                      Chicago Field Division
100 West Randolph Street                                            175 West Jackson Blvd ., Suite        r.'IATF
Chicago, IL 60601                                                   1500Chicago, IL 60604
Voice: (312) 814-3000
http://www.illinoisattorneygeneral.gov/




Chapter 430 - Public Safety
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                                                                    field-division
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Firearm Owners Identification Card Act
Section 430 ILCS 65/1 .1. Firearm defined ; Firearm ammunition defined .
Section 430 ILCS 65/1 .1. Firearm defined ; Firearm ammunition defined .
Section 430 ILCS 65/2. Firearm Owner's Identification Card required ; exceptions.
Section 430 ILCS 65/3 . Transfer of firearms ; records ; exceptions .
Section 430 ILCS 65/3a. Reciprocal rights in Iowa, Missouri, Indiana , Wisconsin and Kentucky.
Section 430 ILCS 65/3 .1 Firearm Transfer Inquiry Program .
Section 430 ILCS 65/3 .1. Dial up system.
Section 430 ILCS 65/3 .2. List of prohibited projectiles; notice to dealers .
Section 430 ILCS 65/4 . Appl ication for Firearm Owner's Identification Cards.
Section 430 ILCS 65/4 . Application for Firearm Owner's Identification Cards.
Section 430 ILCS 65/5. Approval and renewal
Section 430 ILCS 65/5. Approval and renewal
Section 430 ILCS 65/6 . Contents of Firearm Owner's Identification Card .
Section 430 ILCS 65/6 . Contents of Firearm Owner's Identification Card .
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Section 430 ILCS 65/8. Grounds for denial and revocation .
Section 430 ILCS 65/8.1. Notifications to the Department of State Police.
Section 430 ILCS 65/8.2. Firearm Owner's Identification Card denial , suspension , or revocation .
Section 430 ILCS 65/8 .2. Firearm Owner's Identification Card denial or revocation .
Section 430 ILCS 65/8.3 . Suspension of Firearm Owner's Identification Card.
Section 430 ILCS 65/8 .3. Suspension of Firearm Owner's Identification Card .
Section 430 ILCS 65/8 .4 Cancellation of Firearm Owner's Identification Card
Section 430 ILCS 65/8 .5 Illinois State Police to Monitor Databases for Firearms Prohibitors
Section 430 ILCS 65/9 . Grounds for denial or revocation .
Section 430 ILCS 65/9 .5. Revocation of Firearm Owner's Identification Card.
Section 430 ILCS 65/9 .5. Revocation of Firearm Owner's Identification Card .
Section 430 ILCS 65/10. Appeal to Director; Hearing; Relief from firearm prohibitions .
Section 430 ILCS 65/11 . Judicial review of final administrative decisions .
Section 430 ILCS 65/12 . Transfer of firearms upon death of owner or incident to legal proceedings.
Section 430 ILCS 65/13 . Acquisition or possession otherwise prohibited .
Section 430 ILCS 65/13 .1. Preemption .
Section 430 ILCS 65/13.2. Renewal ; name, photograph , or address change; replacement card .

Section 430 ILCS 65/13.2. Renewal ; name or address change ; replacement card .

Firearm Concealed Carry Act
Section 430 ILCS 66/10.5 Electronic Concealed Carry Licenses
Section 430 ILCS 66/85. Background checks for sales .
Firearms Restraining Order Act
Section 430 ILCS 67/5. Definitions . [Effective until June 1, 2022]
                                                                                                      ~     DEPOSITION
Section 430 ILCS 67 /5 . Definitions . [Effective June 1, 2022]
Section 430 ILCS 67/10. Commencement of action ; procedure. [Effective until June 1, 2022]            J EY                       IT

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Section 430 ILCS 67/10 . Commencement of action ; procedure. [Effective June 1, 2022]
Section 430 ILCS 67/15. Subject matter jurisdiction .
Section 430 ILCS 67/20 . Jurisdiction over persons.
Section 430 ILCS 67/25. Process .
Section 430 ILCS 67/30 . Service of notice of hearings.
Section 430 ILCS 67/35. Ex Parte orders and emergency hearings.
Section 430 ILCS 67/35 Ex parte orders and emergency hearings . [Effective until June 1, 2022]
Section 430 ILCS 67/35 Ex parte orders and emergency hearings. [Effective June 1, 2022]
Section 430 ILCS 67/40. Six month orders .
Section430 ILCS 67/40 Six-month orders. [Effective until June 1, 2022]
Section430 ILCS 67/40 Six-month orders. [Effective June 1, 2022]
Section 430 ILCS 67/45. Termination and renewal. [Effective June 1, 2022]
Section 430 ILCS 67/45 Termination and renewal. [Effective June 1, 2022]
Section 430 ILCS 67/50. Notice of orders.
Section 430 ILCS 67/55. Data maintenance by law enforcement agencies .
Section 430 ILCS 67/60. Filing of a firearms restraining order issued by another state.
Section 430 ILCS 67/65. Enforcement; sanctions for violation of order.
Section 430 ILCS 67/70. Non-Preclusion of remedies .
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    U.S. Department of Justice                                     i
    Bureau of Alcohol, Tobacco, Firearms and Explosives
    Enforcement Programs and Services




     ATF
     Federal Firearms Regulations
     Reference Guide
     2014




                                                                  ATF Publication 5300.4
                                                                  Revised September 2014
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9/28/23, 5:04 PM                                                                                 Gunsmith




                                            HOME           TRAINING          RANGE          LASER ENGRAVING         MORE,..        618 433-2715



                                                                   Gunsmith Services




                                                                  Ultrasonic                         $40        Scope or sight                      $40
                   Service by the                   $80           Cleaning                                      install
                   Hour
                                                                  Get that firearm back to factory clean        We've got the tools to mount and
                   Broken or missing pieces? Minor or             with our in depth ultrasonic cleaning.        bore-sight your scopes or sights.
                   major adjustments? Our staff can                                                             Hitting the target is up to you!
                   handle any service your firearm                Note: some finishes are not suitable          *pricing does not include parts
                   needs!                                         for ultrasonic cleaning and will be
                   *pricing does not include parts                hand cleaned.




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                   Quick Fixes                      $10
                                                                  AR-15 Build                        $40
                    Get that screw unstuck, break free a
                                                                  Room
                   castle nut, put on a flash hider. We
                   can take care of the little jobs too,          For $40 you can have access to our
                   usually while you wait. Call ahead to          AR Build Room. All the tools included
                   check availability for this service.           that you need to complete or modify
                   *pricing does not include parts                your build.




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                                                                      ~ DEPOSITION
                                                                                                       EXHIBIT


                                                      U.S. Department of Justice

                                                      Bureau of Alcohol, Tobacco,
                                                      Firearms and Explosives
                                                      Office of Enforcement Programs and Services
                                                      Office ofField Operations
                                                          Washington, DC 20226
                                                          www.atf.gov

     March 22, 2022

                   OPEN LETTER TO ALL FEDERAL FIREARMS LICENSEES

     The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) recently examined devices
     commonly known as "forced reset triggers" (FRTs) and has determined that some of them are
     "firearms" and "machineguns" as defined in the National Firearms Act (NFA), and
     "machineguns" as defined in the Gun Control Act (GCA).

     These particular FRTs are being marketed as replacement triggers for AR-type firearms. Unlike
     traditional triggers and binary triggers (sometimes referred to generally as "FRTs"), the subject
     FRTs do not require shooters to pull and then subsequently release the trigger to fire a second
     shot. Instead, these FRTs utilize the firing cycle to eliminate the need for the shooter to release
     the trigger before a second shot is fired. By contrast, some after-market triggers have similar
     components but also incorporate a disconnector or similar feature to ensure that the trigger must
     be released before a second shot may be fired and may not be machineguns.

     Both the NFA and GCA regulate machineguns. "Machinegun" is defined under 26 U.S.C.
     § 5845(b) and 18 U.S.C. § 921(a)(23) as-

            Any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
            automatically more than one shot, without manual reloading, by a single function of the
            trigger. The term shall also include the frame or receiver of any such weapon, any part
            designed and intended solely and exclusively, or combination ofparts designed and
            intended, for use in converting a weapon into a machinegun, and any combination of
            parts from which a machinegun can be assembled if such parts are in the possession or
            under the control of a person. (Emphasis added.)

     ATF's examination found that some FRT devices allow a firearm to automatically expel more
     than one shot with a single, continuous pull of the trigger. For this reason, ATF has concluded
     that FRTs that function in this way are a combination of parts designed and intended for use in
     converting a weapon into a machinegun, and hence, ATF has classified these devices as a
     "machinegun" as defined by the NF A and GCA.

     Accordingly, ATF's position is that any FRT that allows a firearm to automatically expel more
     than one shot with a single, continuous pull of the trigger is a "machinegun", and is accordingly
     subject to the GCA prohibitions regarding the possession, transfer, and transport of machineguns
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    OPEN LETTER TO ALL FEDERAL FIREARMS LICENSEES (cont.)


    under 18 U.S.C. §§ 922(0) and 922(a)(4). They are also subject to registration, transfer, taxation,
    and possession restrictions under the NFA. See 26 U.S.C. §§ 5841, 5861; 27 CFR 479.101.

    Under 26 U.S .C. § 5871 , any person who violates or fails to comply with the provisions of the
    NF A may be fined up to $10,000 per violation and is subject to imprisonment for a term of up to
    ten years. Further, pursuant to 26 U.S.C. § 5872, any machinegun possessed or transferred in
    violation of the NFA is subject to seizure and forfeiture. Under 18 U.S.C. § 924(a)(2), any
    person who violates § 922(o) may be sent to prison for up to 10 years and fined up to $250,000
    per person or $500,000 per organization.

    Based on ATF 's determination that the FRTs that function as described above are
    "machineguns" under the NFA and GCA, ATF intends to take appropriate remedial action with
    respect to sellers and possessors of these devices. Current possessors of these devices are
    encouraged to contact ATF for further guidance on how they may divest possession. If you are
    uncertain whether the device you possess is a machinegun as defined by the GCA and NFA,
    please contact your local ATF Field Office. You may consult the local ATF Office's webpage
    for office contact information.




                                        ~
                                   Enforcement Programs and Services

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                                           GEORGE      GEORGE LAUDER
                                                       Date: 2022.03.22
                                           LAUDER       13:25:39 --04'00'

                                            Assistant Director
                                            Field Operations
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                                                                                                                 -,
              a, Except as otherwise provided in this section, the term "frame or receiver" means the following-

                 1. The term "frame" means the part of a handgun, or variants thereof, that provides housing or a
                    structure for the component (i.e., sear or equivalent) designed to hold back the hammer, striker ,
                    bolt, or similar primary energized component prior to initiation of the firing sequence, even if
                    pins or other attachments are required to connect such component (i.e., sear or equivalent) to
                    the housing or structure.
                 2. The term "receiver" means the part of a rifle, shotgun, or projectile weapon other than a
                    handgun, or variants thereof, that provides housing or a structure for the primary component
                    designed to block or seal the breech prior to initiation of the firing sequence ( i.e., bolt ,
                    breechblock, or equivalent), even if pins or other attachments are required to connect such
                    component to the housing or structure.
                 3. The terms "variant" and "variants thereof" mean a weapon utilizing a similar frame or receiver
                    design irrespective of new or different model designations or configurations , characteristics,
                    features, components, accessories , or attachments. For example , an AK-type firearm with a
                    short stock (i.e., pistol grip) is a pistol variant of an AK-type rifle, an AR-type firearm with a
                    short stock (i.e., pistol grip) is a pistol variant of an AR-type rifle, and a revolving cylinde r
                    shotgun is a shotgun variant of a revolver.

                 4. The following are nonexclusive examples that illustrate the above definitions :
                     i. Hinged or single framed revolvers:
                        The frame is the part of the revolver that provides a structure designed to hold the sear.

                                                    Figure 1 to paragraph (a)(4)(i)

                                                                    Hinged Revolver              Revolver




                    ii. Colt 1911, Beretta/Browning/FN Herstal/Heckler & Koch/Ruger/Sig Sauer/Smith & Wesson/Taurus
                        hammer-fired semiautomatic pistols:
                        The frame is the lower portion of the pistol, or grip , that provides housing for the sear.

                                                    Figure 2 to paragraph (a)(4)(i i)

                                                                                        Semiautomatic Pistol




                    iii. Glock variant striker-fired semiautomatic pistols:
                       The frame is the lower portion of the pistol, or grip, that provides housing for the sear.




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                                                    Figure 3 to paragraph (a)(4)(iii)


                                                                                                                      Glock




                    iv. Sig Sauer P250/P320 variant semiautomatic pistols :
                        The frame is the internal removable chassis of the pistol that provides housing for the sear or
                        equivalent component.

                                                    Figure 4 to paragraph (a)(4)(iv)

                                                                                                                Sig P250 / P320
                                                                                                                rt.~ - -:.....
                                                                                                                         .
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                                                                                                                                     - ~TT"




                    v. Bolt action rifles :
                        The receiver is the part of the rifle that provides a structure for the bolt.

                                                    Figure 5 to paragraph (a)(4)(v)

                                                                                                  Bolt Actjon Firearms




                    vi. Break action, lever action, or pump action rifles and shotguns :
                       The receiver is the part of the rifle or shotgun that provides hou sing for the bolt, breechblock,
                       or equivalent.
                                                        Figure 6 to paragraph (a)(4)(vi)


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                   vii. AK variant firearms:
                       The receiver is the part of the weapon that provides housing for the bolt.




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                                                        Figure 7 to paragraph (a)(4)(vi i)




                    viii. Steyr AUG variant firearms :
                        The receiver is the central part of the weapon that provides housing for the bolt.

                                                    Figure 8 to paragraph (a)(4)(vii i)




                                                                                       Receiver

                                                                                   ..          @   •   -=====i••~


                     ix. Thompson machineguns and semiautomatic variants, and L1A1, FN FAL, FN FNC, MP38, MP40, and SIG
                        550 firearms, and HK machineguns and semiautomatic variants:
                        The receiver is the upper part of the weapon that provides housing for the bolt.
                                                            Figure 9 to paragraph (a)(4)(ix)


                                                                                                            ~ Receiver




                     x. Sten, Sterling, and Kel-Tec SUB-2000 firearms:
                        The receiver is the central part of the weapon, or tube, that provides housing for the bolt.




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             b. Firearm muffler or silencer frame or receiver.
                The terms "frame" and "receiver" shall mean, in the case of a firearm muffler or firearm silencer,
                the part of the firearm , such as an outer tube or modular piece, that provides housing or a
                structure for the primary internal component designed to reduce the sound of a projectile ( i.e.,
                baffles, baffling material, expansion chamber, or equivalent) . In the case of a modular firearm
                muffler or firearm silencer device with more than one such part , the terms shall mean the
                principal housing attached to the weapon that expels a projectile , even if an adapter or other
                attachments are required to connect the part to the weapon. The terms shall not include a
                removable end cap of an outer tube or modular piece .


             c. Partially complete, disassembled, or nonfunctional frame or receiver.
                The terms "frame" and "receiver" shall include a partially complete , disassembled , or
                nonfunctional frame or receiver, including a frame or receiver parts kit, that is designed to or may
                readily be completed, assembled, restored, or otherwise converted to function as a frame or
                receiver, i.e., to house or provide a structure for the primary energized component of a handgun ,
                breech blocking or sealing component of a projectile weapon other than a handgun , or internal
                sound reduction component of a firearm muffler or firearm silencer, as the case may be. The terms
                shall not include a forging, casting, printing, extrusion, unmachined body, or similar article that
                has not yet reached a stage of manufacture where it is clearly identifiable as an unfinished
                component part of a weapon ( e.g. , unformed block of metal, liquid polymer, or other raw
                material). When issuing a classification, the Director may consider any associated templates , jigs,
                molds, equipment, tools, instructions, guides, or marketing materials that are sold, distributed , or
                possessed with the item or kit, or otherwise made available by the seller or distributor of the item
                or kit to the purchaser or recipient of the item or kit. The following are nonexclusive examples that
                illustrate the definitions:

                    EXAMPLE 1 TO PARAGRAPH (C)-FRAME OR RECEIVER :
                    A frame or receiver parts kit containing a partially complete or disassembled billet or blank of a
                    frame or receiver that is sold, distributed, or possessed with a compatible jig or template is a
                    frame or receiver, as a person with online instructions and common hand tools may readily
                    complete or assemble the frame or receiver parts to function as a frame or receiver.
                    EXAMPLE 2 TO PARAGRAPH (C)-FRAME OR RECEIVER :
                    A partially complete billet or blank of a frame or receiver with one or more template holes
                    drilled or indexed in the correct location is a frame or receiver, as a person with common hand
                    tools may readily complete the billet or blank to function as a frame or receiver.

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                     EXAMPLE 3 TO PARAGRAPH (C)-FRAME OR RECEIVER :
                     A complete frame or receiver of a weapon that has been disassembled, damaged , split, or cut
                     into pieces , but not destroyed in accordance with paragraph (e), is a frame or receiver.

                     EXAMPLE 4 TO PARAGRAPH (C)-NOT A RECEIVER:
                    A billet or blank of an AR-15 variant receiver without critical interior areas having been indexed ,
                    machined, or formed that is not sold, distributed, or possessed with instructions , jigs ,
                    templates, equipment, or tools such that it may readily be completed is not a receiver.

                     EXAMPLE 5 TO PARAGRAPH (C)-NOT A RECEIVER:
                    A flat blank of an AK variant receiver without laser cuts or indexing that is not sold, distributed,
                    or possessed with instructions, jigs, templates, equipment, or tools is not a receiver, as a person
                    cannot readily fold the flat to provide housing or a structure for the primary component
                    designed to block or seal the breech prior to initiation of the firing sequence.


             d. Multi-piece frame or receiver.
                The term "multi-piece frame or receiver" shall mean a frame or receiver that may be disassembled
                  into multiple modular subparts, i.e., standardized units that may be replaced or exchanged. The
                  term shall not include the internal frame of a pistol that is a complete removable chassis that
                  provides housing for the energized component, unless the chassis itself may be di sassembled . The
                  modular subpart(s) identified in accordance with§ 478.92 with an importer's or manufacturer' s
                  serial number shall be presumed, absent an official determination by the Director or other reliable
                  evidence to the contrary, to be part of the frame or receiver of a weapon or device.


             e. Destroyed frame or receiver.
                The terms "frame" and "receiver" shall not include a frame or receiver that is destroyed. For
                purposes of these definitions, the term "destroyed" means that the frame or receive r has been
                  permanently altered such that it may not readily be completed , assembled, restored , or otherwise
                  converted to function as a frame or receiver. Acceptable methods of de struction include completely
                  melting, crushing, or shredding the frame or receiver, or other method approved by the Director.


             f.
                  1. FRAME OR RECEIVER CLASSIFICATIONS BASED ON WHICH PART OF THE WEAPON WAS CLASSIFIED AS
                    SUCH BEFORE APRIL 26, 2022.
                    Except as provided in paragraph (f)(2) of this section, the terms "frame" and "receiver" shall
                    include the specific part of a complete weapon , including variants thereof, determined
                    (classified) by the Director to be defined as a firearm frame or receiver prior to April 26, 2022.
                    Any such part that is identified with an importer's or manufacturer' s serial number shall be
                    presumed, absent an official determination by the Director or other reliable evidence to the
                    contrary, to be the frame or receiver of the weapon. The following is a nonexclusive list of such
                    weapons and the specific part determined by the Director to be the firearm frame or receiver as
                    they existed on that date:

                     i. AR-15/M-16 variant firearms:
                       The receiver is the lower part of the weapon that provides housing for the trigger mechanism
                       and hammer ( i.e., lower receiver).




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                                                      Figure 11 to paragraph (f)(l )(i)




                                                                                                     .                          -   •


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                                                                                     Rt.-cc iv c1·




                    ii. Ruger Mark IV pistol :
                       The frame is the upper part of the weapon that provides housing for the bolt or breechblock.

                                                   Figure 12 to paragraph (f)(l )(ii)

                                                                                                     Ruger Mark IV


                                                                                                ..
                                                                                    .p~~'••· .............. . . . -
                                                                                                            ......-:--·
                                                                                                                          -
                                                                                                                                    --
                                                                                                                          .. ,. __,_ --




                    iii. Benelli 121 Ml Shotgun:
                       The receiver is the lower part of the weapon that provides housing for the trigger
                       mechanism.

                                                   Figure 13 to paragraph (f)(l )( iii )


                                                                                           Benclli 121

                                                                                    ...,             $                           ...
                                                                                                                     i



                    iv. Vickers/Maxim, Browning 1919, M2, and box-type machineguns and semiautomatic variants:
                       The receiver is the side plate of the weapon that is designed to hold the charging handle.

                                                  Figure 14 to paragraph (f)(l)(iv)

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                    2. FRAME OR RECEIVER CLASSIFICATIONS OF PARTIALLY COMPLETE, DISASSEMBLED, OR
                        NONFUNCTIONAL FRAMES OR RECEIVERS BEFORE APRIL 26, 2022.
                        Prior determinations by the Director that a partially complete, disassembled , or nonfunctional
                        frame or receiver, including a parts kit, was not, or did not include, a "firearm frame or receiver "
                        under§ 478.11, or "frame or receiver" under§ 479.11 of this subchapter, as those terms were
                        defined prior to April 26, 2022, shall not continue to be valid or authoritative after that date.
                        Such determinations shall include those in which the Director determined that the item or parts
                        kit had not yet reached a stage of manufacture to be , or include , a "firearm frame or receiver"
                        under§ 478 .11, or "frame or receiver ,, under§ 479 .11 of this subchapter , as those terms were
                        defined prior to April 26, 2022.




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                                       GUIDE TO
                                                  -
   A Comprehensive Guide to Modern Sporting Rifles and Their Variants

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    accessories
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                        1story of t e A

                         or all of its popularity among the alties from World Wars I and II, as well as those that
                         military, law enforcement and civil- had occurred in Korea up to that point. For the first
                         ian shooters today, the AR-15 almost time, an analysis suggested that more soldiers were
                         never happened. Or at the very least, killed by randomly dispersed fire than carefully aimed
                         its development was almost grounded shots, suggesting that a light-recoiling rifle that could
       before it really got the chance to fly. Dissatisfied with rapidly launch multiple projectiles in a controlled, yet
       the overall performance of the M 14 rifle that was in ser- simultaneously spread pattern, could ultimately be
       vice at the time, the Army in the 1950s sought the assis- more effective on the battlefield.
       tance of commercial gun manufacturers in developing           Following several years of studying the idea, the
       a .22-caliber firearm capable of replacing it in combat. Continental Army Command (CONARC) decided to
          As the military had crossed the bridge from a post- seek the development of a 5.56mm rifle. They reached
       World War II era, the focus of many of the branches out to both Winchester, owned by Olin, which now only
       was on devising tactics, equipment and machinery manufactures the ammunition under that brand, and
       capable of countering the nuclear capabilities of our the Armalite Division of Fairchild Engine & Airplane
       new age Cold War enemies. Partially responsible for Corp., which today is simply known as Armalite Inc.
      this task within the U.S. Army was the Operations (But ironically no longer owns the trademark for the
       Research Office, created after World War II. However, actual AR-15 name. More on that in a moment.)
      the ORO increasingly found itself attempting to solve
      non-nuclear related challenges prompted by our coun-
                                                                  ARMALITE'S NEW CONCEPT RIFLE
      try's engagement in North Korea. One such concern, _
      recounted in the late Edward C. Ezell's book, The According to a history of Armalite, Inc., recognizing
      Great Rifle Controversy, one of the most detailed and that there had been little done in the way of advanc-
      comprehensive examinations of military small arms ing fundamental small arms design and function in the
      development in the United States between the close past 50 years, Fairchild executives president Richard S.
      of World War II and the early 1980s, was that "ORO Boutelle, a gun enthusiast, and Paul S. Cleveland, cor-
      investigators discovered that very little was known porate secretary, wanted to focus on developing fine
      about the nature of inflicting wounds on the human sporting arms for the commercial market with the hope
      body in combat."                                            that their work would catch the eyes of military lead-
         As a result, the Infantry Division of ORO began to ers and provoke some interest. However, shortly after
      study the issue by analyzing more than 3 million casu- establishing the Armalite Division, the company was




                                                                                     :   ,   ...
      ~ Today's M4, an AR variant, is the top choice among many of our nation 's military. Photo Credit: DoD Photos


      14         • Shooter's Bible Guide to AR-15s
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/ ·\-- ·-. . '··t d by the U.S. Air Force to submit a rifle design             tries including Belgium, Great Britain, Canada and
·{ ,. '· • . ·JnVI e
:i,~•· . ~- · that would replace the ~ranch 's _surviva~ rifle . Within a Australia.
1} •.. :_ matter of weeks, Armalrte subm,_tted a rrfl~ dubbed t~e                 To compete with these firearms, Stoner took a
~: ; , AR-5 to the Air Force for evaluation . The rrfle was burlt             totally      new approach in firearms design of the day
;~ • · around the .22 Hornet. The Air Force adopted the rifle,                and     created     the AR- 10. The first version of the AR- 10
        • which was officially designated the MA-1 Survival was made w ith aircraft grade aluminum receivers,
►~i,~    . Rifle. This success forced tthhe company_to rethkintk itds keeping the weigh t, down considerably from what it
      .       original decision to pursue e commercra 1 mar e an             looked like it might weigh . In fact, empty, the rifle
    1
              instead, they changed course and focused exclusivel y          weighed         less than 7 pounds. The receivers could be
   I.         on developing arms for the military.                           made from such lightweight material because the
t,;•             From there, three people involved with Armalite bolt locked into a steel extension that attached to
r~_.          came together to alter the course of modern firearms the barrel , not directly in the receiver itself. Stocks,
f             as we know them . According to Armalite, it was pistol grips and fore-ends were all plastic compared
             the idea of George Sullivan, a chief patent counsel to the wood-grain furniture more common to guns of
             for Lockheed Aircraft Corporation, to use the " latest the day. Unfortunatel y, despite capturing the atten -
             technical advances in plastics and alloys" to build tion of more than a few military leaders intrigued by
             firearms that were lighter and more functional than the firearm 's unique design, the Armalite Division
             then-available models. In fact, Sullivan, a tinkerer had gotten involved too late to adequately compete.
             himself, had begun work on some of his ideas in his An article that first appeared in the May 1962 issue
             garage following World War II . Charles Dorchester of American Rifleman magazine noted that the initial
            directed and coordinated all of Armalite Division 's AR-1 0 had also fallen prey to flaws with its original
            development programs and would later go on to run composite steel -aluminum barrel and a complicated
            the entire company. But perhaps most recognizable flash suppressor.
            of the three whom would go on to change history                      According to Ezell, however, of those leaders
            and the one historical scholars credit for the birth of intrigued by the AR-1O's design included CONARC's
            the AR platform was Eugene Stoner. Stoner, who had commander, Gen . Willard G. Wyman . In 195 7,
           served as a Marine during the war and was considered Wyman personally asked Stoner to design a 5.56mm
           an ordnance expert, was made chief engineer of the rifle for the Army similar to the AR-10. That scaled-
           Armalite Division in 1954. He had been working on down rifle would go on to become the AR-15.
           developing small arms independently since the war as                  The first AR-1Ss had steel barrels and an Army-
           well. It is Stoner's patents that "form the basis of much developed BAR-type flash suppressor. And while
           of Armalite's work," according to the company's his- Stoner's design has been called genius by many, the
           torical records.                                               real genius may have been found in the engineer's
               In 1955, the Arm y was looking to update or replace ability to borrow features from a number of popular
          the service rifle of the time, the M 1 Garand, and and proven European gun designs and combine them
          were considering two version s: Springfield Armory's
          T-44, merely an updated version of the Garand, and
                                                                         ::::::: In the fo rm of the M1'6, the AR made its way into the hands of our
                                              the T-48, a version militar y by 1963 . Photo Credi t: DoD Pho tos
                                              of the 7.62x51 mm
                                              FN FAL, which was
                                              developed and manu -
                                    '\        factured by Fabrique
                                              Nationale de Herstal,
                                              known today primar-
                                              ily as FN Herstal. The
                                              FAL would ultimately
                                              go on to be adopt-
                                              ed by as the primary
                                              service rifle used by
                                                                                                                                                       '··: ·\ ::-:
                                              many NATO coun -                                                                                          ·.


             ::=:: Eugene Stoner, creator of the AR design.
                            Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 114 of 256 Page ID #4034
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    •.•. *.                      '
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                    :·•.r' ,
                   . :( .                 in a single platform . The now-ubiquitous hinge design at the time also failed in this respect. In the end, the
                                         of the AR, not unlike that of a break-open shotgun, was test board reviewing the new rifles suggested that a
                                         similar to a design used in the Czech ZH or ZB 29 rifle ".223 (5.56mm) round was not a suitable replacement
                                         and adopted in the FN . The rear sight was built into for the 7. 62 NATO round" and that development of a
                                         the rear of the carrying handle like the British EM 2, heavier .258 caliber (6.35mm) cartridge be pursued
                                        the hinged cover on the ejection port resembled that (Ezell). In light of the recommendations, Arm y Chief
                                        of the German Sturmgewehr 44, the locking system of Staff Gen. Maxwell Taylor ruled the branch would
                                        was similar to the one used in the Johns Semiautomatic continue procuring the heavier and already' NATO
                                        Rifle from the 1940s and the straight stock, designed approved 7. 62 M14 rifles.
                                        to better accommodate recoil and manage multiple
                                        shots, was similar to a number of auto and semi-auto
                                                                                                  SECOND CHANCE
                                        rifle designs getting some play at the time, including as
                                        Ezell pointed out, the Harvey T25 .                       After all of the expense in developing the AR-15 , it
                                            Stoner's gas operating system, which employed, and was a tough financial blow to a small company like
                                       still does on direct impingement ARs, a tube beneath Fairchild, which, struggling to make ends meet, had
                                       the front sight and directed gas back to the bolt in actually already begun to search for a company to
                                       order to cycle rounds during firing, had been used in which to license the production of both the AR-15 and
                                       the both Swedish M42 Ljungman and the French MAS the AR-10. The company had invested in the AR-15
                                       1949.                                                      project alone $1 .45 million, an amount that by today's
                                           " Stoner's achievement in the AR-15 was the combi- corporate standards would be fairly cheap but for any
                                       nation of all of these ideas into an attractive package," small company, then or now, could be a backbreaker.
                                      wrote Ezell. O f course, once designed, the rifle still Fairchild decided to recoup some of the costs of the
                                      had to win favor with the military, a battle that almost protracted project by selling the manufacturing and
                                      ended the AR-15's prominent role in history right there. marketing rights to what was then called Colt's Patent
                                           To begin, Armalite was so small, it didn't have a Firearms Manufacturing Company, but is better known
                                      full research facility or the staff to completely develop today simply as Colt's Manufacturing, LLC, or merely
                                      a fully tested prototype. Instead, they had to rely on Colt. The company bought the rights to both firearms
                                      military testers, many whom had their own prejudices (a version of the AR-10 had already been sold to the
                                      against this new weapon and did it few favors to dis- Dutch and was being marketed in Southeast Asia
                                      cover if it could actually serve soldiers well. There where conflicts were erupting in what was then a
                                      were some key leaders in the Army w ho simpl y didn't little-known country called Vietnam) for $75,000 cash
                                      like the fact that the new gun hadn't been developed payment and a guarantee of a 4 ½ percent royalty on •
                                      within the branch 's own usual channels. Others simpl y al I future sales.                        •
                                     didn't like the new configuration of the gun, much             In The Black Rifle : M16 Retrospective by R. Blake
                                     as some traditional -minded hunters view the firearm Stevens and Edward C. Ezell , the authors note that
                                     even today. Rain tests conducted on a test sample of at the time, Colt was also suffering financially as a
                                                                                                                                                          .i;
                                     the rifles originally suggested that shooting the guns result of dried up military and civilian markets fol -
                                     with water in the barrels could result in burst barrels- lowing WWII. The company also hadn't retooled
                                     something that was believed at the time to be " char- its manufacturing facilities in nearly a century. The          .-t
                                                                                                                                                           ,f
                                     acteristic of high-velocity rifles ha\ ing a bore diameter Maryland-based firm of Cooper-MacDonald, which             ,f
                                     of less than .25 caliber," according to Ezell. Armalite through one of its principles, Robert W. "Bobby"               j
                                                                                                                                                           \.

                                     strengthened the barrels in response, but still concerns MacDonald already promoted the Dutch AR in
                                     over the hazard persisted. Arctic tests conducted on Southeast Asia, worked with both Armalite and Colt
                                     the rifles to determine how they would perform in and had been the connection that brought the sale of
                                     freezing weather also proved disappointing to testers, the ARs together. Interestingly, Cooper-MacDonald
                                     though the Winchester .224 rifle still being considered made more off the sale of the guns to Colt than


                                     16      • Shooter 's Bible Guide to AR-1 Ss
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                                                                                                .     ,:-
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                                                                                                              .,


 ~ The first true military version of the AR-15, the M16, got its first full trial during the Vietnam War. Photo Credit: DoD Photos




  Fairchild, netting $250,000 and a 1 percent royalty                                                 decision was made to end procurement of the M 14.
  on all future guns sold .                                                                           At the same time, McNamara ordered the purchase
    MacDonald, who had extensive contacts in Southeast                                                of 85,000 AR-1 Ss for the Army and 19,000 for the Air
  Asia and saw the AR-15 as an ideal gun for the " small-                                             Force, who was already using some of the guns, to
  er statured" fighters of the region, immediately began                                              begin the following year (Ezell) .
  marketing the gun in that part of the world and, under                                                The purchase was initially intended to be a one-time
  orders from Colt, to the U.S. military once again. They                                             deal-enough to fill the gap until another weapons
  wanted to see the AR-1 5 given another chance.                                                      testing program was complete and a new firearm
    Initially Army representatives refused . But Colt had                                             developed, but history proves that did not become
 better luck when they decided to bypass the branch                                                   the case. To meet demand for the growing conflict
 and seek other military buyers. Ultimately, Air Force                                                in Vietnam, the Army ordered more of the rifles and
 Vice Chief of Staff Gen . Curtis LeMay, who witnessed a                                              reclassified it as the M 16.
 demonstration of the guns, suggested that the Air Force
 test the AR- 15 as a replacement for the M2 carbines
                                                                                                      NOT DONE YET
 used by its sentries. The tests proved positive and the
 Air Force placed an initial order for 8,500 rifles (Ezell) .                                         Once the AR-15/M 16 made its way to soldiers' hands
 Sometimes it just takes that one lucky break to get the                                              and was finally being tested on the battlefield, prob-
 door to open wider than your foot and allow you to                                                   lems began to arise. While the overall opinion was
 walk on through .                                                                                    that most soldiers liked the overall design and concept
    Studies by the Defense Department, who agreed to                                                  of the rifle, its immediate popularity was hindered
give the gun another look, also proved favorable, caus-                                               by a few problems operators encountered in the
ing questions to be asked all the way up the chain of                                                 field-mainly the gun malfunctioning during combat.
command as to why the disparity between the Army's                                                    Reviews revealed several causes for this including
original findings and the reports coming out about the                                                ammunition that didn't function properly in the rifle
gun then. Indeed, both Secretary of Defense Robert                                                    because of its high-residue powder. The Army had
McNamara and even then President John F. Kennedy                                                      insisted on a faster-burning ball-type powder for use in
had questions. Ultimately, the Army was forced to                                                     the field instead of the cleaner burning powder Stoner
reevaluate the rifle the result being in 1963 that the                                                had used in developing the rifle because they wanted


                                                                                                                                     History of the AR •   17
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                                                                                Over the years, the gun design has undergone a
                                                                             number of improvements and variations as requested
                                                                             by various branches of the military-and even by
                                                                             some civilian engineers and shooters-including the
                                                                             addition of: a forward assist, to aid in locking the
                                                                             bolt forward in rare instances when it fails to do so;
                                                                            flat-top receivers; heavier barrels; adjustable windage
                                                                            rear sights; selector switch functions that reduced
       ~ While the design of the M16 was generally well received by .       full -auto firing to the firing of three-round bur,sts;
       Vietnam-era soldiers, the model was not without its problems, pri-   a gas piston operating system as an option to the
       marily malfunctions when dirty.
                                                                            direct impingement design; and other minor tweaks
                                                                            including adjustments in stock length, thickness of
       to generate higher muzzle velocities. The Army also                  barrels and stock design and functionality. Where the
       failed to secure chrome-lined barrels and chambers                   military design has wandered, the civilian market has
       in the rifles, which resisted heat and fouling better as
                                                                            followed .
       well as corrosion and pitting. Perhaps most egregiously                 One of the most notable changes in the rifle over
       ignored was the lack of proper clea~ing suppli~s and                 time occurred with its rifling. Original models often
       quite simply a failure to properly train troops with ~he             had a 1-in-14-inch (1:14) or 1-in-12-inch (1:12) twist
       new rifle and enforce its frequent cleaning.                         fo.r use with the lighter 55-grain bullets used for com-
           In fact, according to former long-distance AR com-               bat at the time. This worked great for shooting targets
       petition shooter John Murphy, who has shot ARs exten-                under 300 yards and indeed, most combat engagement
       sively and studied their history, the original Ml 6 was              occurred at 100 yards or less, most often due to terrain
       originally billed as a gun that didn't require much care             features and limitations more so than an inability of the
       or cleaning.                                                         shooter. However, for long range shooting-ranges of
           "The chamber on the .223 was not chrome plated.                  out to 600 yards as was required in high-power com-
       It got so hot that cases were sticking and with all of               petition matches or sniping-the gun was inadequate.
       the gunk and powder, the gun would jam up," says
       Murphy. "The gun was marketed as one that didn't
       need cleaning, which was bunk. You have to always
       clean a gun." The cleaning of magazines was also
       found to be crucial as they would fill with grime
       and quit feeding rounds into the chamber during fir-
       ing. Indeed when asked about how often he cleaned
       his M4, the military's modern, shorter version of the
       original Ml 6 design, one recently retired Navy SEAL
       who has seen action in both Afghanistan and Iraq,
       said simply "every chance you get. Your life depends
       on it."
           As more troops began carrying the new rifle into
       Vietnam, training and cleaning procedures-for
       both the rifle and its magazine-improved and with
        it, fewer reports of malfunctioning guns. In fact,
       the lack of proper cleaning seemed to fix much
        of what the initial concerns about the Ml 6 were.
        Improvements in the propellant used in the military-
        issued ammunition also reduced reports of problems                  ~ Today, popularity of the AR among hunters is one of the driving forces .
        with the guns.                                                      behind the platform 's high sales numbers.


       18         • Shooter's Bible Guide to AR-15s
 ,.          Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 117 of 256 Page ID #4037
,I    ·, -
             To improve th e M16 's early performan ce, rifling in the
 '              barrel was changed to a 1:7 twist in ord er to better
                                accommodate 62-grain bullets. ))




!,.




            The 1 :12 twist was unable to stabilize longer, heavier        multi -year effort to find a suitable replacement for the
            bullets needed for long distance shooting.                     M4 recently decided to scrap the search and commit
               In "The Making of a Match Rifle," originally pub-           to converting the M4 to M4A 1s. The M4, successor
            lished in the July 1999 issue of American Rifleman by          variant of the M 16, with a shorter barrel, flat top, col -
            former Shooting Editor Glenn M . Gilbert, the author           lapsible stock and less weight, has been in use since
            recounts how improvements in this area evolved fol -           1994. While it has received periodic upgrades over the
            lowing the adoption by NATO of a standard 5.56mm               years, the transition to the M4A 1, with a heavier barrel,
            round loaded with a heavier 62 -grain bullet, and              full-auto f iring capability and ambidextrous controls, is
            which was fired from a barrel with a 1 :9 twist. That          underway and should be complete by 2020 according
            bullet was designed by FN . In response, " the Army           to reports by the Army Times . From a military perspec-
            quickly developed a copy of the 62 -grain FN bullet           tive at least, this move cements the continuation of the
           and standardized it as the M855 in 1981 ."                     AR's place as the weapon of choice for many of our
               The rifling in the barrel of M16 was soon tightened to     nation's servicemen and women on the battlefield.
           a 1:7 twist in order to accommodate the heavier bullet            Despite criticisms of the platform 's ability to perform
           as well as tracers that were planned for the newly rifled      without malfunctioning in sandy or dirty environ-
           firearms . Over time, the twist rate and development           ments, an Arm y Times article cites testing data that
           of longer bullets in the 77-grain and 80-grain arena           showed " today's M4 and M4A 1 indicate a 98.3 per-
          solved the long range dilemma and produced a rifle              cent probability of completing a mission with a basic
           that both military sharpshooters and civilian competi -        ammunition load (209 rounds) w ithout failure." To
          tors could come to rely on . And indeed, once those             those supporters cheering on a new small -arms alter-
          problems were solved, the AR became a preferred gun             native to the AR, the Army scrapped the effort to find a
          of many competitors such as John Murphy.                        replacement after determining that all of the potential
              "The Marines were the first ones to successfully carry      replacements didn't provide sufficient improvements
          the ARs to Camp Perry in 1994, and they cleaned                over current performance levels . .. particularly not
          everyone's clock w ith the new twist rates and the lon -       enough to justify the additional cost it would take to
          ger bullets," says Murphy.                                     swap out the entire branch 's shoulder-fired weapons .
              Gilbert sums the AR's evolution up in his article              On the civilian front, increasing acceptance by
         by writing, "The AR-15 has come a long way. Lon g               competitive shooters, driven in large part by 3Gun
         derided as a plastic toy, it is now the benchmark in            competitors, and certainly hunters, who continue to
         accuracy among semi-auto rifles ." It is this mix of both       embrace the platform, are driving high-end perfor-
         short-range application and long-range accuracy, com-           mance features on some models and more hunt-friend-
         bined with the multiple levels of personalization and           ly features and broader caliber offerings on others. This
         functionality that have many experts predicting that the        latter development has been one of the most visible
         heyday of the AR is indeed here.                                in recent years as manufacturers seek to keep rifles
             This sentiment, in fact, is continuing forward along        moving off shelves even as buying patterns settle into
         dual paths. While there are a number of competing-              more stable, yet realistic numbers following the boom
         and darn good- tactical rifle platforms available (the          years of 2008-09 and 2012- 13 . But more on that later
         FN SCAR, HK416 and SIG 556xi are just a few that                in the book.
         come immediately to mind), the U .S. Army, after a


                                                                                                          History of the AR •    19
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 nt
           4. AR Rifle Models

           Following is undoubtedl y the most comprehensive                 Speaki ng of custom builders, many, if they did not
           listing of current A R-style rifle models ava il ab le in     make predetermined firearm packages, were not includ-
           print or on the web, though it is by no means exhaus-         ed, but are listed in appendices of this book. Likewise,
           tive. The know ledgeable reader will no doubt find a          even AR manufacturers whose firearms are not listed
           favorite small manufacturer or favorite model of gun          in this chapter are at least listed in an appendix at the
           not listed here. Some co mpanies simpl y have so man y        back of this book. Please check out Gu idetoARs.com
          gun s, it was impractical to list them all. Others were,       frequently for updates on gun listings that were mi ssed
l.        for inexplica ble reasons other than they were too             in this book, previews of new A Rs and accessories com-
          busy, unable to respond to the authors' requests for           ing to the market, tips on getting better performance
          information and photography, didn't have adequate              out of you r rifle and for detailed reviews on new AR
          information ava ilable o n their websites (some had no         models coming to a store shelf near you. Also, if you are
          webs ites) or they themselves didn't even have detai led       an AR manufacturer and were not listed, please make
          information on their firearm models available. And             us awa re of your company and its offerings. Co ntact us
          admittedl y, w ith so many small gunmakers coming              through GuidetoARs.com w here we will be happy to
          into the fold-and just as quickly falling back out of          include your gun models or accessories and wi ll know
          it, capturing every manufacturer is a target even a            how to reach you more directly when working on the
          custom-built AR couldn't hit.                                  next edition of The Shooter's Bible Guide to AR-1 Ss.



          2VETS ARMS                               2VA NATO GENESIS SERIES                  two-stage trigger from Geissele
          2VA BRAVO                                                                         Automatics (G2S-E), BS Systems Bravo
                                                   Action: semi-auto                        co ll aps ible buttstock, 14-in. P3R
          Action: semi -auto                       Stock: BS Systems                        lightweight free-float rail, 18-in. full
          Stock: BS Systems                        Barrel: 13.7-in. barrel, B.E. Meyers     fluted 416 R stai nless match-grade
          Barre/: 16-in. 4140 CMOV ba rrel, 1:7    249 flash hider                          barrel with black Nitride fin ish .
          Sights: A2 front sight base              Sights: NIA                              MSRP: ............. ..... $1,875
          Weight: NIA                              Weight: NIA
          Caliber: .556                            Caliber: .556
                                                                                            2VAALPHA
          Magazine: NIA                            Magazine: NIA
          Features: Arms 7075-T6 billet side       Features: 2VA 7075 bi llet A4 upper,     Action : semi -auto
          charged upper receiver.                  2VA 7075 billet lower, amb i charging    Stock: BS SOPMOD Alpha stock,
          MSRP: .................. $1,300          hand le, M-LOK rail.                     BCM Gunfighter grip
                                                   MSRP: . .. ...... ......... $1,575       Barrel: 16-in. 416 R stai nless stee l
         2VASOPMOD                                                                          match barrel with full flutes
                                                   2VA .308 SPECIAL                         Sights: NIA
         Action : sem i-auto                                                                Weight: NIA
         Stock: BS Systems
                                                   PURPOSE RIFLE
                                                                                            Caliber: 5.56
         Barrel: 16-in. 416R sta in less steel     Action : semi-a uto                      Magazine: NIA
         barrel, 1:7 RH tw ist                     Stock: BS Systems Bravo                  Features : Arms 7075-T6 billet side
         Sights: NIA                               Barrel: 18-i n., 1:10 RH twist, fu ll    charged upper receiver, 7075 forged
         Weight: NIA                               fluted 416R stai nless match-grade       lower receiver, mid-length gas system,
         Caliber: 5.56                             barrel wl black Nitride finish           Geissele SSA fire control s, KNS anti-
         Magazine : NIA                            Sights: NIA                              rotation pins, Battl e Arms
         Features: 7075-T6 billet si de charged    Weight: 7 lb. 13 oz.                     Development ambi selector, Phase 5
         upper receiver, 7075 -T6 billet lower     Caliber: .308                            enhanced side charged compatible
         receiver, ALG Defense GI fire             Magazine: NIA                            BAD lever, 13 -in. KeyMod compatible
         controls, ca rbi ne gas system, 10-in .   Features: 7075-T6 matched set billet     free-float rail.
         quad rail.                                receivers, ambidextrous side charging    MSRP: ...... .. .. . ....... $1,875
         MSRP : . ................. $1,499         system, ambidextrous safety se lector,




                                                                                                         AR Rifle Models •      51
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      APPENDIX I-AR MANUFACTURERS
     2 Vets Arms                        Black Dawn Armory                                                     Noveske Rifleworks
     www.2vetsarms.com                  www.blackdawnguns.com           Head Down Products                    www. noveske.com
                                                                        www.hdfirearms.com
     556 Tactica l LLC                  Brad ley Arms                   Hera Arms                             0
     www.556tactica1.com                www.brad leya rm s.com          www. hera-arms .com                   Olympic Arm s
                                                                                                              www.olyarms .com
     A                                  Bravo Company USA               High Standa rd Fi.rearms
     Accurate Armory                    www.bravocompanyusa.com         www.highstanda'rd.com                 p
     www.accuratearmory.com                                                                                   Palmetto State Defense
                                        Bushmaster                      HM Defense                            www.pal mettostatedefense.com
     Adams Arms                         www.bushmaster.com              www.hmdefense.com
     www.adamsarms.net                                                                                        Patriot Ordnance Factory (POF)
                                        C                               Heckler & Koch                        www. pof-usa.com
     Adcor Defense                      Chattahoochee Gun Works         www.hk-usa.com
     www.adcordefense.com               www.c-gw.com                                                          PEC Armory
                                                                        Hoga n Guns                           www.pecarmory.com
     Aero Precision                    Chri stensen Arms                www. hoganguns.com
     www.Aeroprecisionusa.com          www.christensenarms.com                                                Persona l Defense Warehouse
                                                                        Huldra Arms                           www.pdwarehouse.com
     A lexander Arms                   Christian Arm ory Works          www. huldraarms.com
     www.Alexa nderarms .com           www.christianarmoryworks.com                                           Precision Firearms
                                                                        I                                     www.precisionfirearms.com
     Alex Pro Firearms                 CMMG                             Integrity Arm s
     www.apfarmory.com                 www.cmmginc.com                  www.customar15.net                    Precision Reflex
                                                                                                              www.precis ionreflex.com
     American Spirit Arms              Colt Competition Rifles          Invincible Arms
     www.america nspirita rms .com     www.coltcompetitionrifle.com     www.invi nciblearms.com               Primary Weapons Systems
                                                                                                              www.primaryweapons.com
     America n Tactical Imports        Colt Firearms                    Iron Ridge Gu ns
     www.america ntactical. us         www.colt.com                     www.i ronridgeguns.com                Q
                                                                                                              Quality Arms
     American Firearms Manufacturing   Compass Lake Engineering         J                                     www.qualityarm sidaho.com
     www.afmco.com                     www.compass lake.com             JARD, Inc.
                                                                        www.jard inc.com                      Quentin Defense
     Anderson Manufacturing            D                                                                      www.quentindefense.com
     www.andersonrifl es.com           Daniel Defense                   Jesse James Firearms
                                       www.deztactica larms.com         www.jjfu .com                         R
    AR57 Center                                                                                               Radical Firearms
    www.57center.com                   Del -Ton                         JP Rifles                             ww.radical firearms.com
                                       www.del -ton.com                 www. jprifles.com
    Ares Arms                                                                                                 Ranger Proof
    www.aresarms .com                  DEZ Tactical                     K                                     www.rangerproof.com
                                       www.deztacticalarms.com          Kaufmann Tactical Firearms
    Ares Defense                                                        www.kt-firearms.com                   Rebel Arms
    www.aresdefense.com                Diamondback Firearms                                                   www. rebelarms.com
                                       www.diamondbackfirearms.com      KE Arms
    Arsenal Democracy                                                   www.kearms.com                        Red X Arms
    www.arsenaldemocracy.com           Double Star                                                            www.shop. redxarms.com
                                       www.starl5 .com                  Knights Armament
    Armalite                                                            www. knightarmco.com                  Remington Arms
    www.a rmal ite.com                 DPMS                                                                   www. remington.com
                                       www.dpmsinc.com                  L
    Armsco r                                                            Lancer Systems                        R Guns
    www.armscor.com                    Dragon Fire Armory               www.lancer-systems.com                www.rguns.net
                                       www.dragonfirearmory.com
    Arms Tech Ltd                                                       Larue Tactical                        RIP Tacti cal
    www.a rm stechltd .com             Dreadnaught Industries           www.l arue.com                        www. rip-tactica l.com
                                       www.dreaanaught-industries.com
    Astra Arms                                                          Les Baer                              RND Manufacturing
    www.astra-arms .ch                 DSAArms                          www.lesbaer.com                       www.rndrifl es.com
                                       www.dsarms.com
    AXTS Weapons                                                        Lewis Machine and Tool                Rock Ri ver Arms
    www.axtsweapons.com                E                                www.lewismachine.net                  www.rockriverarms.com
                                       Edward Arms
    B                                  www.edwardarms .com              LWRC                                  Ruger
    Barnes Precision                                                    www.lwrci.com                         www.ruger.com
    www.usamade-ar15parts.com          Erathr3
                                       www.erathr3.com                  M                                    s
    Barrett                                                             MGI Military                         Savan nah River Armory
    www.barrett.net                    F                                www.mgi-military.com                  www.savannah riverarmory.com
                                       Firebird Precision
    Battle Born                        www.firebirdprecision .com       MHT Defense                          Schmeisser Germany
    www.battlebornu sa.com                                              www. mhtdefense.com                  www.sch meisser-germany.de
                                       Fulton Armory
    Battle Rifle Company               www.fu lton-arm ory.com          Midwest Industri es                  Seekins Precision
    www. battleriflecompa ny.com                                        www.midwesti ndustriesinc.com        www.seekinsprecision .com
                                       FNH USA •••Now FN America ....
    Bazooka Brothers                   www.fnamerica.com                MMC Armory                           SLR1 5 Rifles
    www. ba zookabrothers.com                                           www. mmcarmory.com                   www.slr15 rifles.com
                                       Franklin Armory
    BCI Defense                        www.frank linarmory.com          Mohawk Armory                        Sharps Ri fle Company
    www.bcidefense.com                                                  www.mohawkarmory.com                 www.srcarms.com
                                       G
    Bl ack Heart International         GAR Arms                         Mossberg                             SI Defense
    www.bhigear.com                    www.gar-a rms.com                www.mossberg.com                     www.si-defense.com

    Black Rain Ordnance                H                                N                                    Signature Manufacturing
    www.blackrainordnance.com          Hatcher Gun Company              NEMOArms                             www.signaturemanufactures.com
                                       www.hatchergun .com              www.nemoarms.com



                                                                                                   A ppend ix I- AR Ma nufacturers • 225
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      Sig Sauer                       Stubborn Mule Outdoor Supply   www.texascustomguns.net   Vidalia Police Supply
      www.sigsauer.com                www.smosarms.com                                         www.kavodcustom .com
                                                                     Thor Global Defense
      Sionics Weapon Systems          Surplus Ammo and Arms          www.thorgdg.com           w
      www.sionicsweaponsystems.com    www.surplusammo.com                                      War Sport Industries
                                                                     TNW Firearms              www.warsport-us.net
      Smith & Wesson                  Superior Arms                  www.tnwfirearms.com
      www.smith-wesson.com            www.superiorarms.com                                     Wilson Combat
                                                                     TR Enabling               www.wilsoncombat.com
      Specialized Dynamics            S.W.O.R.D. International       www.tr-enabling.com
      www.specializeddynamics.com     www.sword-int.com                                        Windham Weaponry
                                                                     Trident Arms              www.windhamweaponry.com
      Specialized Tactical Systems    T                              www.tridentarms.us
      www.specializedtactical.com     Tactical Arms Manufacturer                               X
                                      www.tacticalarmsmfr.com        u                         Xtreme Machining
      Spikes Tactical                                                USA Tactical Firearms     www.xtrememacliining.biz
      www.spikestactical .com         Tactical Firearms Solutions    www.usatf.us
                                      www.tfsarms.com                                          y
      Stag Arms                                                      V                         Yankee Hill Machine
      www.stagarms .com               Teppo Jutsu                    Valkyrie Armament         www.yhm .net
                                      www.teppojutsu .com            www.beltfedar.com
      Sterling Arsenal
      www.sterlingarsenal .com        Texas Black Rifle Company      Vltor Weapon Systems
                                      www.tbrci .com                 www.vltor.com
                                      Texas Custom Guns




     226        • Shooter's Bible Guide to AR-15s
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        Sports/ Shooting                                                                        US $19 .99/ Can $26.99




                       THE MOST RECENT INFORMATION
                    AND SPECS ON THE POPULAR AR-15 RIFLE
        There's no denying the popularity and intense fascination with AR-1 Ss among fire-
       arms enthusiasts today. Interest has grown rapidly over the past decade, spurred by
       the versatility of modern sporting rifles in addition to increased performance. Here,
       inside the mo~t comprehensive source to da_   t e in a newly updated second edition, is
       Doug Howlett and Robb Manning's expert approach to everything from the intriguing
       history of the AR to breaking down the weapon piece by piece, choosing ammuni-
       tion, and even building your own gun.

       In this complete book of AR-style firearms, you can peruse the products of all manu-
       facturers, learn about the evolution of the AR from its uses in the military in the 1960s
       as well as gain essential knowledge on the parts and functions of the rifle. Also in-
       cluded are chapters on customizing and accessorizing ARs, and much more.

       DouG HOWLETT is an award-winning editor and writer who grew up hunting and shooting.
       He began his writing career as a newspaper reporter before combining his passions for writ-
       ing and the outdoors at the National Rifle Association , where he worked as assistant editor of
       American Hunter magazine. He has served as editor-in-chief of Turkey Call magazine at the
       National Wild Turkey Federation, as well as deputy editor at Outdoor Life magazine in New
       York City. It was on a hunt he covered for Outdoor Life that he discovered the absolute thrill
       of hunting with modern tactical rifles.

       ROBB MANNING grew up in southern Wisconsin before enlisting in the US Marine Corps,
       where he served for nearly eleven years. During this time, he developed a passion and knowl-
       edge for firearms of all types. Robb has been writing professionally since 201 0, and his work
       has appeared in AR Guns & Hunting, Predator Xtreme , Gun Digest, and Modern Shooter.
       He currently has two reoccurring columns in On Wisconsin Outdoors newspaper and is the
       author of the Glock Quick Reference Guide and the current editor of Gun World magazine.




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                    New York, New York
                    www.skyhorsepublishing.com
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  Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 122 of 256 Page ID #4042
9/27/23, 2:54 PM                                               Illinois General Assembly - Illinois Compiled Statutes




  Bills & Resolutions         Illinois Compiled Statutes
  Compiled Statutes
                               ILCS Listing      Public Acts Seargh           Suidg      Disclginiar
  Public Acts
                              Information maintained by the Legislative Reference Bureau
  Legislative Reports         Updating the database of the Illinois Compiled Statutes (ILCS) is an ongoing
                              process. Recent laws may not yet be included in the ILCS database, but they are
  IL Constitution
                              found on this site as Public Acts soon after they become law. For information
  Legislative Guide           concerning the relationship between statutes and Public Acts, refer to the Guide.

  Legislative Glossary        Because the statute database is maintained primarily for legislative drafting
                              purposes, statutory changes are sometimes included in the statute database before
                              they take effect. If the source note at the end of a Section of the statutes includes a
 Search By Number             Public Act that has not yet taken effect, the version of the law that is currently in
 (example: HB0001)            effect may have already been removed from the database and you should refer to
                              that Public Act to see the changes made to the current law.
   Go Search Tips
                                  (720 ILCS 5/24-1.9)
                                   Sec. 24-1.9. Manufacture, possession, delivery, sale, and
                              purchase of assault weapons, .50 caliber rifles, and .50 caliber
 Search By Keyword            cartridges.
                                  (a) Definitions. In this Section:
                                   (1) "Assault weapon" means any of the following, except as
 Search Tips                  provided in subdivision (2) of this subsection:
                                      (A) A semiautomatic rifle that has the capacity to
                                  accept a detachable magazine or that may be readily modified
 Advanced Search
                                  to accept a detachable magazine, if the firearm has one or
                                  more of the following:
  HIINOIS                                  (i) a pistol grip or thumbhole stock;
                                           (ii) any feature capable of functioning as a

 flURt                                 protruding grip that can be held by the non-trigger
                                       hand;
                                           (iii) a folding, telescoping, thumbhole, or
                                       detachable stock, or a stock that is otherwise foldable
                                       or adjustable in a manner that operates to reduce the
                                       length,   size, or any other dimension, or otherwise
                                       enhances the concealability of, the weapon;
                                           (iv) a flash suppressor;
                                           (v) a grenade launcher;
                                           (vi) a shroud attached to the barrel or that
                                       partially or completely encircles the barrel, allowing
                                       the bearer to hold the firearm with the non-trigger hand
                                       without being burned,      but excluding a slide that
                                       encloses the barrel.
                                      (B) A semiautomatic rifle that has a fixed magazine
                                  with the capacity to accept more than 10 rounds, except for
                                  an attached tubular device designed to accept, and capable
                                  of operating only with, .22 caliber rimfire ammunition.
                                      (C) A semiautomatic pistol that has the capacity to
                                  accept a detachable magazine or that may be readily modified
                                  to accept a detachable magazine, if the firearm has one or
                                  more of the following:
                                           (i) a threaded barrel;
                                           (ii) a second pistol grip or another feature
                                       capable of functioning as a protruding grip that can be
                                       held by the non-trigger hand;
                                           (iii) a shroud attached to the barrel or that
https://www.ilga.gov/legislation/ilcs/fulltext.asp?DocName=072000050K24-1.9                                             1/10
  Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 123 of 256 Page ID #4043
9127/23, 2:54 PM                                                 Illinois General Assembly - Illinois Compiled Statutes

                                          partially or completely encircles the barrel, allowing
                                          the bearer to hold the firearm with the non-trigger hand
                                          without being burned,       but excluding a slide that
                                          encloses the barrel;
                                              (iv) a flash suppressor;
                                              (v) the capacity to accept a detachable magazine
                                          at some location outside of the pistol grip; or
                                              (vi) a buffer tube, arm brace, or other part that
                                          protrudes horizontally behind the pistol grip and is
                                          designed or redesigned to allow or facilitate a firearm
                                          to be fired from the shoulder.
                                         (D) A semiautomatic pistol that has a fixed magazine
                                     with the capacity to accept more than 15 rounds.
                                         (E) Any shotgun with a revolving cylinder.
                                         (F) A semiautomatic shotgun that has one or more of
                                     the following:
                                              (i) a pistol grip or thumbhole stock;
                                              (ii) any feature capable of functioning as a
                                         protruding grip that can be held by the non-trigger
                                          hand;
                                              (iii) a folding or thumbhole stock;
                                              (iv) a grenade launcher;
                                              (v) a fixed magazine with the capacity of more
                                          than 5 rounds; or
                                              (vi) the capacity to accept a detachable
                                         magazine.
                                         (G) Any semiautomatic firearm that has the capacity
                                     to accept a belt ammunition feeding device.
                                         (H) Any firearm that has been modified to be operable
                                     as an assault weapon as defined in this Section.
                                         (I) Any part or combination of parts designed or
                                     intended to convert a firearm into an assault weapon,
                                     including any combination of parts from which an assault
                                     weapon may be readily assembled if those parts are in the
                                     possession or under the control of the same person.
                                         (J) All of the following rifles, copies, duplicates,
                                     variants, or altered facsimiles with the capability of any
                                     such weapon:
                                              (i) All AK types, including the following:
                                                  (I) AK, AK47, AK47S, AK-74, AKM, AKS, ARM,
                                               MAK90, MISR, NHM90, NHM91, SA85, SA93, Vector Arms
                                               AK-47, VEPR, WASR-10, and WUM.
                                                  (II) IZHMASH Saiga AK.
                                                  (III) MAADI AK47 and ARM.
                                                  (IV) Norinco 56S, 56S2, 84S, and 86S.
                                                  (V) Poly Technologies AK47 and AKS.
                                                  (VI) SKS with a detachable magazine.
                                              (ii) all AR types, including the following:
                                                  (I) AR-10.
                                                  (II) AR-15.
                                                  (III) Alexander Arms Overmatch Plus 16.
                                                 -(IV) Armalite M15 22LR Carbine.
                                                  (V) Armalite M15-T.
                                                  (VI) Barrett REC7.
                                                -*(VII) Beretta AR-70.
                                                  (VIII) Black Rain Ordnance Recon Scout.
                                                 —(IX) Bushmaster ACR.
                                                  (X) Bushmaster Carbon 15.
                                                  (XI) Bushmaster MOE series.
                                                  (XII) Bushmaster XM15.
                                                 —(XIII) Chiappa Firearms MFour rifles.
                                                  (XIV) Colt Match Target rifles.

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                                                    (XV) CORE Rifle Systems C0RE15 rifles.
                                                    (XVI) Daniel Defense M4A1 rifles.
                                                    (XVII) Devil Dog Arms 15 Series rifles.
                                                    (XVIII) Diamondbaclc DB15 rifles.
                                                    (XIX) DoubleStar AR rifles.
                                                    (XX) DPMS Tactical rifles.
                                                    (XXI) DSA Inc. ZM-4 Carbine.
                                                    (XXII) Heclcler & Koch MR556.
                                                    (XXIII) High Standard HSA-15 rifles.
                                                    (XXIV) Jesse James Nomad AR-15 rifle.
                                                    (XXV) Knight's Armament SR-15.
                                                    (XXVI) Lancer L15 rifles.
                                                    (XXVII) MGI Hydra Series rifles.
                                                    (XXVIII) Mossberg MMR Tactical rifles.
                                                    (XXIX) Noreen Firearms BN 36 rifle.
                                                   (XXX) Olympic Arms.
                                                   (XXXI) POF USA P415.
                                                   (XXXII) Precision Firearms AR rifles.
                                                   (XXXIII) Remington R-15 rifles.
                                                   (XXXIV) Rhino Arms AR rifles.
                                                   (XXXV) Rock River Arms LAR-15 or Rock River
                                                Arms LAR-47.
                                                 — (XXXVI) Sig Sauer SIG516 rifles and MCX
                                                rifles.
                                                   (XXXVII) Smith & Wesson M&P15 rifles.
                                                   (XXXVIII) Stag Arms AR rifles.
                                                   (XXXIX) Sturm, Ruger & Co. SR556 and AR-556
                                                rifles.
                                                   (XL) Uselton Arms Air-Lite M-4 rifles.
                                                   (XLI) Windham Weaponry AR rifles.
                                                   (XLII) WMD Guns Big Beast.
                                                   (XLIII) Yankee Hill Machine Company, Inc.
                                                YHM-15 rifles.
                                               (iii) Barrett M107A1.
                                               (iv) Barrett M82A1.
                                               (v) Beretta CX4 Storm.
                                               (vi) Calico Liberty Series.
                                               (vii) CETME Sporter.
                                               (viii) Daewoo K-1, K-2, Max 1, Max 2, AR 100, and
                                           AR HOC.
                                               (ix) Fabrique Nationale/FN Herstal FAL, LAR, 22
                                           FNC, 308 Match, LlAl Sporter, PS90, SCAR, and FS2000.
                                               (x) Feather Industries AT-9.
                                               (xi) Galil Model AR and Model ARM.
                                               (xii) Hi-Point Carbine.
                                               (xiii) HK-91, HK-93, HK-94, HK-PSG-1, and HK USC.
                                               (xiv) IWI TAVOR, Galil ACE rifle.
                                               (xv) Kel-Tec Sub-2000, SU-16, and RFB.
                                               (xvi) SIG AMT, SIG PE-57, Sig Sauer SG 550, Sig
                                           Sauer SG 551, and SIG MCX.
                                               (xvii) Springfield Armory SAR-48.
                                               (xviii) Steyr AUG.
                                               (xix) Sturm, Ruger & Co. Mini-14 Tactical Rifle
                                           M-14/20CF.
                                               (xx) All Thompson rifles, including the
                                           following:
                                                    (I) Thompson MISB.
                                                    (II) Thompson TllOOD.
                                                    (III) Thompson T150D.
                                                    (IV) Thompson TIB.
                                                    (V) Thompson TIBIOOD.

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                                                 (VI) Thompson T1B50D.
                                                 (VII) Thompson TIBSB.
                                                 (VIII) Thompson Tl-C.
                                                 (IX) Thompson TID.
                                                 (X) Thompson TISB.
                                                 (XI) Thompson T5.
                                                 (XII) Thompson T5100D.
                                                 (XIII) Thompson TM1.
                                                 (XIV) Thompson TMIC.
                                            (xxi) UMAREX UZI rifle.
                                            (xxii) UZI Mini Carbine, UZI Model A Carbine, and
                                        UZI Model B Carbine.
                                            (xxiii) Valmet M62S, M71S, and M78.
                                            (xxiv) Vector Arms UZI Type.
                                            (xxv) Weaver Arms Nighthawk.
                                            (xxvi) Wilkinson Arms Linda Carbine.
                                        (K) All of the following pistols, copies, duplicates,
                                    variants, or altered facsimiles with the capability of any
                                    such weapon thereof:
                                            (i) All AK types, including the following:
                                                 (I) Centurion 39 AK pistol.
                                                 (II) CZ Scorpion pistol.
                                                 (III) Draco AK-47 pistol.
                                                 (IV) HCR AK-47 pistol.
                                                 (V) IO Inc. Hellpup AK-47 pistol.
                                                (VI) Krinkov pistol.
                                                (VII) Mini Draco AK-47 pistol.
                                                (VIII) PAP M92 pistol.
                                                (IX) Yugo Krebs Krink pistol.
                                            (ii) All AR types, including the following:
                                                (I) American Spirit AR-15 pistol.
                                                (II) Bushmaster Carbon 15 pistol.
                                                (III) Chiappa Firearms M4 Pistol GEN II.
                                                (IV) CORE Rifle Systems C0RE15 Roscoe pistol.
                                                (V) Daniel Defense MK18 pistol.
                                                (VI) DoubleStar Corporation AR pistol.
                                                (VII) DPMS AR-15 pistol.
                                                (VIII) Jesse James Nomad AR-15 pistol.
                                                (IX) Olympic Arms AR-15 pistol.
                                                (X) Osprey Armament MK-18 pistol.
                                                (XI) POF USA AR pistols.
                                                (XII) Rock River Arms LAR 15 pistol.
                                                (XIII) Uselton Arms Air-Lite M-4 pistol.
                                            (iii) Calico pistols.
                                            (iv) DSA SA58 PKP FAL pistol.
                                            (v) Encom MP-9 and MP-45.
                                            (vi) Heckler & Koch model SP-89 pistol.
                                            (vii) Intratec AB-10, TEC-22 Scorpion, TEC-9, and
                                        TEC-DC9.
                                            (viii) IWI Galil Ace pistol, UZI PRO pistol.
                                            (ix) Kel-Tec PLR 16 pistol.
                                            (x) All MAC types, including the following:
                                                (I) MAC-10.
                                                (II) MAC-11.
                                                (III) Masterpiece Arms MPA A930 Mini Pistol,
                                             MPA460 Pistol, MPA Tactical Pistol, and MPA Mini
                                             Tactical Pistol.
                                                (IV) Military Armament Corp. Ingram M-11.
                                                (V) Velocity Arms VMAC.
                                            (xi) Sig Sauer P556 pistol.


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                                              (xii) Sites Spectre.
                                              (xiii) All Thompson types, including the
                                          following:
                                                  (I) Thompson TA510D.
                                                  (II) Thompson TAS.
                                              (xiv) All UZI types, including Micro-UZI.
                                         (L) All of the following shotguns, copies,
                                   duplicates,       variants,  or   altered  facsimiles  with the
                                   capability of any such weapon thereof:
                                             (i) DERYA Anakon MC-1980, Anakon SD12.
                                             (ii) Doruk Lethal shotguns.
                                             (iii) Franchi LAW-12 and SPAS 12.
                                             (iv) All IZHMASH Saiga 12 types, including the
                                          following:
                                                  (I) IZHMASH Saiga 12.
                                                  (II) IZHMASH Saiga 12S.
                                                  (III) IZHMASH Saiga 12S EXP-01.
                                                  (IV) IZHMASH Saiga 12K.
                                                  (V) IZHMASH Saiga 12K-030.
                                                  (VI) IZHMASH Saiga 12K-040 Taktika.
                                             (v) Streetsweeper.
                                             (vi) Striker 12.
                                   (2) "Assault weapon" does not include:
                                         (A) Any firearm that is an unserviceable firearm or
                                   has been made permanently inoperable.
                                         (B) An antique firearm or a replica of an antique
                                   firearm.
                                         (C) A firearm that is manually operated by bolt,
                                   pump, lever or slide action, unless the firearm is a shotgun
                                   with a revolving cylinder.
                                         (D) Any air rifle as defined in Section 24.8-0.1 of
                                   this Code.
                                         (E) Any handgun, as defined under the Firearm
                                   Concealed Carry Act,         unless otherwise listed in this
                                   Section.
                                    (3) "Assault weapon attachment" means any device capable of
                               being attached to a firearm that is specifically designed for
                               making or converting a firearm into any of the firearms listed
                               in paragraph (1) of this subsection (a).
                                     (4) "Antique firearm" has the meaning ascribed to it in 18
                               U.S.C. 921(a) (16).
                                    (5) ".50 caliber rifle" means a centerfire rifle capable of
                               firing a .50 caliber cartridge. The term does not include any
                               antique firearm, any shotgun including a shotgun that has a
                               rifle barrel, or any muzzle-loader which uses black powder for
                               hunting or historical reenactments.
                                      (6) ".50 caliber cartridge" means a cartridge in .50 BMG
                               caliber, either by designation or actual measurement, that is
                               capable of being fired from a centerfire rifle. The term ".50
                               caliber cartridge" does not include any memorabilia or display
                               item that is filled with a permanent inert substance or that is
                               otherwise permanently altered in a manner that prevents ready
                               modification for use as live ammunition or shotgun ammunition
                               with a caliber measurement that is equal to or greater than .50
                               caliber.
                                    (7) "Detachable magazine" means an ammunition feeding device
                               that may be removed from a firearm without disassembly of the
                               firearm action, including an ammunition feeding device that may
                               be readily removed from a firearm with the use of a bullet,
                               cartridge, accessory, or other tool, or any other object that
                               functions as a tool, including a bullet or cartridge.
                                    (8) "Fixed magazine" means an ammunition feeding device that
                               is permanently attached to a firearm, or contained in and not
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                             removable from a fireai?m, or that is otherwise not a detachable
                             magazine, but does not include an attached tubular device
                             designed to accept, and capable of operating only with, .22
                             caliber rimfire ammunition.
                                  (b) Except as provided in subsections (c) , (d) , and (e) , on
                             or after the effective date of this amendatory Act of the 102nd
                             General Assembly, it is unlawful for any person within this
                             State to knowingly manufacture,           deliver,   sell,   import,   or
                             purchase or cause to be manufactured, delivered, sold, imported,
                             or purchased by another, an assault weapon, assault weapon
                             attachment, .50 caliber rifle, or .50 caliber cartridge.
                                      (c) Except as otherwise provided in subsection (d),
                             beginning January 1, 2024, it is unlawful for any person within
                             this State to knowingly possess an assault weapon, assault
                             weapon attachment, .50 caliber rifle, or .50 caliber cartridge.
                                  (d) This Section does not apply to a person's possession of
                             an assault weapon, assault weapon attachment, .50 caliber rifle,
                             or .50 caliber cartridge device if the person lawfully possessed
                             that assault weapon, assault weapon attachment,             .50 caliber
                             rifle, or .50 caliber cartridge prohibited by subsection (c) of
                             this Section, if the person has provided in an endorsement
                             affidavit, prior to January 1, 2024, under oath or affirmation
                             and in the form and manner prescribed by the Illinois State
                             Police, no later than October 1, 2023:
                                      (1) the affiant's Firearm Owner's Identification Card
                                 number;
                                      (2) an affirmation that the affiant: (i) possessed an
                                 assault weapon,       assault weapon attachment,        .50 caliber
                                 rifle, or .50 caliber cartridge before the effective date of
                                 this amendatory Act of the 102nd General Assembly; or (ii)
                                 inherited the assault weapon, assault weapon attachment, .50
                                 caliber rifle, or .50 caliber cartridge from a person with
                                 an endorsement       under this      Section or     from a person
                                 authorized under subdivisions (1) through (5) of subsection
                                  (e)    to   possess    the   assault    weapon,   assault    weapon
                                 attachment, .50 caliber rifle, or .50 caliber cartridge; and
                                      (3) the make, model, caliber, and serial number of
                                 the .50 caliber rifle or assault weapon or assault weapons
                                 listed in paragraphs (J), (K), and (L) of subdivision (1) of
                                 subsection (a) of this Section possessed by the affiant
                                 prior to the effective date of this amendatory Act of the
                                 102nd General Assembly and any assault weapons identified
                                 and published by the Illinois State Police pursuant to this
                                 subdivision (3). No later than October 1, 2023, and every
                                 October 1 thereafter, the Illinois State Police shall, via
                                 rulemaking, identify, publish, and make available on its
                                 website,     the   list of     assault weapons      subject   to  an
                                 endorsement affidavit under this subsection (d) . The list
                                 shall     identify,   but   is   not   limited to,     the   copies,
                                 duplicates, variants, and altered facsimiles of the assault
                                 weapons identified in paragraphs           (J),  (K), and (L)     of
                                 subdivision (1) of subsection (a) of this Section and shall
                                 be consistent with the definition of "assault weapon"
                                 identified in this Section. The Illinois State Police may
                                 adopt emergency rulemaking in accordance with Section 5-45
                                 of the Illinois Administrative Procedure Act. The adoption
                                 of emergency rules authorized by Section 5-45 of the
                                 Illinois Administrative Procedure Act and this paragraph is
                                 deemed to be necessary for the public interest, safety, and
                                 welfare.
                                   The affidavit form shall include the following statement
                             printed in bold type: "Warning: Entering false information on
                             this form is punishable as perjury under Section 32-2 of the
                             Criminal Code of 2012. Entering false information on this form

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                             is a violation of the Firearm Owners Identification Card Act."
                                  In any administrative, civil, or criminal proceeding in this
                             State,    a completed endorsement affidavit submitted to the
                             Illinois State Police by a person under this Section creates a
                             rebuttable presumption that the person is entitled to possess
                             and transport the assault weapon, assault weapon attachment, .50
                             caliber rifle, or .50 caliber cartridge.
                                     Beginning 90 days after the effective date of this
                             amendatory Act of       the  102nd General Assembly,     a person
                             authorized under this Section to possess an assault weapon,
                             assault weapon attachment, .50 caliber rifle, or .50 caliber
                             cartridge shall possess such items only:
                                      (1) on private property owned or immediately
                                  controlled by the person;
                                      (2) on private property that is not open to the
                                 public with the express permission of the person who owns or
                                  immediately controls such property;
                                      (3) while on the premises of a licensed firearms
                                 dealer or gunsmith for the purpose of lawful repair;
                                      (4) while engaged in the legal use of the assault
                                 weapon, assault weapon attachment, .50 caliber rifle, or .50
                                 caliber cartridge at a properly licensed firing range or
                                 sport shooting competition venue; or
                                      (5) while traveling to or from these locations,
                                 provided that the assault weapon, assault weapon attachment,
                                 or .50 caliber rifle is unloaded and the assault weapon,
                                 assault weapon attachment, .50 caliber rifle, or .50 caliber
                                 cartridge is enclosed in a case, firearm carrying box,
                                 shipping box, or other container.
                                     Beginning on January 1, 2024, the person with the
                             endorsement for an assault weapon, assault weapon attachment,
                             .50 caliber rifle,      or .50 caliber cartridge or a person
                             authorized under subdivisions (1) through (5) of subsection (e)
                             to possess an assault weapon, assault weapon attachment, .50
                             caliber rifle, or .50 caliber cartridge may transfer the assault
                             weapon, assault weapon attachment, .50 caliber rifle, or .50
                             caliber cartridge only to an heir, an individual residing in
                             another state maintaining it in another state, or a dealer
                             licensed as a federal firearms dealer under Section 923 of the
                             federal Gun Control Act of 1968. Within 10 days after transfer
                             of the weapon except to an heir, the person shall notify the
                             Illinois State Police of the name and address of the transferee
                             and comply with the requirements of subsection (b) of Section 3
                             of the Firearm Owners Identification Card Act. The person to
                             whom the weapon or ammunition is transferred shall, within 60
                             days of the transfer, complete an affidavit required under this
                             Section. A person to whom the weapon is transferred may transfer
                             it only as provided in this subsection.
                                    Except as provided in subsection (e) and beginning on
                             January 1, 2024, any person who moves into this State in
                             possession of an assault weapon, assault weapon attachment, .50
                             caliber rifle, or .50 caliber cartridge shall, within 60 days,
                             apply for a Firearm Owners Identification Card and complete an
                             endorsement application as outlined in subsection (d).
                                 Notwithstanding any other law, information contained in the
                             endorsement affidavit shall be confidential, is exempt from
                             disclosure under the Freedom of Information Act, and shall not
                             be disclosed, except to law enforcement agencies acting in the
                             performance of their duties.
                                 (e) The provisions of this Section regarding the purchase or
                             possession of assault weapons, assault weapon attachments, .50
                             caliber rifles, and .50 cartridges, as well as the provisions of
                             this Section that prohibit causing those items to be purchased


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                               or possessed, do not apply to:
                                        (1) Peace officers, as defined in Section 2-13 of
                                    this Code.
                                        (2) Qualified law enforcement officers and qualified
                                    retired law enforcement officers as defined in the Law
                                    Enforcement Officers Safety Act of 2004 (18 U.S.C. 926B and
                                    926C) and as recognized under Illinois law.
                                        (3) Acquisition and possession by a federal. State,
                                    or local law enforcement agency for the purpose of equipping
                                    the agency's peace officers as defined in paragraph (1) or
                                    (2) of this subsection (e).
                                        (4) Wardens, superintendents, and keepers of prisons,
                                    penitentiaries,   jails,   and other institutions     for the
                                    detention of persons accused or convicted of an offense.
                                        (5) Members of the Armed Services or Reserve Forces
                                    of the United States or the Illinois National Guard, while
                                   performing their official duties or while traveling to or
                                    from their places of duty.
                                        (6) Any company that employs armed security officers
                                    in this State at a nuclear energy, storage, weapons, or
                                   development site or facility regulated by the federal
                                   Nuclear Regulatory Commission and any person employed as an
                                   armed security force member at a nuclear energy, storage,
                                   weapons, or development site or facility regulated by the
                                    federal Nuclear Regulatory Commission who has completed the
                                   background screening and training mandated by the rules and
                                   regulations of the federal Nuclear Regulatory Commission and
                                   while performing official duties.
                                        (7) Any private security contractor agency licensed
                                   under    the   Private   Detective,   Private   Alarm,  Private
                                   Security, Fingerprint Vendor, and Locksmith Act of 2004 that
                                   employs    private   security   contractors   and any private
                                   security contractor who is licensed and has been issued a
                                   firearm control card under the Private Detective, Private
                                   Alarm, Private Security, Fingerprint Vendor, and Locksmith
                                   Act of 2004 while performing official duties.
                                       The provisions of this Section do not apply to the
                               manufacture, delivery, sale, import, purchase, or possession of
                               an assault weapon, assault weapon attachment, .50 caliber rifle,
                               or .50 caliber cartridge or causing the manufacture, delivery,
                               sale, importation, purchase, or possession of those items:
                                        (A) for sale or transfer to persons authorized under
                                   subdivisions (1) through (7) of this subsection (e) to
                                   possess those items;
                                        (B) for sale or transfer to the United States or any
                                   department or agency thereof; or
                                        (C) for sale or transfer in another state or for
                                   export.
                                      This Section does not apply to or affect any of the
                               following:
                                        (i) Possession of any firearm if that firearm is
                                   sanctioned by the International Olympic Committee and by USA
                                   Shooting, the national governing body for international
                                   shooting competition in the United States, but only when the
                                   firearm is in the actual possession of an Olympic target
                                   shooting competitor or target shooting coach for the purpose
                                   of storage, transporting to and from Olympic target shooting
                                   practice or events if the firearm is broken down in a
                                   nonfunctioning state, is not immediately accessible, or is
                                   unloaded and enclosed in a firearm case, carrying box,
                                   shipping box, or other similar portable container designed
                                   for the safe transportation of firearms, and when the
                                   Olympic target shooting competitor or target shooting coach
                                   is engaging in those practices or events. For the purposes
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                                 of this paragraph (8), "firearm" has the meaning provided in
                                 Section 1.1 of the Firearm Owners Identification Card Act.
                                      (ii) Any nonresident who transports, within 24
                                 hours, a weapon for any lawful purpose from any place where
                                 the nonresident may lawfully possess and carry that weapon
                                 to any other place where the nonresident may lawfully
                                 possess and carry that weapon if, during the transportation,
                                 the weapon is unloaded, and neither the weapon nor any
                                 ammunition being transported is readily accessible or is
                                 directly accessible from the passenger compartment of the
                                 transporting vehicle. In the case of a vehicle without a
                                 compartment separate from the driver's compartment, the
                                 weapon or ammunition shall be contained in a                locked
                                 container other than the glove compartment or console.
                                      (iii) Possession of a weapon at an event taking place
                                 at the World Shooting and Recreational Complex at Sparta,
                                 only while engaged in the legal use of the weapon, or while
                                 traveling to or from that location if the weapon is broken
                                 down     in  a   nonfunctioning   state,    is  not   immediately
                                 accessible, or is unloaded and enclosed in a firearm case,
                                 carrying box,      shipping box,   or other similar portable
                                 container designed for the safe transportation of firearms.
                                      (iv) Possession of a weapon only for hunting use
                                 expressly permitted under the Wildlife Code,            or while
                                 traveling to or from a location authorized for this hunting
                                 use under the Wildlife Code if the weapon is broken down in
                                 a nonfunctioning state, is not immediately accessible, or is
                                 unloaded and enclosed in a firearm case, carrying box,
                                 shipping box, or other similar portable container designed
                                 for the safe transportation of firearms. By October 1, 2023,
                                 the    Illinois   State   Police,  in    consultation   with   the
                                 Department     of   Natural   Resources,    shall   adopt    rules
                                 concerning the list of applicable weapons approved under
                                 this subparagraph (iv). The Illinois State Police may adopt
                                 emergency rules in accordance with Section 5-45 of the
                                 Illinois Administrative Procedure Act. The adoption of
                                 emergency rules authorized by Section 5-45 of the Illinois
                                 Administrative Procedure Act and this paragraph is deemed to
                                 be necessary for the public interest, safety, and welfare.
                                      (v) The manufacture, transportation, possession,
                                 sale, or rental of blank-firing assault weapons and .50
                                 caliber rifles, or the weapon's respective attachments, to
                                 persons authorized or permitted, or both authorized and
                                 permitted,     to   acquire   and   possess these    weapons    or
                                 attachments for the purpose of rental for use solely as
                                 props for a motion picture, television, or video production
                                 or entertainment event.
                                    Any person not subject to this Section may submit an
                             endorsement affidavit if the person chooses.
                                  (f) Any sale or transfer with a background check initiated
                             to the Illinois State Police on or before the effective date of
                             this amendatory Act of the 102nd General Assembly is allowed to
                             be completed after the effective date of this amendatory Act
                             once an approval is issued by the Illinois State Police and any
                             applicable waiting period under Section 24-3 has expired.
                                 (g) The Illinois State Police shall take all steps necessary
                             to carry out the requirements of this Section within by October
                             1, 2023.
                                  (h) The Department of the State Police shall also develop
                             and implement a public notice and public outreach campaign to
                             promote awareness about the provisions of this amendatory Act of
                             the 102nd General Assembly and to increase compliance with this
                             Section.
                             (Source: P.A. 102-1116, eff. 1-10-23.)

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                         Exhibit B-10
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                                                                            I
                                                                            ~   DEPOSITION
                                                                                  EXHIBIT


                                   State of Illinois




                     Assault Weapon Identification Guide
          As listed or described in Illinois Compiled Statutes 720 ILCS 5/24-1.9


        The purpose of this guide is to assist Law Enforcement Officers, Firearms
        Dealers, and the general public in the identification of assault weapons, as
      defined in the recently enacted Protect IDinois Communities Act. The IDinois
     State Police has prepared this guide in accordance with 720 ILCS 5/24-1.9(d)(3).


                                   Version 2023.10.01




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                                                                                2
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                                         a Definitions. In this Section:
       (1 "Assault wea on" means an of the followin ...
         (A) A semiautomatic rifle that has the capacity to accept a detachable magazine or that
                                                      a
            may be readily modified to accept detachable magazine, if the firearm has one or
            more of the followin :
      Red arrows point to the prohibited feature. Images depict representative examples of the prohibited
      feature· other confi urations exist.

                A
      (A)(i)        pistol grip




      (A)(i)        thumbhole
                    stock




           (A)(ii) any feature capable of functioning as a protruding grip that can be
           held b the non-tri er hand·
      (A)(ii)       Protruding
                    grip




                                                          3
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           (A)(iii) a folding, telescoping, thumbhole, or detachable stock, or a stock
           that is otherwise foldable or adjustable in a manner that operates to
           reduce the length, size, or any other dimension, or otherwise enhances the
           concealabili of, the wea on;
      (A)(iii)   Folding
                 stock




      (A)(iii)   Telescoping
                 stock




                                              4
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       (A)(iii)       Thumbhole
                      stock




                                   Pictured: US Ml Carbine with folding "paratrooper" stock (folded in lower
                                   image)

      (A)(iii)        Detachable
                      stock




               A iv
      (A)(iv)         Flash
                      suppressor

                                                                           \

      (A)(v)          Grenade
                      launcher




                                                         5
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          (A)(vi) a shroud attached to the barrel or that partially or completely
          encircles the barrel, allowing the bearer to hold the firearm with the non-
          trigger hand without being burned, but excluding a slide that encloses the
          barrel.
      (A)(vi)   Shroud




                                             6
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         (B) A semiautomatic rifle that has a fixed magazine with the capacity to
         accept more than 10 rounds, except for an attached tubular device designed
         to accept, and capable of operating only with, .22 caliber rimfire
         ammunition.
       (B)      Fixed
                magazine,
                capacity of
                more than
                10 rounds




                              Pictured: SKS with fixe      ma azine.




                                                    7
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         (C) A semiautomatic pistol that has the capacity to accept a detachable
         magazine or that may be readily modified to accept a detachable magazine,
         if the firearm has one or more of the followin
               C i a threaded barrel;
       C)(i)        Threaded
                    barrel




               (C)(ii) a second pistol grip or another feature capable of functioning as a
                rotrudin        that can be held b the non-tri er hand·
       (C)(ii)      Second
                    pistol grip
                    (or other
                    protruding
                    grip)




                                                  8
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            (C)(iii) a shroud attached to the barrel or that partially or completely
            encircles the barrel, allowing the bearer to hold the firearm with the non-
            trigger hand without being burned, but excluding a slide that encloses the
            barrel;
       (C)(iii)   Shroud




             C iv a flash su
      (C)(iv)     Flash
                  suppressor




                                              9
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            (C)(v) the capacity to accept a detachable magazine at some location
            outside of the istol ri ; or
      (C)(v)     Capacity to
                 accept a
                 detachable
                 magazine at
                 some
                 location
                 outside of
                 the pistol
                 grip




            (C)(vi) a buffer tube, arm brace, or other part that protrudes horizontally
            behind the pistol grip and is designed or redesigned to allow or facilitate
            a firearm to be fired from the shoulder.
       (C)(vi)   Buffer tube




       (C)(vi)   Arm brace
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       (C)(vi)   Other part
                 that
                 protrudes
                 horizontally
                 behind
                 pistol grip




                                         11
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        (D) A semiautomatic pistol that has a fixed magazine with the capacity to
        acce t more than 15 rounds.
      (D)     Fixed
              magazine
              with
              capacity to
              accept more
              than 15
              rounds



                            Pictured: Mauser C96 "Broomhandle" w/ fixed 20 round ma azine




                                                    12
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       (E)        A revolving
                  cylinder




                                Pictured: SRM Arms SRM 1216




                                                13
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                 A semiautomatic shot un that has one or more of the followin
                F
      (F)(i)




           (F)(ii) any feature capable of functioning as a protruding grip that can be
           held b the non-tri er hand;
      (F)(ii)       Feature
                    capable of
                    functioning
                    as
                    protruding
                    grip



                F iii a foldin or thumbhole stock;
      (F)(iii)      Folding
                    stock




      (F)(iii)      Thumbhole
                    stock




                                                14
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                               Pictured: Saiga 12 gauge semiautomatic shotgun with 37 mm flare launcher
                               attached under the barrel. Grenade launcher will look similar.

                (v a fixed ma
      (F)(v)     Fixed
                 magazine
                 with
                 capacity of
                 more than
                 5 rounds



                               Pictured: Tavor TS 12 - three fixed magazine tubes, each holding up to five   2
                               ¾" 12 au e shells

                vi the ca
      (F)(vi)    Capacity to
                 accept a
                 detachable
                 magazine




                                                         15
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        (G) Any semiautomatic firearm that has the capacity to accept a belt
        ammunition feedin device.
      (G)    Any
             semiautomatic
             firearm that
             has capacity
             to accept a
             belt
             ammunition
             feeding
             device




                             Pictured: Belt-fed, semiautomatic, RPD rifle




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         (H) Any firearm that has been modified to be operable as an assault weapon
         as defined in this Section.
       (H)    Any firearm
              that has been
              modified to be
              operable as an
              assault
              weapon [as
              defined by       Unmodified Ruger, model 10/22 (not restricted)
              720ILCS
              5/24-1.9
              (a)(l )]




                               Ruger, model 10/22, with aftermarket collapsible stock, pistol grip, and large
                               ca aci ma azine restricted




                                                       17
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            (I) Any part or combination of parts designed or intended to convert a
            firearm into an assault weapon, including any combination of parts from
            which an assault weapon may be readily assembled if those parts are in the
              ossession or under the control of the same
      (I)        Combination
                 ofparts
                 designed or
                 intended to
                 convert a
                 firearm into   Semiautomatic SKS Rifle with fixed, ten-round capacity magazine (not
                 an assault     restricted on its own)
                 weapon.


                                                                                                   +

                                   +
                                Combination of parts: Semiautomatic SKS rifle, plus pistol grip collapsible
                                stock, plus detachable magazine, plus flash suppressor (combination of parts
                                is restricted)




                                Semiautomatic SKS with above listed arts installed restricted




                                                        18
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                                    Statutor List of Restricted AK T                    es
          (J) All of the following rifles, copies, duplicates, variants, or altered
          facsimiles with the ca abili of an such wea on:
                               es, includin the followin :
                   (J)(i)(I) AK, AK47, AK47S, AK-74, A.KM, A.KS, ARM, MAK90, MISR,
                   NHM90, NHM91, SASS, SA93, Vector Arms AK-47, VEPR, WASR-10,
                   and WUM.
                 In each instance, a representative image is provided; however, these firearms may be found in various
                 confi orations.
       (J)(i)(I)       AK




                                   "AK" is a general term for a class of rifles based on the original
                                   Kalashnikov-desi ed AK.-47, an exam le of which is ictured here.
       (J)(i)(I)      AK47




       (J)(i)(I)      AK47S




                                  "S" variants of the AK series of rifle have a downward folding stock.
                                  Pictured is an AKS-47 rifle.




                                                             19
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      (J)(i)(I)   AK-74




      (J)(i)(I)   AKM




      (J)(i)(I)   AKS




      (J)(i)(I)   (Maadi)
                  ARM




      (J)(i)(I)   MAK.90




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       (J)(i)(D   (Maadi)
                  MISR




       (J)(i)(D   NHM90
                  (with
                  thumbhole
                  stock)




       (J)(i)(D   Norinco
                  NHM91




       (J)(i)(D   FEG SA85




       (J)(i)(D   Arsenal
                  (Bulgaria)
                  SA93




       (J)(i)(D   Vector
                  A.rmsAK-
                  47 (AKS)




                                         21
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      (J)(i)(I)    VEPR
                   (FM-
                   AK.47-11)




      (J)(i)(I)    WASR-10
                   with flash
                   suppressor




      (J)(i)(l)    WUM
                   (Romanian
                   WUMl)

                                  I ,,
      (J)(i)(II)   IZHMASH
                   SaigaAK




                   side folding
                   stock




                                         22
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       (J)(i)(III)    Maadi
                      ARM




                     i IV Norinco 56S 56S2 84S and 86S.
       (J)(i)(IV)    Norinco
                     56S




       (J)(i)(IV)    Norinco
                     56S2




       (J)(i)(IV)    Norinco
                     84S




       (J)(i)(IV)    Norinco
                     86S




                                             23
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                                Technolo ·es AK47 and AKS.
      (J)(i)(V)    Poly
                   Technologi
                   es AK.47




      (J)(i)(V)    Poly
                   Technologi
                   esAKS




              ( (i (VI SKS with a detachable ma
      (J)(i)(VI)   SKS with
                   detachable
                   magazine




                                                24
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          Other "AK-T              e" Rifles as defined b the Protectin Illinois Communities Act
       Palmetto State Armory
       (PSA) PSAK-47 GF3




       Century Arms VSKA




       Kalashnikov USA KR-103




       Riley Defense RAK-47-C




       Zastava M70 ZPAP




       Bulgarian Arsenal SLR-107




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      Hungarian FEG (SA-85M)




      FB Radom Beryl M762




      WBP Mini Jack




                                         26
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                                          Statutor List of AR                es
                     ii all AR        es, includin the followin :
             In each instance, a representative image is provided; however, these firearms may be found in various
             confi orations.

                             AR-10.
       (J)(ii)(I)




      (J)(ii)(II)      Colt
                       LE6920
                       Series AR-
                       15, 16"
                       barrel, with
                       collapsible
                       stock,
                       vertical
                       fore grip,
                       and flash
                       su ressor

                               Alexander Arms Overmatch Plus 16.
      (J)(ii)(ill)     Alexander
                       Arms
                       Overmatch
                       Plus 16




                                                           27
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                               Armalite M-15 22LR Carbine.
      (J)(ii)(IV)    Armalite
                     M-15 22LR
                     Carbine




                            Armalite M15-T.
       (J)(ii)(V)    Armalite
                     Ml5-T




                               Barrett REC7.
       (J)(ii)(VI)   Barrett
                     REC7




                                Beretta AR-70.
       (J)(ii)       Beretta
       (VII)         AR70 with
                     flash
                     suppressor




                                                  28
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                                Black Rain Ordnance Recon Scout.
       (J)(ii)
       (VIII)        Ordnance
                     Recon
                     Scout




                           Bushmaster ACR.
       (J)(ii)(IX)   Bushmaster
                     ACR
                                                              - ------

                           Bushmaster Carbon 15.
       (J)(ii)(X)    Bushmaster
                     Carbon 15




                           Bushmaster MOE series.
       (J)(ii)(XI)   Bushmaster
                     MOE series




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                (J)(ii)(XII) Bushmaster XM15.
      (J)(ii)       Bushmaster
      (XII)         XM15-
                    E2S, 16"
                    barrel, with
                    collapsible
                    stock and
                    flash
                    suppressor



                               Chia   a Firearms MFour rifles.
      (J)(ii)       Chiappa
      (XIII)        Firearms
                    MFour
                    rifles




                         IV Colt Match Tar et rifles.
                    Colt Match
                    Target
                    rifles




                               CORE Rifle S stems CORE15 rifles.
      (J)(ii)(XV)
                    Rifle
                    Systems
                    CORE15
                    rifles




                                                  30
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                                     Daniel Defense M4Al rifles.
                      Defense
                      M4Alwith
                      collapsible
                      stock and
                      flash
                      suppressor




                                      Devil Do Arms 15 Series rifles.
       (J)(ii)(XVII   Devil Dog
       )              Arms 15
                      series rifle




                                      Diamondback DB15 rifles.
       (J)(ii)(XVII   Diamondba
       I)             ckDB15
                      rifles




                                     DoubleStar AR rifles.
                      DoubleStar
                      AR rifles




                                                        31
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      (J)(ii)(XX)    DPMS
                     Tactical
                     Rifles




                                 DSA Inc. ZM-4 Carbine.
                     DSAinc.
                     ZM-4
                     Carbine




                                 Heckler & Koch MR556.
      (J)(ii)(XXII   Heckler &
      )              Koch
                     MR556




      (J)(ii)(XXII   High
      I)             Standard
                     HSA-15
                     rifles




                                                   32
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                                    Jesse James Nomad AR-15 rifle.
       (J)(ii)(XXI    Jesse James
       V)             Nomad
                      AR-15 rifle




                     ii (XXV) Kni ht's Armament SR-15.
      (J)(ii)(XX      Knight's
      V)              Armament
                      SR-15




                                    Lancer Ll5 rifles.
      (J)(ii)(XX      Lancer LI 5
      VI)             rifles




      (J)(ii)(XX     MGI Hydra
      VII)           Series rifle




                                                         33
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                           VIII Mossber MMR Tactical rifles.
      (J)(ii)(XX    Mossberg
      VIII)         MMR
                    Tactical
                    rifles




                                   Noreen Firearms BN 36 rifle.
      (J)(ii)(XXl   Noreen
      X)            Firearms
                    BN 36 rifle




      (J)(ii)(XX    Olympic
      X)            Arms AR-
                    15 with
                    collapsible
                    stock and
                    flash
                    suppressor




                                   POF USA P415.
      (J)(ii)(XX    POF USA
      XI)           P415




                                  I Precision Firearms AR rifles.
      (J)(ii)(XX    Precision
      XII)          Firearms
                    AR rifles




                                                     34
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                                   Remin ton R-15 rifles.
       (J)(ii)(XX   Remington
       XIII)        R-15 rifles




                                  Rhino Arms AR rifles.
       (J)(ii)(XX   Rhino
       XIV)         Arms AR
                    rifles




                                  Rock River Arms LAR-15 or Rock River Arms LAR-47.
       (J)(ii)(XX   Rock River
       XV)          Arms
                    LAR-15
                    with
                    collapsible
                    stock and
                    flash
                    suppressor


       (J)(ii)(XX   Rock River
       XV)          Arms
                    LAR-47




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      (J)(ii)(XX   Sig Sauer
      XVI)         SIG516
                   rifles




      (J)(ii)(XX   Sig Sauer
      XVI)         MCX rifles




                   Wesson
                   M&P Sport
                   2AR15
                   with
                   collapsible
                   stock,
                   vertical




                                 Arms AR rifles.
      (J)(ii)(XX   Stag Arms
      XVIIl)       rifles




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                                    Sturm Ru er & Co. SR556 and AR-556 rifles.
       (J)(ii)(XX    Sturm,
       XIX)          Ruger&
                     Co.SR556
                     rifles




      (J)(ii)(XX     Sturm,
      XIX)           Ruger&
                     Co.SR556
                     rifles




                                Uselton Arms Air-Lite M-4 rifles.
      (J)(ii)(XL)    Uselton
                     ArmsAir-
                     LiteM-4
                     rifles




                     Windham
                     Weaponry
                     AR rifles




                                 WMD Guns Bi Beast.
      (J)(ii)(XLII   WMD
      )              Guns Big
                     Beast




                                                    37
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       (J)(ii)(XLII   Yankee
       I)             Hill
                      Machine
                      Company,
                      Inc. YHM-
                      15 rifles




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         Other "AR-T         e" Rifles as defined b the Protectin Illinois Communities Act
         Anden;on AM-15 BR




       Ruger AR-556 MPR with
             M-LOKrail




       Springfield Armory Saint
                Victor




       Radical Firearms RF-15
              SOCOM




                                                  39
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         Ruger AR-556 MPR




       Ruger AR-556 NATO M4
              Flat-Top




        Springfield Saint 5.56
               NATO




       American Tactical OMNI
            HybridMaxx




       Daniel Defense DDM4 V7




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         Palmetto State Armory
             (PSA) PA-15




         Aero Precision AC-15




       Bravo Company MID-16
               ModO




       FN America FN 15 Patrol
               Rifle




       Geiselle Automatics Super
               Duty series




         Lead Star Arms Grunt
                 Rifle




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        LMT Defense SPM16




       LWRC International IC-
              SPR




       ZRO Delta Ready Series




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                  iii Barrett Ml 07Al.
       (J)(iii)     Barrett
                    Ml07A l,
                    50BMG
                    caliber




                  iv Barrett M82Al.
       (J)(iv)      Barrett
                    M82Al , 50
                    BMG
                    caliber




                  v Beretta CX4 Storm.
       (J)(v)       Beretta
                    CX4 Storm




                  vi Calico Liber   Series.
       (J)(vi)      Calico
                    Liberty
                    Series 50
                    Carbine
                    with 50
                    round
                    magazine


                  vii CETMES orter.
       (J)(vii)     Century
                    Arms
                    CETME
                    Sporter




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                  viii Daewoo K-1, K-2, Max 1, Max 2, AR 100 and AR ll0C.
      (J)(viii)     Daewoo
                    K-1




      (J)(viii)     Daewoo
                    K-2




      (J)(viii)     Daewoo
                    Max 1




      (J)(viii)     Daewoo
                    Max.2




      (J)(viii)     Daewoo
                    AR 100




      (J)(viii)     Daewoo
                    AR l lOC




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             (J)(ix) Fabrique Nationale/FN Herstal FAL, LAR, 22 FNC, 308 Match,
             LlAl S orter, PS90, SCAR, and FS2000.
       (J)(ix)    Fabrique
                  Nationale
                  FAL




       (J)(ix)    Fabrique
                  Nationale
                  LAR



       (J)(ix)    Fabrique
                  Nationale
                  22FNC




      (J)(ix)     Fabrique
                  Nationale
                  308 Match



      (J)(ix)     Century
                  Arms
                  Fabrique
                  Nationale
                  FALLl A l
                  Sporter




      (J)(ix)     Fabrique
                  Nationale
                  PS90




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      (J)(ix)     FN SCAR




      (J)(ix)     Fabrique
                  Nationale
                  FS2000




           (    x Feather Industries AT-9.
      (J)(x)      Feather
                  Industries
                  AT-9


                                                                          u
           (    xi Galil Model AR and Model ARM.
      (J)(xi)     Galil
                  Model AR




      (J)(xi)     Gali!
                  Model
                  ARM




                                             46
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 179 of 256 Page ID #4099




                    xii Hi-Point Carbine.
       (J)(x.ii)      Hi-Point
                      Carbine
                      with
                      vertical
                      foregrip




                    xiii HK-91, HK-93, HK-94, HK-PSG-1, and HK USC.
       (J)(x.iii)     Heckler&
                      Koch
                      HK91




      (J)(x.iii)      Heckler&
                      Koch
                      HK93




      (J)(x.iii)      Heckler&
                      Koch
                      HK94




      (J)(x.iii)      Heckler&
                      Koch-PSG-
                      1




                                              47
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 180 of 256 Page ID #4100




      (J)(xiii)     Heckler &
                    Koch USC




                  xiv IWI TAVOR, Galil ACE rifle.
      (J)(xiv)      IWI
                    TAYOR,
                    GalilACE
                    rifle




                  xv Kel-Tec Sub-2000 SU-16, and RFB.
      (J)(xv)       Kel-Tec
                    Sub-2000
                    (shown
                    fully
                    extended
                    and folded
                    for storage)




       (J)(xv)      Kel-Tec
                    SU-16
                    (shown
                    with bipod
                    fully
                    extended
                    and folded
                    for storage)




                                             48
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 181 of 256 Page ID #4101




       (J)(xv)    Kel-Tec
                  RFB




            (J)(xvi) SIG AMT, SIG PE-57, Sig Sauer SG 550, Sig Sauer SG 551, and
            SIGMCX.
       (J)(xvi)   SIG AMT




       (J)(xvi)   SIG PE-57




      (J)(xvi)    SIGSG
  •               550




      (J)(xvi)    SIG SG
                  551




      (J)(xvi)    SIGMCX




                                           49
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 182 of 256 Page ID #4102




                                   field Armo   SAR-48.
      (J)(xvii)      Springfield
                     Armory
                     SAR-48




                   xviii Ste r AUG.
      (J)(xviii)     Steyr AUG




             J) xix Sturm, Ru er & Co. Mini-14 Tactical Rifle M-14/20CF.
      (J)(xix)       Sturm,
                     Ruger&
                     Co. Mini-
                     14
                     Tactical/20
                     CF


                   xx All Thom son rifles includin the followin




                                       son Tll00D.




                                                     50
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 183 of 256 Page ID #4103




                             son T150D.
       (J)(xx)
       (III)     Thompson
                 T150D




                            son TlB.
       (J)(xx)   Thompson
       (IV)      TlB




                            son T1B100D.
      (J)(xx)    Thompson
      (V)        T1B100D




      (J)(xx)
      (V1)




                            son TlBSB.
      (J)(xx)    Thompson
      (VII)      TlBSB




                                           51
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 184 of 256 Page ID #4104




      (J)(xx)
      (VIII)




                 (   x.x)(IX Thom son TlD.
      (J)(xx)        Thompson
      (IX)           T lD




                                  son TS.
       (J)(xx)       Thompson
       (XI)          T5




       (J)(xx)
       (XII)




                                             52
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 185 of 256 Page ID #4105




       (J)(xx)      Thompson
       (XIII)       TMl




      (J)(xx)      Thompson
      (XIV)        TMlC




                  xxi UMAREX UZI rifle.
      (J)(xxi)     UMAREX
                   UZI Rifle




           (J)(xxii) UZI Mini Carbine, UZI Model A Carbine, and UZI Model B
           Carbine.
      (J)(xxii)    UZI Mini
                   Carbine




                                          53
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 186 of 256 Page ID #4106




       (J)(xxii)     UZI Model
                     A Carbine




       (J)(xxii)     UZI Model
                     B Carbine




                    xxiii Valmet M62S, M71S and M78.
       (J)(xxiii)    Valmet
                     M62S




       (J)(xxiii)    Valmet
                     M71S




       (J)(xxiii)    Valmet
                     M78




                                              54
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 187 of 256 Page ID #4107




                  xxiv Vector Arms UZI T
      (J)(xxiv)     Vector
                    Arms UZI
                    type




                                       hthawk.
      (J)(xxv)      Weaver
                    Arms
                    Nighthawk




                  xxvi Wilkinson Arms Linda Carbine.
      (J)(xxvi)     Wilkinson
                    Arms
                    Linda
                    Carbine




                                             55
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 188 of 256 Page ID #4108




         (K) All of the following pistols, copies, duplicates, variants, or altered
                                     of an such wea on thereof:
                                 es includin the followin
                          Centurion 39 AK istol.
       (K)(i)(I)     Centurion
                     39AK
                     pistol




       (K)(i)(II)
                     Scorpion
                     pistol




       (K)(i)(III)   Draco AK-
                     47 pistol




                                                 56
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 189 of 256 Page ID #4109




                               HCR AK-47 istol.
                                  No Image Available


                             IO Inc. Hell                   istol.
       (K)(i)(V)    IO Inc.
                    Hellpup
                    AK-47
                    pistol




                              Krinkov
                    (Arsenal
                    SLR106)
                    Krinkov
                    pistol




              K
      (K)(i)(VII)   Mini
                    Draco
                    AK-47
                    pistol




                                                       57
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 190 of 256 Page ID #4110




                    n
      (K)(i)   (Zastava)
      (VIII)   PAP
               M92
               pistol




               Custom
               Krink
               pistol




                                         58
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 191 of 256 Page ID #4111




        Other "AK-T        e" Pistols as defined b the Protectin
         Palmetto State
       Armory (PSA) AK-P
             MOE




       Zastava PAP M85




       Century Arms RAS




       Arsenal SAM7K-44




                                                 59
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 192 of 256 Page ID #4112




       Charles Daly P AK-9




       Kalashnikov USA KP-9




                                         60
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 193 of 256 Page ID #4113




                      ii All AR      es includin the followin
                              American S
       (K.)(ii)(I)     American
                       Spirit AR-
                       15 pistol




                               Bushmaster Carbon 15
      (K.)(ii)(II)     Bushmaster
                       Carbon 15
                       pistol with
                       padded
                       buffer tube




                 K
      (K.)(ii)(III)




                                                    61
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 194 of 256 Page ID #4114




       (K)(ii)(IV)   CORE Rifle
                     Systems
                     CORE1 5
                     Roscoe
                     pistol



                                    10.5'' barrel with istol brace


       (K)(ii)(V)    Daniel
                     Defense
                     Mkl8 pistol




                 K        I DoubleStar Cor
       (K)(ii)(VI)   DoubleStar
                     Corporation




                                 DPMS AR-15 istol.
       (K)(ii)
       (VIl)         15 pistol




                                                            62
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 195 of 256 Page ID #4115




                    James
                    Nomad
                    AR-15
                    pistol




      (K)(ii)(IX)   Olympic
                    Arms
                    (OA-93)
                    AR-15
                    pistol




              K
      (K)(ii)(X)




                              Pictured: Daniel Defense, Mk-18, AR-style pistol




                                                   63
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 196 of 256 Page ID #4116




      (K)(ii)(XI)


                    pistols




              K
      (K)(ii)(XII
      )             River
                    Arms
                    LAR
                    15
                    pistol
                    with
                    pistol
                    brace


              K
      (K)(ii)(XII   Uselto
      I)            n
                    Arms
                    Air-
                    Lite
                    M-4
                    pistol




                                         64
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 197 of 256 Page ID #4117




        Other "AR-T
         Palmetto State
         Armory (PSA)
         Marauder MOE




         Bravo Company
        (BCM) Recce-11




        Sig Sauer PMCX
            Spear-LT




         Battle Arms
         Development
          Workhorse




                                         65
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 198 of 256 Page ID #4118




       F-1 Firearms FDR-
               15




         LMT Defense
           MARS-L




      CORE Rifle Systems
      300 BLK Truck Gun




      Diamondback DB 15
           Pistol




        Radical Firearms
           FP7 series




                                         66
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 199 of 256 Page ID #4119




       Springfield Armory
           Saint pistol




                                         67
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 200 of 256 Page ID #4120




           (K)(iii) Calico pistols.
      (K)(iii)   Calico
                 M950




           (K)(iv) DSA SA58 PKP FAL pistol.
      (K)(iv)    DSA SA58
                 PKPFAL




           (K)(v) Encom MP-9 and MP-45.

      (K)(v)     Encom
                 MP-9




                                          68
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 201 of 256 Page ID #4121




       (K)(v)        Encom
                     MP-45




       (K)(vi)    Heckler
                  &Koch
                  SP-89




                  vii Intratec AB-10 TEC-22 Scor ion TEC-9 and TEC-DC9.
       (K)(vii)   Intratec
                  AB-10




                                           69
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 202 of 256 Page ID #4122




      (K)(vii)   Intratec
                 Tec-22




      (K)(vii)   Intratec
                 Scorpion




      (K)(vii)   Intratec
                 TEC-9




                                        70
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 203 of 256 Page ID #4123




       (K)(vii)    Intratec
                   TEC-
                   DC9




            (K)(viii) IWI Galli Ace pistol, UZI PRO pistol.
       (K)(viii)     IWI Galil
                     ACE with
                     folding
                     pistol brace




       (K)(viii)     IWIUZI
                     PRO with
                     folding
                     stabilizing
                     brace
                     (extended)




                                              71
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 204 of 256 Page ID #4124




           (K)(ix) Kel-Tec PLR 16 pistol.
      (K)(ix)       Kel-Tec
                    PLR 16




           (K)(x) All MAC types, including the following:

                (K)(x)(I) MAC-10.

      (K)(x)(I)     MAC-10




                              Cobra M-10 ictured




                                                   72
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 205 of 256 Page ID #4125




               (K)(x)(II) MAC-11.
       (K)(x)(II)    MAC-11




              (K)(x)(Ill) Masterpiece Arms MPA A930 Mini Pistol, MPA460 Pistol,
              MPA Tactical Pistol, and MPA Mini Tactical Pistol.
       (K)(x)(ill)   Masterpiece
                     Arms
                     MPA930
                     Mini Pistol




                                           73
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 206 of 256 Page ID #4126




      (K)(x)(III)   Masterpiece
                    Arms
                    MPA460
                    Pistol




      (K)(x)(III)   Masterpiece
                    ArmsMPA
                    Tactical
                    Pistol




                                        74
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 207 of 256 Page ID #4127




       K)(x)(III)    Masteipiece
                     ArmsMPA
                     Mini
                     Tactical
                     Pistol




       (K)(x)(ill)   Masteipiece
                     Arms
                     MPA30T




                                         75
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 208 of 256 Page ID #4128




             (K)(x)(IV) Military Armament Corp. Ingram M-11.

      (K.)(x)(IV)   Military
                    Armament
                    Corp.
                    lngramM-
                    11




              (K)(x)(V) Velocity Arms VMAC.
      (K.)(x)(V)    Velocity
                    Arms
                    VMAC9




                                          76
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 209 of 256 Page ID #4129




             (K)(xi) Sig Sauer P556 pistol.
       (K)(xi)        Sig Sauer
                      P556 pistol




            (K)(xii) Sites Spectre.
       (K)(xii)       Sites
                      SpectreHC




                                        es includin the followin
                  K xiii
       (K)(xiii)(I)   All
                      Thompson
                      types:
                      Thompson
                      TA510D
                      (with 10
                      round drum
                      magazine)



                                              77
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 210 of 256 Page ID #4130




                  Thompson
                  types:
                  Thompson
                  TA5 (with
                  50 round
                  drum
                  magazine)



                 xiv All UZI     es includin Micro-UZI.
      (K)(xiv)     All UZI
                   types,
                   including
                   Micro-UZI
                   (pictured
                   with
                   stock/brace
                   folded)




                                             78
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 211 of 256 Page ID #4131




          (L) All of the following shotguns, copies, duplicates, variants, or altered
          facsimiles with the capability of any such weapon thereof:


             (L)(i) DERYA Anakon MC-1980, Anakon SD12.
       (L)(i)      DERYA
                   Anak:on
                   MC-1980




                                 Pictured: Derya Arms, Anakon semiautomatic shotgun, model
                                 number unknown
       (L)(i)      DERYA
                   Anak:on SD-
                   12




                                 Note: Derya Arms is a Turkish firearms manufacturer. There is no
                                 evidence of production of a model SD- IO. Pictured is a Hats an Arms
                                 (another Turkish manufacturer), model Escort SD12, semiautomatic
                                 shot

             (L)(ii) Doruk Lethal shotguns.
       (L)(ii)     Doruk
                   Lethal
                   series
                   (Lethal-1
                   pictured)


            (L)(iii) Franchi LAW-12 and SPAS 12.
       (L)(iii)    Franchi
                   LAW-12




                                                     79
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 212 of 256 Page ID #4132




      (L)(iii)       Franchi
                     SPAS 12




           (L)(iv) All IZHMASH Saiga 12 types, including the following:

                 (L)(iv)(I) IZHMASH Saiga 12.

      (L)(iv)(I)     IZHMASH
                     Saiga 12




                 (L)(iv)(II) IZHMASH Saiga 12S.
      (L)(iv)(II)    IZHMASH
                     Saiga 12S




      (L)(iv)(III)   IZHMASH
                     Saiga 12S
                     EXP-01




                                                80
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 213 of 256 Page ID #4133




                          IV IZHMASH Sai a 12K.
       (L)(iv)(N)

                      Saiga 12
                      types: Saiga
                      12K




                               IZHMASH Sai a 12K-030.
       (L)(iv)(V)

                      Saiga 12
                      types: Saiga
                      12K 030




               (L               IZHMASH Sai a 12K-040 Taktika.
      (L)(iv)(VI)

                      Saiga 12
                      types : Saiga
                      12K 040
                      Takita




                    v Streetswee er.
      (L)(v)          (Cobray)
                      Streetsweep
                      er




                                                 81
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 214 of 256 Page ID #4134




            L vi Striker 12.
      (L)(vi)    (Penn
                 Arms)
                 Striker 12




                                         82
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 215 of 256 Page ID #4135




                                       Semiautomatic Rifles -Feature Flowchart




      -
                             I
                             t
                             -
                                                                                                              Not an A.\sautt
                                                                                                              W<'cl ►<ln per P1CA

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                                                                     or ,1 drtd~ h,ibl,·
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         Not anA.\\.uLlt         Yes                          Yes
         WC"apon pe1" PICA




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                                                                         W'=apcn ~ r P<:A




                                                         83
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 216 of 256 Page ID #4136




                         Semiautomatic Pistols - Feature Flowchart




                                                                                         Yes   As.~ault Weapon
                                                  No
                                                                                               p er PICA




                           ~s.ault Weapon
                           per PICA




                                     Yes




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                                                         .       -;.J: . • • f-),'
                                                             Not an Assault    : , 51
                                                         :\veap~ n p;,, f>JCA.. r··.l
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                                             84
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 217 of 256 Page ID #4137




                                    Shotguns - Feature Flowchart



        -       I
                                                     Yes




                                                                                      A,.,.,ult Wt'<tpon
                 "'                                                             Yes
                 ~                                                                    per PICA



        As'iauh W eapon
        per PICA                        0
                                    ,z
                                    I



                          Not an Assault
                          Weapon per PICA




                              Yes




                                                              .'
                                                            Not an Assault
                                                           • Weapon per PICA.




                                                85
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 218 of 256 Page ID #4138
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 219 of 256 Page ID #4139




                         Exhibit B-11
                                                   Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 220 of 256 Page ID #4140




;   Tact,c.ol Como                     X     +                                                                                                                                                                                         V       0


          C          i   rockriverarms.com/ 111dex.cfr, 7tuseact!on =c.aregory.displa~·&category_10= 126                                                                                                                          G 0. IB *   □ G




                                                                                                              TACTICALCOMP i..AR-47




                                                                                                                       AIC1279 WITH RRA OUAO RAIL FREE FLOAT HANDGUAR

                                                                                                                                            --------------------·-----------------i
                                                         SPECffrt:AT!ON!I             ROCKOT! COLORS I FIHJ5MES        I
                                                     II i:r.Lr'!iEP,                   7.62x.39MM                                                                  "J'U , '.:"'.!U?· CHROMEO 7.62X39MM

                                                     I '.:! · ·~R Pc!::Ell ':F..       RRA PROPRIETARY FOR0EO LAR-<17                            ,.;!? R: :.-=: 13~-
                                                                                                                                              i ..                              ,U.ABJOEJ(TROUS MAB RELEASE

                                                                                       RRA PROPRIETARY FORG E □ !IJJ                          \o;         j _ll ';'I ~ .        RRA QUAO RAIL FREE FLOAT, CAR LE NBT:

                                                     I   ".;!C:.r"~f"j_•               16-INCH CHROME UNEO HBAR, 1:10 RH TWIST                SL""~: ::.:;:<:                   RRA OPERATOR CAR STOCK

                                                     r       "IJ ~:1{! ~=I: U,.c. .
                                                         .....                         RRA OPERATOR BRAKE / 5/B~ll THR EAO                    t;""l5TC_$~ ...                   ARA NSP OVERMOLDEO PI STOL ORlP

                                                     ; 'iD$ BLOC~!                     RRA FUP FRONT SIil HT OAS BLOCK ASSEMBLY               ' "'EIGHT.                        7.8 POUNDS

                                                         T ir;: -;G J::i":              RRA TWO STAGE                                         - ~!''r...:.-;i.i-                311 INCHES / 37.5 INCHES EXTENDED
                                                         T;t .r-; Giz,:; !i'J;l.""-    RRA MNTER TRIOGER OUARI                                r,,~L'--''.J"'!"":                ONE AK MAGAZINE, CASE, MANUAL ANO WARRANTY
                                                                                                                                                                                IN FORMATION


      66"F
      Sun ny
                                                                                          n
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                                                                                                                                                                                                                             • DEPOSITION
                                                                                                                                                                                                                                                   8:l3.
                                                                                                                                                                                                                                               10: 212;




                                                                                                                                                                                                                                 EXHIBIT

                                                                                                                                                                                                                             I
Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 221 of 256 Page ID #4141




                         Exhibit B-12
                                              Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 222 of 256 Page ID #4142




  Pew Pew Tactical - Level Up You . X           +                                                                                                 V       DI   X


        C             pewpewtactical.com                                                                                                   G   0. Le




                                                                                                                               Vll!W MOAI!



                                                                                                              Most Popular
                                                                                                                5 Best Home-Defense
                                                                                                                Shotguns of 2023: Tactical,
                                                                                                                Pump& Semi-Auto

       Get our 9 ravona .targets and drills
                                                                                                                9 Best concealed Carry
                                                                                                                Guns In 2023: 9mm, .45 ACP,
                                                                                                                &More
ps://www.pewpewtactical.com/! H_° . ~~              T~J.-Survive a Tornado: Tips to
     P Type here to search
                                                                                                                                     ~
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                                    Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 223 of 256 Page ID #4143




     AR-15 Rifles (The Definitive Res..   X   +                                                                                                                                                                         V                        DI

            C         i    pewpewtactical.com/ar-1 5-defi nitive-resource/
                                                                                                                                                                                                 G               ~      te     *
                                                                                                                                                                                                     '!"'-• 'C                         C




                                                                                  MILITARY-GRADE                            NOW AVAILABLE
                                                                                  CBRN PROTECTION                             FORCIVILIANS
                                                                     AA~tlai"-t (TheDetinltMh......-ee]




                                                                                  AR-15 Rifles [The Definitive Resource]




                                                                       The AIH 5 is America's most popular sporting rifle. And because of thol there's dozens of
                                                                               reputable manufacturers, tons ot options, and t housands of accessories.

                                                                            Whether you·re looking for the perfect Al'H5 a s o first-time buyer, or just the perfect
                                                                                                   upg rades a nd optics- you're ,n the right place.




                                                                                                          The Modern AR-15
                                                                                t ~sod Lo be really eaoy ...head down to your local gun shop and choose from
                                                                                     t11e 2 or 3 AR's they t1ao en 1110 sholf. But those days are long gone.

                                                                                                 Now you·re bombarded with TOO many choices ..

                                                                               But ,f you do your homework (with us), you'll be rewarded with the perfect AR-




                                                                                                          ,~
                                                                                                   15 to fit your budget, purpose, and look.
Wont Free PfecUce Tugch1


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                                                                                                                                                                                                                                       ~J/2.'.J/ 20 n
                                             Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 224 of 256 Page ID #4144




                                                                                                                                                                                                                  '7J
    13 Best AR-15s of 2023: Ultima ·.    X     +
            C          i    pewpewtactical.com/ best-ar-15/                                                                                                                            fa   G   0.   te   *   □

                                                     §} JIJMl'TO S<CTIOH

                                                              SUMMARY OF OUR TOP PICKS
                                                         f
                                                                              HIGH - fNDPtCK
                                                        "JI     :--rt"        Daniel Defense DDM4 V7
                                                                                                                         S1907•tDentrl
                                                                                                                            °"'"""'
                                                         ip
                                                                              Our favorite h1gh-e1ld AR - 15 thol s     Jump to Details
                                                                              built like a tonk and b ottle proven.
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                                                                              Palmetto State Armory (PSA )
                                                                                                                          S499atP5A


                                                                              Come_lete AR-15s                          Jump to 0etolfs

                                                                              Most affordable AR-15 that goes boom
                                                                              when necdod.



                                                                ....,,...--   ALSO GREAT HtGH- ~0 PICK
                                                                              BCM Recce-16 MCMR AR- 15
                                                                                                                        $1559 ■t IJrownds

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                                                                                                                                                          t ·IIEllm&J
                                                                              save a little from the DD and go with a
                                                                              BCM, but seldom In stock.
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                                                               ,..-,.-        CLASSIC PtcK
                                                                              FN 15 Patrol Carbine
                                                                                                                        S1'219 at Palnwlto
                                                                                                                          stateAnrtor,
                                                                                                                                             (How To] Clean 11nd Lube an AR·lS!
                                                                                                                                                                      SUBSCRIBE

                                                                              Nicely made with quadrail, rse, and        Jump to Det011s
                                                                              mil· spec lurniture.
                                                                                                                                             Deals of the Day:
                                                                                                                                             Hand-r"t.kea Ammo & F1·eom 1

                                                                ,..,,._.      8UDG£TPICK
                                                                              Smith & Wesson M&Pl 5 Sport II 5.56
                                                                                                                        S640 at GrabACun
                                                                                                                                             Discounts



                                                                              NATO                                       Jump to Deto,ls

                                                                               Whut you'll hnd in most gun stores                                +-                              ➔
                                                                               and sells like hotcakes.


                                                                                                                                                 TIPPMANN ARMS AR FLIP UP




                                                                                                                                                                                                                        •
                                                                               l..4W lNfORCEM£NT PICk                                                 SIGHTS - $29.99
                                                                ~              ColtlE6920 AR- 15
                                                                                                                        $1099et~mftto
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                                                                               From ColL.enough said                     Jump to Details
Want r~ Practice Torgds'?




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                         Exhibit B-13
  Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 226 of 256 Page ID #4146
 9/26/23, 3:30 PM                                            PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory



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                                                                                             DAILY DEALS
                                                                                                                                       EXHIBIT

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      ™ I ~ I psAK-47 GF SERIES/ P$AK-47 GFS / psAK-47 CLASSIC RIFLES/ PSAK-47 GF5 FORGED CLASSIC RIFLE, REDWOOD

   IN STOCK   ►

 PSAK-47 GFS FORGED CLASSIC RIFLE, REDWOOD
   IN STOCK   ►


 PSAK-47 GFS FORGED CLASSIC RIFLE, REDWOOD




El
$1,029.99

                  +·                                                                  ADD TO CART


                                                                        6 PRODUCT MANUAL

          Handling firearms or firearms parts can expose you to lead and other petroleum products known to the State of California to cause cancer,
          birth defects, or other reproductive harm. Wash hands thoroughly after handling. For more information go to www.o65warning~gQY (CA
          Health and Safety Code Section 25249.6).



  Customers must read Compliance Information before purchasing.

SKU                     5655104080

                        5655104080

                        Palmetto State Armory

https://palmettostatearmory.com/psak-47-gf5-forged-chf-classlc-alg-red-wood-rifle.html                                                                1/14
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9/26/23, 3:30 PM                                          PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory

UPC                    5655104080
                                                                                          DAILY DEALS
                            Add to Compare      Share:   ~    f W
                              rton SHOPPING GUARANTEE Learn more



                                                                   CUSTOMER GALLERY




     PRODUCT DETAILS
     DETAILS

     FN Cold Hammer Forged Chrome MolyVanadium Steel Barrel; Chrome Lined

     Stamped Steel Receiver

     Blended Hammer Forged 4340 Aircraft Quality Front Trunnion

     Hammer Forged Bolt

     Hammer Forged Carrier

     Side Scope Mount

     Enhanced Extended Safety Lever

     7.62x39 Caliber

     1 in 9.5" Twist

     Thread Pitch: M14x1LH

     Std. 800-yard rear sight leaf

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https://palmettostatearmory.com/psak-4 7-gf5-forged-chf-classic-alg-red-wood-rifle.html                                       2/14
 Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 228 of 256 Page ID #4148
 9/26/23, 3:30 PM                                          PSAK-47 GFS Forged Classic Rifle, Redwood I Palmetto State Armory
      ALG AKT Enhanced Trigger With Lightning Bow

                             ); Where allowed by law                                      DAILY DEALS
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      The PSA GFS AK-47 was designed from the ground up to create a new standard in AK-47 rifles, utilizing all new enhanced precision
      manufactured parts. Thoroughly tested in development, we tortured tested to 10,000 rounds to ensure a quality product. Not to be satisfied
      with just a good AK-47, we kept improving and now are proud to announce our PSAK-47 Gens Hammer Forged (GFS) rifle with a hammer-
     forged barrel, bolt, carrier, and front trunnion.

     The barrel is a proprietary blend of hammer-forged chrome-moly vanadium made by FN that is referred to as "Machine Gun Steel" by virtue of
     its use in FN's M249 and M240 weapons. The hammer forging process work hardens the steel, making It more durable. This 16" barrel Is
     magnetic particle Inspected, to ensure quality and dependability and is pressed into a hammer forged 4340 AQ front trunnion to ensure the
     longevity AK-47's are known for. The hardened steel 1mm receiver features an ALG AKT Enhanced Trigger with Lightning Bow, and side rail
     mount. The front trunnion and bolt carrier are engraved with GFS to designate the new GFS hammer-forged model. The rifle is finished with a
     classic red wood handguard, stock, and grip. This rifle ships with 30 round magazine (where allowed by law).

     Rifles must be shipped to a valid, current Federal Firearms Licensee (FFL). Please have the shipping address of your preferred FFL before
     placing your order. You will need the FFL Information to complete the order. It Is the purchaser's responslblllty to be aware of the laws In their
     state regarding high capacity sporting rifles.

         • As we are transitioning to Soviet Arms, your receivers may be stamped with our new AK Soviet Arms logo on firearms manufactured
             after 3/8/2023. This will not affect the quality or function of the firearm as they are the same AK receivers used for our AK's. This will
             only be a minor cosmetic change moving towards our Soviet Arms AK's.




https://palmettostatearmory.com/psak-4 7-gf5-forged-chf-classlc-alg-red-wood-rifle.html                                                                   3/14
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9/26/23, 3:30 PM                                               PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory




             Not to be satisfied with just a good AK-47, we kept improving and now are proud to announce our PSAK-47 Gens Hammer Forged (GFS)
             rifle with a hammer-forged barrel, bolt, carrier, and front trunnion.




     FN Hammer Forged Chrome-moly Vanadium Barrel                                    ALG AKT Enhanced Trigger
     The GFS features and upgraded barrel that is referred to as "Machine            Upgraded trigger for a smooth and crisp pull.
     Gun Steel" due to its use in FN's M249 and M240 platform.



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https://palmettostatearmory.com/psak-4 7-gf5-forged-chf-classlc-alg-red-wood-rifle.html                                                         4/14
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 9/26/23, 3:30 PM                                          PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory




     Gas Block and Cleaning Rod                                                    Side Mount
     45 Degree Gas block with additional cleaning rod.                             Tradition! side rail for an optic mount - Midwest, RS Regulate
                                                                                   recommended. Side rails vary GREATLY between countries, so mounts
                                                                                   can be finicky due to large tolerances, which is why we recommend
                                                                                   certain mounts.




    Sling Mount                                                                   Spring and Bolt
    Traditional AK sling mount whether mounting a com bloc-style sling            Piston operated system with recoil assembly. Hammer Forged Carrier,
    or modem sling.                                                               Bolt and Trunnion. This is the heart of the gun where wear happens.
                                                                                  We are one of the few companies that does it correctly and has
                                                                                  emulated com-bloc guns with Hammer Forged bolt, carrier and
                                                                                  trunnion, and gone even further with our AQ4340 trunnion for even
                                                                                  more durability.




    Front Sight Base                                                              Sight Leaf
 ✓ norton » front sight base with cleaning rod lock up point with                 Standard 800-yard rear sight leaf.
                   ant brake.
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https://palmettostatearrnory.com/psak-4 7-gf5-forged-chf-classic-alg-red-wood-rifle.html                                                                5/14
 Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 231 of 256 Page ID #4151

9/26/23, 3:30 PM                                           PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory


                                                                                            PAILYQEALS




                                                                            Search reviews .. .                           Sort by:   Most Recent




     May 1, 2023


     Red wood AK 47 GFS.



      cc
     Fast shipping.......Str8 out of Box 300+ rounds , no issues .. pretty accurate. Smooth awesome wood finished. You.re gonna love
     ALG AKT Enhanced T~igger.... FAST tJ .. 4 A little more $ .,.,WORTH the upgrade from Gf3 .... gREAT Job PSA. ~ ~ d} would of given 5 stars if
     it came with 2 mags ....

     C Show details



     Mar 21, 2023


    Solid rifle, minor cosmetic flaws.



      CCC
    Solid rifle, excellent trigger, furniture is mostly gorgeous. Finish is mostly excellent. Shoots great. Headspaced correctly.

    Issues I have are the flathead screws that hold on the grip and the stock are stripped by the factory. Kinda ugly on an otherwise beautiful rifle.
    The front hand ... Read More

     C Show details



    Feb 26, 2023




      cc
    This gun is beautiful and shoots well out of the box.

     C Show details




 ✓ norton ..
 -IIG&VMAIIIU


https://palmettostatearmory.com/psa k-4 7-gf5-forged-chf-classic-alg-red-wood-rifle.htm I                                                                6/14
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         Appears to operate at a acceptable level




  ~
                                                                                            QAILYQEALS




         Oct 14, 2022


        Love this gun



          C
        Really build well and works great so far, only put a few hundred rounds through it so far but no problem at all.

        ~ Show details




        Aug 18, 2022


        Another PSA winner!



         C
        My first AK, and it is a beauty! I have a number of plastic and wood fumitured firearms, but I just love a nice wood grain. Very solid, fit and
        finish is tip top. Off to the range today, first three shot group off the bench at 50 yards was - 1 1/8" group about 7" high. Two front sight post...
        Read More

        ~ Show details




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    QUESTIONS &ANSWERS                                                                                                                                  (D

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                                                                                                                 Sort by: , Most Common




    QUESTION:

    Can this be offered In a 12.5 barrel pistol format with a triangle folding brace please?

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    : _ . '. f>!iAf$~42; 9f5 fyqzeq Cl-jf qassjc ALG Bifle, Bla<;k
    Asked by Jorge Ron Jan 9, 2021

    Was this question helpful? Yes (42)
    Mn'm:
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https:l/palmettostatearmory.com/psak-4 7-gf5-forged-chf-classic-alg-red-wood-rifle.html                                                                      7/14
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9/26/23, 3:30 PM                                            PSAK-47 GFS Forged Classic Rifle, Redwood I Palmetto State Armory

     QUESTION:
                                                                                           DAILY DEALS




     Tree wood . It's the best type of wood.

     Posted by Ryan Bon Sep 14, 2022 purchased Jan 10, 2021      Rel21.v. Inaccurate ...



     Was this question helpful? Yes (6)

     See 2 answers 8nSMC



    QUESTION:

    Can you add a featureless grip for us in California for this model?

    Asked by Richard Eon Aug 20, 2021

    BEST ANSWER
    The questions here aren't checked by PSA and are only answered by customers.

    Posted by Brian P. on Dec 13, 2022 Rel21.v. Inaccurate ...



    Was this question helpful? Yes (6)

    ~




    QUESTION:

    4th PSAK I've purchased and all came with mags. Any reason this GFS did not?

    Asked by A shopper on Feb 9, 2021

    BEST ANSWER:
    My GFS came with a 30 round PMAG. Do you live in a magazine capacity restricted state? That might be why

    Posted by Mohibullah S. on Mar 4, 2021 purchased Feb 3, 2021 ~Q!v. Inaccurate ...



    Was this question helpful? Yes (4)

    See 2 answers ~


    QUESTION:

    What magazines have you tested with this? Can I use surplus or just Magpul?

    Asked by Mark Fon Jan 11, 2021

    BESl ANSWER
    Most quality steel and polymer magazines will work with our AK's. Some may require minor fltment as they were made in various com-bloc
    countries.

    Best Regards,
    PSA Customer Service.

    Posted by Josiah M. mff on Jan 12, 2021 lkt2!Y. Inaccurate ...



    Was this question helpful? Yes (2)

 ✓ norton .. 8nSMC
 - N C MIAUIRll


https://palmettostatearmory.com/psak-4 7-gfS-forged-chf-classic-alg-red-wood-rifle.html                                                      8/14
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 9/26/23, 3:30 PM                                            PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory

      QUESTION:
                                                                                                QAILYQEALS
                               when available again?




      typically every week day.. check at 4pm EST

      Posted by Corey F. on Mar 26, 2021 purchased Jan 7, 2021 ~filY. Inaccurate ...



      Was this question helpful? Yes (1)

     ~




                                                                 [~                    I    NEXT >




     RETAIL STOCK




                                                  9




                                                 Please note that stock-status may differ from what Is represented below.
                                                 Please call to verify actual stock-status before arriving to store.
                                                 Please read all our Terms & Conditions for Bctall Flryram Transfers.




    VISIT US IN STORE


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 ✓ norton ..


https://palmettostatearmory.com/psak-4 7-gf5-forged-chf-classlc-alg-red-wood-rifle.html                                          9/14
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9/26/23, 3:30 PM                                          PSAK-47 GF5 Forged Classic Rifle, Redwood I Palmetto State Armory


                                              OUT OF STOCK   ►                     our o~•LS                      OUT OF STOCK
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                                             Columbia - Store & Range            Greenville - Store & Ran ge    Summerville - Store & Ran...    s
                                             3760 Fernandina Rd                  1040-A Woodruff Rd             366 E. 5th North Street         2
                                             Columbia, SC 29210                  Greenville, SC 29607           Summerville, SC 29483           s
                                            (803) 551-2680                       (864) 605-66 80                (~ ) 900-9000                   !'.


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                                                                                                                         _o_R_E_1N_F_o_ ___,]   [




    COMPLIANCE

    Shipping Restrictions
    It is the customer's responsibility for understanding state laws regarding all purchases made. For a comprehensive list of all
    Shipping Restrictions, please refer to our Shipping Restrictions By State Page found ~



    All NFA Rules Apply
    These items are controlled by the U.S. Government and authorized for export only to the country of ultimate destination for
    use by the ultimate consignee or end-user(s) herein identified. They may not be resold , transferred, or otherwise disposed of,
    to any other country or to any person other than the authorized ultimate consignee or end-user(s), either in their original form
    or after being incorporated into other items, without first obtaining approval from the U.S. government or as otherwise
    authorized by U.S. law and regulations.


    Magazines will be removed from firearms when shipping to states with magazine capacity restrictions.



            Handling fl.rearms or firearms parts can expose you to lead and other petroleum products known to the State of
            California to cause cancer, birth defects, or other reproductive harm. Wash hands thoroughly after handling. For more
            information go to www.p65warning~gQY (CA Health and Safety Code Section 25249.6).




    WARRANTY




https://palmettostatearmory.com/psak-4 7-gf5-forged-chf-classic-alg-red-wood-rifle.html                                                         10/14
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  9/26/23, 3:30 PM                                         PSAK-47 GFS Forged Classic Rifle, Redwood I Palmetto State Armory




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                                                      FULL LIFETIME WARRANTY.
                              Palmetto State Armory firearms are covered by an industry leading FULL LIFETIME
                              WARRANTY. This extends beyond the original purchaser. We want the person who
                              bought a great quality firearm at an excellent price to have comfort in knowing that
                              no matter what, the firearm can be fixed at no additional cost.


                                                        THIS INCLUDES SHIPPING BOTH WAYS.

                              We strive for excellence all the way through production and hope customers never
                              have to use this warranty but we also pride ourselves in 99% non-repair/return
                              ratio. It is there for peace of mind so that the consumer can be confident in their
                              purchase. Should the consumer ever need to contact us regarding a repair under
                              the warranty, simply use our contact form or give us a call at 877-560-7229.

                              Palmetto State Armory firearms and parts are backed by our Full Lifetime Warranty.
                              Our PSA firearms and parts are warranted to be free from defects in materials and
                              craftsmanship for the serviceable lifetime of the firearm or part. All Palmetto State
                              Armory barrels are machined and guaranteed to be concentric with the bore of our
                              barrels.

                              For the Life of our product
                             The liability of Palmetto State Armory under this warranty shall be limited solely to
                             the obligation to repair or replace the firearm/part or defect at its discretion, and to
                             pay transportation and insurance charges for return of the firearm to the owner for
                             a rightful warranty claim. This warranty is transferable for the serviceable lifetime of
                             the firearm or part. Modification of firearm will void this warranty. This warranty
                             does not cover normal wear or any damage resulting from careless handling,
                             neglect, repairs and adjustments, corrosion, improper, substandard or defective
                             ammunition.

                             What we don't cover
                             Under no circumstances shall Palmetto State Armory be responsible for incidental
                             or consequential damages with respect to economic loss or injury to property,
                             whether as a result of express or implied warranty, negligence or otherwise. Some
                             states do not allow the exclusion or limitation of incidental or consequential
                             damages, so the above limitation may not apply to you. Palmetto State Armory will


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 ./ norton ..

https://palmettostatearmory.com/psak-4 7-gfS-forged-chf-classic-alg-red-wood-rifle.html                                        11/14
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9/26/23, 3:30 PM                                          PSAK-47 GFS Forged Classic Rifle , Redwood I Palmetto State Annory

                              not be responsible for the results of careless handling, unauthorized adjustments,
~ defective, low~qual;ty, ,eloaded, o, lmpcopec am,...._rro,;on, neglect
        • •         .   I
                              ordinary wear and tear, or unreasonable use.

                              Initiating aclaim
                              To initiate a Warranty claim, call Palmetto State Armory Customer Service:




                             I    Hours: Monday through Friday, 9am - 5pm EST
                                  Email: Contact Form


                              1. Customer service will issue an RMA number to allow for the return of the
                                   firearm.

                              2. Warranty claims must have this RMA filled out, and included in the box with
                                   the firearm or part.

                              3. The firearm or part concerned must be shipped using the prepaid label our
                                   representative emails to you.


                              Palmetto State Armory will pay shipping and insurance charges for the return of a
                             firearm or part to its owner or FFL, if the related claim is a proper claim for warranty
                             work. If Palmetto State Armory is unable to fix the original serial number, a new one
                             will be sent out, but must go to an FFL for transfer back to the customer. Another
                             background check will be completed at the time of transfer. Palmetto State Armory
                             is not responsible for transfer fees at the FFL.



                                  DOWNLOAD REPAIR REQUEST FORM




                                                                        AMENDMENT II




                  A well regulated Militia, being necessary to the security of a
                    free State, the right of the people to keep and bear Arms,
                                                         shall not be infringed.

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https://palmettostatearmory.com/psak-4 7-gfS-forged-chf-classic-alg-red-wood-rifle.html                                        12/14
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                                                                                                 DAILY PEALS



                                                         Questions? Need help? Call us: ,([Z,Z) 560-7229




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 COMPANY                 INFO                           LEGAL                    CONTACT INFORMATION

                                                                                 Palmetto State Armory
fil2g                    Check ShjoQ.[ag..5iiM Terms & Conditions
                                                                                 3760 Fernandina Rd.
~                        My Account                     Retail Return Policy     Columbia, SC 29210

About PSA                Contact Us                     full Lifetime Warrantx
Affiliate Proscam Rebates & Promotions Shl1212irlg Restrictions                    HELP CENTER
Retail Stores            ~12are Products             .PdYi.C.Y...folkY.
Defense Courses Check Order Status                      Sitema12
sc CWP loto              Gift Card Balance
Shoot Respi2D.Sil2ly.EAQ
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The Gathering            EEL Locator
                         Product Manuals
                         California Buying..G.u.id.e.


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'        C           ar15.com/forums/ ar-15/
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    Previews of New Guns and Gear!
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    AR Basics
    learn About The AR Platform
                                                                                 .w.       Topics: 3373       9/23/2023 1:36 AM
                                                                                           Replies: 48711         Eric2340
    AR Discussions                                                               .u,.      Topics: 171087     9/25/2023 3:54 PM •
    AR Specific Discussions                                                                Replies: 2768152   ~ Mad<Daddy.19'62
    AR Piston Systems                                                            .u,.      Topics: 6081       9/25/2023 10:56 AM
                                                                                           Replies: 70851

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                                                                         American Made. For Life.             palmettostatearmosy.com
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1) Considerat ions for first AR? - M     X
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           C       i   ar15 .com/forums/ AR -1S/ Considerations-for-first-AR-/ 128-77998 1/#i8547461
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                                I'm new ID the site, and l1lO'Jfng from Nf tD Ft so thlnl<lng -     getliog ~ AR• well beausa I an.
                                rm • proftdent hand gunner (IOPA), shot gunner (days), •nd haw a 10-22 that I enjoy plnkfng with.
                                I'm thinking the AR will be primarily .-.nge • and f r i e n d s ~ mt to try '3-gun'.
                                rm not into doing .-'buld' at this po1nt - just c!Q,,~ know enou<ll-
                                so hove boan poking .,ound at wh;ot I un get in the $1K range.
                                r-.e loakecfat PSA site, S&~ COit • but would lib .soma input from more expellellO!d foll<sthose options .. well as otlteR to cOIUider (and why pl..se).
                                Thank you. I look to.wan! to learning alot here and hope at some poinl: l can contribute.




                                                                                        QD--IIIIIU
                                                                                                                                                                                           i\lh
                                 For 11M $1k-you really ant go mud\ wrong wtth on LE prefix Coll ~blne.

                                 Chrome lined bore, 4150 OW steel, MPI bolt& Bwel, Shot pHned bolt, proptdy st.Iced ~ Irey, etc.

                                You can get those things With other brands. but 11 ~ comes standard with COit LE carbines.




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                                              Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 245 of 256 Page ID #4165




                                                                                                                                                                                                                                                                                                                DI
Q Considerations for first AR? - Ah X                 +                                                                                                                                                                                                                        V                                             X


          C          ar15 .com/ forums/AR -1S/Considerations-for-first-AR-/128-779981/#i8547461                                                                                                                                                                G         e_




                             ,         ~ ~H/2023 1':-21:55 AM EOT                                                                                                                                                                                                                                                        l•ZJ

                              'n!u .., going to need at feast 3 ID start ..tth. One wtth ln>ns, one with a LPVO and one wi11t a mf dot. Go ahead with PSA first and a couple ca.es of ammo, At. least 10 of eath O&H mags and Magpul mags. You are gotng ID need a chest rig to carry all your mags and extra, too.




                             ,,. l'Ostlll: .~t◄/2023 3_:00:36 l'M·~                                                                                                                                                                                                                                                      (63]


                                 stlckl'ilth name brand~- !'SA, AerO, Colt. etc;


                                 Most all of them a,me -        standanl feature<,

                                 llon\ buy some slo!tdly n1>-name or n,branded /lit W'1o kr1<Ms what yoo~e gelling,




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                                 ,      ~ ◄/1◄0l23 9:54:'59 PM E.JT                                                                                                                                                                                                                                                       [""')


                                                Quotelt,to,y
                                     .....
                                       Origlnally Posted By J)II:
                                 J     For tht $1k you n,alty ant go mud'I wrong With an LE profix Colt cartJlne.


                                        OIIOme tined boff, 4150 0/N stool, MP! bolt & Balffl, Shot peened bol~ property staked gas key, ett.

                                       YOU can get those things with other brands, but It al comes standard with COit lE cai:btnes.




                                     Yup._.

                                     congr.,15 on gttllng out of rff
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                                   Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 246 of 256 Page ID #4166




i) Considerations for first AR? - Ar     X
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           C       '1 ar15 .com/forums/ AR -15/ Considerat ions-for-first -AR-/128 -77998 1/#i8547461
                                                                                                                                                                                                                                                                   $       0. te            *          □      ', fS



                                Congrats on getting out of NY


                               4' ~          -'1/l'!/2o;zl 10:ll:17 PM EDT                                                                                                                                                                                                                  [Last Edit: Myt(A(Faledlf•SJ

                                You're going to get 1,000,000 opinions .. . .prepare yourself.

                                As far as what has 114an l'l!tommertded so fa~ • Colt in.2023 is not at all what a colt In 20is- ms. They ••• an ....,mbly shop now { as oppo&ad tc a manut.cturer). Although you're Ubly going ta get a gun.that is Just fin&, you won't be ~ g " •Colt" as far as·what it was from
                                p11ordaead ...


                                l don't haw • recommendailoo below $1,000, .but that doesn, mean there aren't plenty at goad options. For my money a OJ LWRC is the best bang far the buck AR oot there Qf you shop far them·appropriab,ly). I pkl<ed up • pair of them for $1200 each. Up&!des: Ca.ated
                                bolt. ve,y t,lgh quality bm-el. RA.LY Ambi loWet; •djustlbk! tenAon screw. Fit.and ftnl&b I• exceptlonal, espeoally foc forged receivers. The downside is that the handguard lenglils are kinda weird «nd you can't play with them like you wOllld !egos, wl11ch with most Ms you an.

                                Good ludc.


                               tP Po&t~: '1/li~23: 10:so:48 PM EDT                                                                                                                                                                                                                            (l a Edll: N\IOl~J ('¥.6]



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                                                Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 247 of 256 Page ID #4167




i) AK-47 Co mmunity                             X
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    New AA Ptoduas                                                                                                    Topics: 138                                6/29/20"13 5:24 PM
    PreYiews of New Guns and Curt                                                                                     Replies: 4524                              •   Maxxll

    IU(DiscUsskJns                                                                                        .a,.        Topics: 56970                              9/26/20"13 1:24 PM
    AA ll!dlnical Discussions                                                                                         Replies : 632806                           "!a. NWl!ed
    ·- - - - -                                                                                                                                                 -- - - - - -
    AK Reference                                                                                          .a,.        Topics: 835                                8/ZB/20"13 10:24 AM
                                                                                                                      Replles : 6567                             ~   creecher

    AK PlstDls/SBR                                                                                        .a,.        Topia: 2539                                9/~0n 1:11AM
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~ , P~L~1r.no ~AT£ ARMO;;                                                               American Made. For Life.                                                 pilmettostatearmory.com

    Gali! & valmet Discussions                                                                            .u,.        TOIJlcs: 1937                              9/ 20/ 20D 6:52 PM
                                                                                                                      Replies: 12387                             -,. ntctra

    Build n Yourself                                                                                      .u,.        Topics: 12651                              9/ 26/20D 7:30 AM
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    Malntenanc• &. Oeantng                                                                                .w.         Topics: 620
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    Anwnunlbon                                                                                            .a,.        Topla:"834                                 9/ 26/20D 12:50 PM
                                                                                                                      Replles: 49180                             . , Redman556

    Magazines                                                                                             .w.         Topics: 5586                               9/19/ 2023 10:32 PM
                                                                                                                      Replies: <!0932                            1!,o Sliadyman
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    Optics & Accessories                                                                                  .w.         Topics: 4560                               9/ 18/2023 11:38 AM
    Mounts, Sights, Ughls, etc.

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Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 248 of 256 Page ID #4168




                         Exhibit B-15
      Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 249 of 256 Page ID #4169
' 10/1/23,'8:52 AM                                                                       Ruger American® Rifle Predator



                     ~RUGER                          PISTOLS      REVOLVERS         RIFLES      CUSTOM SHOP                ACCESSORIES              FIREARM SEARCH Q.             --
                                                                                                                                                                                  MENU




                                                           RUGER AMERICAN" RIFLE PREDATOR
                                           RELIABILITY, VERSATILITY, ~PERFORMANCE AND AFFORDABILITY.
                     Model   Caliber       Capacity Barrel     S1ock         Magazine      Barrel Anlsh        Thread       Model        Sugvested Retail
                     No.                            L8fllllh                                                   Pattern      Option

                     6973    6.5           4         22"       Moss Green    Flush·Ftt     Matte Black         5/8"-24      Right-       $619.00                 Spec Sheet         ►
                             Creedmoor                         Synthetic                                                    Handed                               Buy Now            ►

                                                                                                                                                                 ADllllllt
                     6974    308Win        4         18"       Moss Green    Flush-Fit     Matte Black         5/8"·24      Right·       $619.00                 Spec Sheet         ►
                                                               Synthetic                                                    Handed                               Buy Now            ►

                                                                                                                                                                 ADllllllt
                     16977   6.5           4         22·       Moss Green    Flush-Ftt     Matte Black         5/8"·24      Left-        $709.00                 Spec Sheet         ►
                             Creedmoor                         Synthetic                                                    Handed                               Buy Now            ►

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                     26916   243Win        4         22·       Moss Green    Flush-Fit     Matte Black         5/8"·24      Left-        $709.00                 Spec Sheet        ►
                                                               Synthetic                                                    Handed                               Buy Now           ►

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                     26917   7mm-08        4         22·       Moss Green    Flush-Fit     Matte Black         5/8"-24      Left·        $709.00                 Spec Sheet         ►
                             Rem                               Synthetic                                                    Handed                               Buy Now            ►

                                                                                                                                                                 ADlllllll
                     26918   308Win        4         22"       Moss Green    Flush-Fit     Matte Black         5/8"-24      Left-        $709.00                 Spec Sheet        ►
                                                               Synthetic                                                    Handed                               Buy Now           ►

                                                                                                                                                                 ADllllllt
                     26922   6.5 Grendel   10        22·       Moss Green    Metal AR·     Matte Black         5/8"-24      Right·       $669.00                 Spec Sheet        ►
                                                               Synthetic     Style                                          Handed                               Buy Now           ►

                                                                                                                                                                 ADIIIIIII
                     26944   223 Rem       10        22·       Moss Green    AR-Style      Matte Black         1/2"-28      Right·       $669.00                 Spec Sheet         ►
                                                               Synthetic                                                    Handed                               Buy Now           ►

                                                                                                                                                                 ADllllllt
                     26971   204 Ruger     10        22"       Moss Green    Al-Style      Matte Black         1/2"-28      Right-       $669.00                 Spec Sheet         ►
                                                               Synthetic                                                    Handed                               Buy Now            ►

                                                                                                                                                                 ADllllllt
                     26973   6.5           3         22·       Moss Green    Al -Style     Matte Black         5/8"-24      Right-       $669.00                 Spec Sheet         ►
                             Creedmoor                         Synthetic                                                    Handed                               Buy Now            ►

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                     6945    22-250 Rem    4         22·       Moss Green    Flush-Ftt     Matte Black         1/2"-28      Right-       $619.00                 Spec Sheet         ►
                                                               Synthetic                                                    Handed                               Buy Now            ►

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                     26948   6mm           3         22·       Moss Green    Al-Style      Matte Black         5/8"-24      Right-       $669.00                 Spec Sheet         ►
                             Creedmoor                         Synthetic                                                    Handed                               Buy Now            ►

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                     16973   6.5           4         22·       Moss Green    Flush-Fit     Matte Stainless     5/8"·24      Right·       Sports South            Spec Sheet         ►
                             Creedmoor                         Synthetic                                                    Handed       Distributor Exclusive   Buy Now            ►

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                                                                                                                                                                 Aullllllll!J
                     26987   350 Legend    5         16.38"    Black         AR-Style      Flat Dark Earth     1/2"-28x     Right-       Davidson"s              Spec Sheet         ►
                                                               Synthetic                   Cerakote41          0.4"         Handed       Distributor Exclusive   Buy Now            ►

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                     26991   350 Legend    5         20·       Black         AR-Style      Stainless           1/2"·28 X    Righi·       Davidson's              Spec Sheet         ►
                                                               Synthetic                                       0.4"         Handed       Distributor Exclusive   Buy Now            ►

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                     36900   350 Legend    5         22·       Black         AR-Style      Matte Black         1/2"·28 X    Righi·       Lipsey's Distributor    Spec Sheet         ►
                                                               Synthetic                                       0.4"         Handed       Exclusive               Buy Now            ►

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                     36902   350 Legend    5         22·       Moss Green    AR-Style      Matte Black         1/2"·28 X    Right-       Big Rock Sports         Spec Sheet         ►
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                                                                                                                                                                                         J EXHIBIT
                                                               Synthetic                                       0.4"         Handed       Distributor Exclusive   Buy Now            ►

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  https://ruger.com/products/americanRiflePredator/models.html                                                                                                                                   1/3
    Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 250 of 256 Page ID #4170
10/1123,' 8:52 AM                                                                                                       Ruger American® Rifle Predator

                    Ruger Marksman AdjustableN trigger                     @               The one-piece, three-lug bolt with 70"                  @               Outstanding accuracy helps make every
                    offers a crisp release with a pull weight                              throw provides ample scope clearance                                    hunt a success.
                    that is user adj ustable between 3 and 5                                and utilizes a full diameter bolt body
                    pounds, allowing shooters to make that                                  and dual cocking cams for smooth,
                    perfect shot.                                                          easy cycling from the shoulder.
                                                                                                                                                                   Heavier tapered, threaded barrel with       @
                                                                                                                                                                    factory-installed thread protector is
                                                                                                                                                                   cold hammer-forged, resulting in ultra-
                    Ergonomic, lightweight synthetic stock                 @               Patented Power BeddingN, integral                                       precise rifling that provides exceptional
                    designed for quick, easy handling                                      bedding block system positively locates                                 accuracy and longevity.
                    blends a classic look with modern                                      the receiver and free-floats the barrel
                    forend contouring and grip serrations.                                 for outstanding accuracy.
                                                                                                                                                                   The visible, accessible and easy-to-        @
                                                                                                                                                                   actuate tang safety provides instant
                    Soft rubber buttpad is crafted for                     @               Factory-installed, one-piece Picatinny                  @               security.
                    maximum recoil reduction .                                             scope base.

                                                                                                                                                                   Also includes: one magazine; sling
                                                                                                                                                                   swivel studs.

                    Futures lis1ed 1bo¥e are 1valab4e on 1N standard models, but may not appear on Dtstributor Exctuslve mode4s. See lndMdual spec sheets for model specific features.




                                       01 :54




                       R..-, American• Rifle 6mm Creedmoor                           AR/ Al-Style Mag Well Disassembly                              AR/Al-Style Mag Wel l Reassembly
                       TV Spot                                                       Features                                                       Ruger American"' Rifle Cheekpad
                       Larry Weishuhn TV Spot                                        Larry Weishuhn                                                 Disassembly/Reassembly




                       PRODUCT                                             LOCKING                                             NEW                                                   TELL THE
                       REGISTRATION                                        DEVICE                                              FIREARMS                                              CEO
                                                                                                                               OWNER
                                                                                                                               RESOURCES




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                    more than 40 product lines, across both the Ruger and Marlin brands. For almost 75 years, Sturm, Ruger & Co., Inc.
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https://ruger.corn/products/americanRiflePredator/models.html                                                                                                                                                      2/3
    Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 251 of 256 Page ID #4171
10/1/23', 8:52 AM                                                                                Ruger American® Rifle Predator
                    CONTACT I PATENTS                    I PRIVACY POLICY I TERMS OF USE I SOCIAL MEDIA RULES                          JOIN OUR EMAIL LIST •
                    Q) RUGGED, RELIABLE FIREARMS•
                    Copyright O 2023 by Stll'm. Ruger l Co,. lnc.                                                                 rm    'P    f
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https://ruger.com/products/americanRiflePredator/models.html                                                                                                   3/3
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                         Exhibit B-16
                                Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 253 of 256 Page ID #4173
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                                                    IT'S YOUR DUTY
                                                    TO BE READY

                          GUNS AND AMMO: "2021 HANDGUN OF THE YEARr                                                    INDUSTRY CHOICE AWARDS: "2021 HANDGUN OF THE YEAR!"

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                                    Case 3:23-cv-00209-SPM Document 124-2 Filed 10/10/23 Page 256 of 256 Page ID #4176




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                                                      WALTHER PDP FULL SIZE MAG
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